  This document was signed electronically on May 29, 2019, which may be different from its
  entry on the record.


  IT IS SO ORDERED.

  Dated: May 29, 2019




                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                                     )    Chapter 11
  In re:                                                             )
                                                                     )    Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                     )
                                     Debtors.                        )
                                                                     )    Hon. Judge Alan M. Koschik
                                                                     )

          ORDER (I) APPROVING DISCLOSURE STATEMENT, (II) ESTABLISHING
            PROCEDURES FOR SOLICITATION AND TABULATION OF VOTES TO
              ACCEPT OR REJECT THE DEBTORS’ JOINT CHAPTER 11 PLAN,
      (III) APPROVING THE FORM OF BALLOTS, (IV) SCHEDULING A HEARING ON
            CONFIRMATION OF THE PLAN, (V) APPROVING PROCEDURES FOR
       NOTICE OF THE CONFIRMATION HEARING AND FOR FILING OBJECTIONS
        TO CONFIRMATION OF THE PLAN, AND (VI) GRANTING RELATED RELIEF

           Upon the Debtors' Motion for Order (I) Approving Disclosure Statement, (II)

  Establishing Procedures for Solicitation and Tabulation of Votes to Accept or Reject the Debtors

  1
   The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
  federal tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation,
  LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763;
  FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483),
  case no. 18-50761; FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-
  50764. The Debtors’ address is: 341 White Pond Dr., Akron, OH 44320.




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  Joint Chapter 11 Plan, (III) Approving the Form of Ballots, (IV) Scheduling a Hearing on

  Confirmation of the Plan, (V) Approving Procedures for Notice of the Confirmation Hearing and

  for Filing Objections to Confirmation of the Plan, and (VI) Granting Related Relief [Docket No.

  2531] (the “Motion”) of the above-captioned debtors and debtors in possession (the “Debtors”)

  for entry of an order (this “Order”) (i) approving the Disclosure Statement for the Fifth Amended

  Joint Plan of Reorganization of FirstEnergy Solutions Corp., et al., Pursuant to Chapter 11 of the

  Bankruptcy Code [Docket No. 2675] (as modified, amended or supplemented from time to time,

  the “Disclosure Statement”); (ii) approving certain procedures for the solicitation of votes on the

  Debtors’ Fifth Amended Joint Plan of Reorganization of FirstEnergy Solutions Corp., et al.,

  Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (as modified, amended or

  supplemented from time to time, the “Plan”)2 (the “Solicitation Procedures”) and procedures for

  the tabulation of such votes (the “Tabulation Procedures”); (iii) approving the form of ballots,

  notices and certain other documents to be distributed in connection with the solicitation of the

  Plan; (iv) approving certain key dates described herein relating to the confirmation of the Plan

  (the “Plan Confirmation Schedule”); and (v) approving procedures for notices regarding the

  hearing to consider confirmation of the Plan (the “Confirmation Hearing”) and filing objections

  to confirmation of the Plan, all as more fully set forth in the Motion; and the Court having found

  that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court

  having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court

  having found that venue of this proceeding and the Motion in this district is proper pursuant to

  28 U.S.C. §§ 1408 and 1409; and the Court having held a hearing on the Motion on May 20,

  2019 (the “Hearing”); and the Court having found that the Debtors provided appropriate notice


  2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Plan, the
  Disclosure Statement or the Motion, as applicable.


                                                        2

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  of the Motion; and the Court having reviewed the Motion and having heard the statements in

  support of the relief requested at the Hearing; and the Court having determined that the legal and

  factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

  herein; and upon all of the proceedings had before the Court and after due deliberation and

  sufficient cause therefore, it is HEREBY ORDERED THAT:

           1.       The Motion is GRANTED as set forth herein.

  I.       Disclosure Statement

           2.       The Disclosure Statement contains adequate information within the meaning of

  section 1125 of the Bankruptcy Code and is APPROVED.

           3.       All objections to the Disclosure Statement that have not been withdrawn or

  resolved previously or at the Hearing hereby are overruled.

  II.      Approval of Plan Confirmation Schedule

           4.       The following dates and deadlines, as reflected in the chart and ordered

  paragraphs below, in connection with the Solicitation Procedures, the Tabulation Procedures, and

  the Confirmation Hearing are hereby APPROVED.

           Event
                                                                                              Proposed Date3
  Equity Election Record Date                                                              January 23, 20194
  Voting Record Date                                                                       May 20, 2019
  Deadline for Objections/Responses to Disclosure Statement                                May 16, 2019 at
                                                                                           4:00 p.m.
  Deadline for Replies to Objections/Responses to Disclosure Statement                     May 18, 2019
  Disclosure Statement Hearing Date                                                        May 20, 2019 at
                                                                                           9:30 a.m.
  Security Position Report Deadline                                                        May 24, 2019

  3
    Unless otherwise specified, the proposed deadlines listed herein will be 11:59 p.m. on the date listed. All times
  noted are in the prevailing Eastern Time zone.
  4
    Or such later date as agreed to by the Debtors with the consent of the Requisite Supporting Parties (as such term is
  defined in the Restructuring Support Agreement) and the Committee.


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  Solicitation Deadline                                                    Ten (10) business
                                                                           days after entry of
                                                                           the Order
  Deadline to Publish Confirmation Hearing Notice                          Ten (10) business
                                                                           days after entry of
                                                                           the Order
  Deadline for Objections to Claims for Voting Purposes                    June 21, 2019
  Deadline for Filing Temporary Allowance Request Motions                  July 5, 2019 at
                                                                           4:00 p.m.
  Deadline for Objections/Responses to Temporary Allowance Request         July 19, 2019
  Motions
  Deadline for Replies to Objections/Responses to Temporary Allowance      July 22, 2019
  Request Motions
  Deadline to File Plan Supplement                                         July 23, 2019
  Deadline for Entry of Order Granting Temporary Allowance Request         August 9, 2019
  Motions
  Deadline for Objections/Responses to Confirmation of the Plan            August 2, 2019 at
                                                                           4:00 p.m.
  Voting Deadline                                                          August 2, 2019 at
                                                                           4:00 p.m.
  Voting Certification Deadline                                            August 13, 2019
  Deadline for Replies to Objections/Responses to Confirmation of Plan     August 16, 2019
  Confirmation Hearing                                                     August 20, 2019 at
                                                                           9:30 a.m.


         A.     Equity Election Record Date

         5.     The Equity Election Record Date shall be January 23, 2019, or such later date as

  agreed to by the Debtors with the consent of the Requisite Supporting Parties (as such term is

  defined in the Restructuring Support Agreement) and the Committee.

         6.     The following Equity Election Conditions are approved: All Holders of General

  Unsecured Claims wishing to make an Equity Election with respect to an eligible Claim will be

  required to certify on their ballots to accept or reject the Plan, or by such other method

  acceptable to the Debtors with the consent of the Requisite Supporting Parties (as defined in the

  Restructuring Support Agreement) and the Committee, that they (i) were the beneficial holder of



                                                 4

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  such Claim as of the applicable Equity Election Record Date and have not sold, transferred, or

  provided a participation in such Claim, or directly or implicitly agreed to do so following the

  applicable Equity Election Record Date or (ii) are otherwise party to the Restructuring Support

  Agreement and the beneficial holder of such Claim and such Claims was subject to the

  Restructuring Support Agreement as of the applicable Equity Election Record Date. Any buyer

  of a Claim, which Claim is not subject to the Restructuring Support Agreement as of the

  applicable Equity Election Record Date will not be entitled to make an Equity Election under the

  Plan and will only be permitted to receive an equivalent cash distribution on account of such

  Claim.

           B.    Voting Record Date

           7.    The Voting Record Date shall be the first day of the Disclosure Statement

  Hearing, or May 20, 2019.

           8.    The transferee of a Transferred Claim will be entitled to receive a Solicitation

  Package and cast a Ballot on account of such Transferred Claim only if (i) all actions necessary

  to effect the transfer of the Claim pursuant to Bankruptcy Rule 3001(e) have been completed by

  one (1) business day prior to the Voting Record Date, or (ii) the transferee files one (1) business

  day prior to the Voting Record Date (a) the documentation required by Bankruptcy Rule 3001(e)

  to evidence the transfer and (b) a sworn statement of the transferor supporting the validity of the

  transfer.

           C.    Security Position Report Deadline

           9.    The Security Position Report Deadline shall be May 24, 2019 at 4:00 p.m.

  (prevailing Eastern Time).




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           D.    Voting Deadline

           10.   The Voting Deadline shall be August 2, 2019 at 4:00 p.m. (prevailing Eastern

  Time).

           E.    Plan Objection Deadline

           11.   The Plan Objection Deadline shall be August 2, 2019 at 4:00 p.m. (prevailing

  Eastern Time).

           F.    Plan Reply Deadline

           12.   The deadline for replies to objections or responses to the Plan (the “Plan Reply

  Deadline”) shall be August 16, 2019.


           G.    Confirmation Hearing

           13.   The Confirmation Hearing shall be held on August 20, 2019 at 9:30 a.m.

  (prevailing Eastern Time) in Courtroom 260 of the John F. Seiberling Federal Building & U.S.

  Courthouse, 2 South Main Street, Akron, Ohio 44308. The Confirmation Hearing may be

  adjourned from time to time by the Court or the Debtors without further notice other than

  adjournments announced in open Court or as indicated in any notice of agenda of matters

  scheduled for a particular hearing that is filed with the Court.

           H.    Other Dates

           14.   Any and all other dates and deadlines as set forth in this Order are hereby

  approved.

  III.     Approval of Solicitation Procedures

           A.    Parties Entitled to Vote

           15.   Holders of Claims in the Voting Classes shall be entitled to vote to accept or reject

  the Plan, unless such a Claim meets the following criteria (the “Voting Non-Eligibility Criteria”):




                                                    6

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                 (a)       as of the Voting Record Date, such Claim has been disallowed or
                           expunged;

                 (b)       the Debtors scheduled such Claim as contingent, unliquidated, or disputed
                           and a proof of claim was not filed by the General Bar Date or deemed
                           timely filed by order of the Court at least five (5) business days prior to
                           the Voting Deadline; or

                 (c)       such Claim is subject to an objection that remains unresolved as of July
                           19, 2019.

          16.    Because the FE Non-Debtor Parties are releasing any and all prepetition Claims

  against the Debtors pursuant to the terms of the Plan, the FE Non-Debtor Parties shall not vote

  on the Plan. To the extent the FE Settlement Agreement is terminated, nothing contained in the

  Plan or this Order shall be deemed to waive or release any Claims held by the FE Non-Debtor

  Parties under any subsequent plan of reorganization or liquidation or the FE Non-Debtor Parties’

  right to vote thereon.

          B.     Objections to Claims for Voting Purposes Only

          17.    The deadline for filing and serving objections, if any, to claims solely for the

  purpose of determining which creditors are entitled to vote to accept or reject the plan

  (“Objection for Voting Purposes”) shall be June 21, 2019 (the “Voting Purposes Objection

  Deadline”). The Voting Purposes Objection Deadline is a deadline solely for the purpose of

  determining whether a Claim meets the Voting Non-Eligibility Criteria or for the Debtors to file a

  motion seeking to fix a voting amount for a particular Claim. The deadline is not intended to be a

  deadline by which the Debtors or any other party must file objections to the allowance of any

  Claim or Interest for any other purpose. Any such Claim allowed in an amount for voting

  purposes or disallowed for voting purposes shall be allowed or disallowed for voting purposes

  only.




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         C.       Temporary Allowance of Claims for Voting Purposes

         18.     For voting purposes, each Claim within the Voting Classes will be counted for

  voting purposes in an amount equal to the amount of the Claim as set forth in (i) the Schedules or

  (ii) the filed proof of claim as reflected in the claims register maintained by Prime Clerk as of the

  Voting Record Date, subject to the following exceptions:

                 (a)     If a Claim is determined to meet any of the Voting Non-Eligibility Criteria
                         such Claim will be disallowed for voting purposes;

                 (b)     If a Claim is deemed allowed in accordance with the Plan, an order of the
                         Court or a stipulated agreement between the parties, such Claim is allowed
                         for voting purposes in the deemed allowed amount set forth in the Plan,
                         order or stipulated agreement;

                 (c)     If Claim for which a proof of claim has been timely filed, in a liquidated
                         amount, such Claim will be temporarily allowed in the amount set forth in
                         the proof of claim, unless such Claim is disputed as set forth in
                         subparagraph (h) below;

                 (d)     If a Claim for which a proof of claim has been timely filed is (i)
                         unliquidated (as determined on the face of the proof of claim or after a
                         review of the supporting documentation by the Debtors), or (ii) does not
                         otherwise specify a fixed or liquidated amount, the claimant will be
                         allowed to cast one vote valued at one dollar ($1.00) for voting purposes
                         only;

                 (e)     If a Claim is listed in the Schedules as contingent, unliquidated, or
                         disputed and a proof of claim was not (i) filed by the General Bar Date or
                         (ii) deemed timely filed by an order of the Court prior to the Voting
                         Deadline, such claim will be disallowed for voting purposes;

                 (f)     [intentionally omitted];

                 (g)     Notwithstanding anything to the contrary contained herein, if an
                         Unsecured Claim for which a proof of claim has been timely filed also
                         contains a Secured Claim in an unliquidated amount based solely on a
                         reservation of a right of setoff, the claimant will only be entitled to vote
                         the Unsecured Claim in the applicable Unsecured Plan Class and will not
                         be entitled to vote the Secured Claim in the otherwise applicable secured
                         Plan Class;

                 (h)     If the Debtors have filed an Objection to Claim for Voting Purposes no
                         later than the Voting Purposes Objection Deadline, such Claim will be



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                            temporarily disallowed for voting purposes, except as otherwise ordered
                            by the Court pursuant to a Temporary Allowance Request Motion;
                            provided, however, that (i) if the Debtors’ objection seeks to reclassify or
                            reduce the allowed amount of such Claim, then such Claim will be
                            temporarily allowed for voting purposes in the reduced amount and/or
                            reclassified, and (ii) if the Debtors’ objection seeks to determine that the
                            Claim is contingent, the holder of the Claim will be allowed to cast one
                            vote valued at one dollar ($1.00) unless otherwise ordered by the Court on
                            or before August 9, 2019 pursuant to a Temporary Allowance Request
                            Motion;

                   (i)      If a Claim is allowed for voting purposes pursuant to an order of the Court
                            on or before August 9, 2019, in connection with a Temporary Allowance
                            Request Motion, then such claimant will be entitled to vote to accept or
                            reject the Plan in accordance with the terms of such order;5 and

                   (j)      If a Claim has been otherwise allowed for voting purposes by order of the
                            Court, such Claim will be temporarily allowed in the amount so allowed
                            by the Court for voting purposes only, and not for purposes of allowance
                            or distribution.

          D.       Filing of Temporary Allowance Request Motions

          19.      If any claimant elects to challenge the disallowance, classification or treatment of

  its Claim for voting purposes sought by the Debtors pursuant to an Objection to Claim for Voting

  Purposes or to seek temporary allowance of an unliquidated Claim for which a proof of claim has

  been timely filed, such claimant shall file with the Court a motion (a “Temporary Allowance

  Request Motion”) pursuant to Bankruptcy Rule 3018(a) requesting such relief as it may assert is

  proper, including the temporary allowance or reclassification of its claim solely for voting

  purposes. The claimant’s Ballot will not be counted, unless temporarily allowed by an order

  entered on or before August 9, 2019 or as otherwise ordered by the Court. The following sets

  forth the proposed briefing schedule for the filing of a Temporary Allowance Request Motion:

                   (a)      All Temporary Allowance Request Motions must be filed and served no
                            later than 4:00 p.m. (prevailing Eastern Time) on July 5, 2019 (the
                            “Temporary Allowance Request Motion Deadline”);

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   For the avoidance of doubt, such a Claim shall not be allowed for purposes of allowance or distributions under the
  Plan.


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                 (b)    All objections and responses to Temporary Allowance Request Motions
                        must be filed and served on or before July 19, 2019;

                 (c)    A claimant may file a reply to any objection or response to its motion on
                        or before July 22, 2019; and

                 (d)    Any order temporarily allowing such claims must be entered on or before
                        August 9, 2019, or as otherwise ordered by the Court.

         20.     Temporary Allowance Request Motions must: (i) be made in writing; (ii) comply

  with the Bankruptcy Code, the Bankruptcy Rules and the Local Rules; (iii) identify the proof of

  claim or Scheduled Claim in question; (iv)set forth the name of the claimant(s) pursuing the

  Temporary Allowance Request Motion; (v) set forth the name(s) of the Debtor(s) against which

  the Claim(s) is/are asserted; (vi) state with particularity the legal and factual bases relied upon

  for the relief requested by the Temporary Allowance Request Motion; and (vii) be filed and

  served pursuant to automatic electronic service provided by the Court’s ECF system.

         21.     Temporary Allowance Request Motions that do not comply with the foregoing

  may not be considered by the Court and may be deemed denied except as otherwise ordered by

  the Court.

         22.     Any claimant who timely files and serves a Temporary Allowance Request

  Motion which is not otherwise resolved by July 19, 2019, and who has not otherwise received a

  Solicitation Package shall be provided a Ballot and shall be allowed to cast a provisional vote to

  accept or reject the Plan on or before the Voting Deadline, pending a determination of such

  motion by the Court. No later than two (2) business days after the filing and service of such

  Temporary Allowance Request Motion, Prime Clerk will send the movant a Solicitation Package,

  and the movant shall be required to return its Ballot to Prime Clerk by the Voting Deadline.

         23.     If the Debtors and such claimant are unable to resolve the issues raised by the

  Temporary Allowance Request Motion prior to July 19, 2019, such Temporary Allowance



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  Request Motion shall be considered by the Court at such time as it shall direct. At such hearing,

  the Court shall determine whether the provisional Ballot should be allowed to the extent for

  voting purposes and the amount(s) of the claim(s) that may be voted.

  IV.      Approval of Solicitation Packages and Solicitation Procedures

           A.       Solicitation Packages

           24.      The Solicitation Packages are APPROVED.

           25.      The Debtors shall assemble, or cause to be assembled, the Solicitation Packages

  and shall transmit, or cause to be transmitted, the Solicitation Packages by five (5) business days

  after entry of this Order, or as soon thereafter as reasonably practicable.

           26.      In accordance with Rule 3017(d), each Solicitation Package shall contain a copy

  of:

                    (a)      this Order (without any exhibits);

                    (b)      the Confirmation Hearing Notice;

                    (c)      if the recipient is a Holder of a Claim or Interest in a Voting Class or
                             Nominee, (i) the Disclosure Statement, including the Plan as an
                             attachment, on paper or USB flash drive, (ii) a Ballot, and (iii) a letter
                             explaining the Committee’s recommendation that the creditor vote in favor
                             of the Plan, and, as appropriate, a postage-prepaid envelope;6 OR

                    (d)      if the recipient is a Holder of a Claim or Interest in a Non-Voting Class, a
                             Notice of Non-Voting Status - Unimpaired Classes or a Notice of Non-
                             Voting Status - Impaired Classes (together, the “Notices of Non-Voting
                             Status”); and

                    (e)      such other materials as may be ordered or permitted by the Court.

           27.      To avoid duplication and reduce expenses, Prime Clerk is authorized (but not

  directed) to provide creditors who have filed duplicate Claims against the Debtors (whether


  6
    Consistent with securities industry practice in chapter 11 solicitations, Ballots will be distributed to Nominees
  together with the Solicitation Packages to be forwarded by them to the beneficial owners. Solicitation Packages will
  be distributed to beneficial owners approximately seven (7) days after the initial distribution of Solicitation Packages
  to the Nominee.


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  against the same or multiple Debtors) which are classified under the Plan in the same Class with

  only one Solicitation Package and the appropriate number of Ballots (if applicable) for voting

  their claims with respect to that Class.

         28.     Copies of the Disclosure Statement and the Plan included in the Solicitation

  Package shall be provided in PDF format (with the exception of the Ballots and the Confirmation

  Hearing Notice, which will be provided in printed hard copies) instead of printed hard copies.

         29.     For Disclosure Statement Hearing Notices and/or Solicitation Packages returned

  as undeliverable, the Debtors are excused from mailing Disclosure Statement Hearing Notices

  and/or Solicitation Packages or any other materials related to voting or confirmation of the Plan

  to those entities listed at such addresses unless the Debtors are provided with accurate addresses

  for such entities before July 19, 2019, and failure to mail Solicitation Packages or any other

  materials related to voting or confirmation of the Plan to such entities shall not constitute

  inadequate notice of the Confirmation Hearing or the Voting Deadline and shall not constitute a

  violation of Bankruptcy Rule 3017(d).

         B.      Ballots

         30.     The forms of Ballots annexed hereto as Exhibits 1 through 19 are APPROVED.

         31.     To be counted as a vote to accept or reject the Plan, each Ballot must be properly

  executed, completed and delivered to Prime Clerk (i) via Prime Clerk’s E-Balloting Portal, (ii) by

  mail, (iii) by courier, or (iv) by personal delivery, so that it is actually received by Prime Clerk no

  later than the Voting Deadline. Ballot submitted by facsimile or other electronic means of

  transmission shall not be accepted; provided, however, Nominees and their agents may return the

  Master Ballots to Prime Clerk via email at fesballots@primeclerk.com.

         32.     With respect to the Ballots that will be sent to Holders of Claims in Classes A3,

  A4, B4, B5, B6, C4, C5 and E3 the Debtors are authorized to send Ballots to each broker, bank


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  or other nominee that is the record holder of such Claims (each, a “Nominee”). Each Nominee

  will be entitled to receive reasonably sufficient copies of Beneficial Ballots for beneficial holders

  of the Voting Bondholder Claims (each, a “Beneficial Ballot”) and Solicitation Packages to

  distribute to the beneficial owners of the Voting Bondholder Claims for whom such Nominee

  holds such Claims.     The Debtors shall be responsible for each such Nominee’s requested

  reasonable, documented costs and expenses associated with the distribution of copies of

  Beneficial Ballots and Solicitation Packages to the beneficial owners of the Voting Bondholder

  Claims and tabulation of the Beneficial Ballots. For the avoidance of doubt, the beneficial

  owners of the Mansfield Certificate Claims, who shall be entitled to vote the Mansfield

  Certificate Claims as set forth herein, are the beneficial holders of Mansfield Certificates.

         33.     Additionally each Nominee will receive returned Beneficial Ballots from the

  beneficial owners, tabulate the results, and return, inter alia, such results to Prime Clerk, in a

  master ballot (each, a “Master Ballot”) by the Voting Deadline, or arrange for beneficial holders

  to receive pre-validated Ballots for direct return for Prime Clerk before the Voting Deadline.

         34.     A Nominee has two options with respect to voting. Under the first option, the

  Nominee will forward the Solicitation Package to each beneficial owner of the Claims entitled to

  vote on the Plan for voting and include a return envelope provided by and addressed to the

  Nominee, so that the beneficial owner may return the completed Beneficial Ballot to the

  Nominee. The Nominee will then summarize the individual votes of its respective beneficial

  owners from their individual Beneficial Ballots on the appropriate Master Ballot, in substantially

  the form of the Master Ballot, and then return the Master Ballot to Prime Clerk by the Voting

  Deadline.7 The Nominee should advise the beneficial owners to return their Beneficial Ballots to

  7
    Notwithstanding anything herein, Nominees may return Master Ballots to Prime Clerk via email at
  FESBallots@primeclerk.com


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  the Nominee by a date calculated by the Nominee to allow it to prepare and return the Master

  Ballot to Prime Clerk so that the Master Ballot is actually received by Prime Clerk by the Voting

  Deadline.8

          35.      Under the second option, the Nominee elects to pre-validate the Beneficial Ballot

  contained in the Solicitation Package and then forward the Solicitation Package to the beneficial

  owners of the Claims for voting within seven (7) business days after the receipt by such Nominee

  of the Solicitation Package, with the beneficial owners then returning the Beneficial Ballots

  directly to Prime Clerk (i) via Prime Clerk’s E-Balloting Portal or (ii) in the return envelope

  provided in the Solicitation Package. A Nominee pre-validates a beneficial owner’s Beneficial

  Ballot by, inter alia, (a) indicating thereon the name and address of the record holder of the

  Claim to be voted, the amount of the Claim held by the beneficial owners as of the Voting

  Record Date, and the appropriate account numbers through which the beneficial owner’s

  holdings are derived, and (b) executing the beneficial owner’s Beneficial Ballot. The beneficial

  owner shall return the pre-validated Beneficial Ballot directly to Prime Clerk by the Voting

  Deadline.

          36.      The Debtors are authorized to, in addition to accepting Ballots by regular mail,

  overnight courier or hand delivery, accept Ballots via electronic, online transmission through a

  customized electronic Ballot by utilizing the E-Balloting Portal on Prime Clerk’s website at

  https://cases.primeclerk.com/FES/.

          C.       Notice of Non-Voting Status

          37.      The Notices of Non-Voting Status are APPROVED.


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    Beneficial Holders holding Notes through a Nominee must return their paper ballot to their Nominee, unless, at the
  option of the Nominee, the Nominee instructs their Beneficial Holders that they may relay votes or voting
  instructions electronically to the Nominee or the entity preparing the master ballot on such Nominee’s behalf, and
  Nominees may use their customary procedures for obtaining such votes electronically.


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         38.     The Debtors shall distribute a Notice of Non-Voting Status - Unimpaired Class,

  substantially in the form annexed hereto as Exhibit 20 to the Holders of Claims in Classes A1,

  A2, B1, B2, B3, B11, C1, C2, C10, D1, D2, E1, E2, E8, F1, F2, G1, G2 and G5, as of the close

  of business on the Voting Record Date, which Classes are Unimpaired and therefore not entitled

  to vote to accept or reject the Plan.

         39.     The Debtors shall distribute a Notice of Non-Voting Status - Impaired Class,

  substantially in the form annexed hereto as Exhibit 21 to the Holders of Claims and Interests in

  Classes A10, D8 and F5 as of the close of business on the Voting Record Date, which Classes

  will not receive or retain any property under the Plan and will not be not entitled to vote to

  accept or reject the Plan.

         40.     The Notices of Non-Voting Status satisfy the requirements of the Bankruptcy

  Code and the Bankruptcy Rules, and the Debtors therefore are not required to distribute copies of

  the Plan, the Disclosure Statement, and the Confirmation Hearing Notice to any Holder of

  Claims and Interests in Classes A1, A2, A10, B1, B2, B3, B11, C1, C2, C10, D1, D2, D8, E1,

  E2, E8, F1, F2, F5, G1, G2 and G5. Such documents shall also be posted on the Debtors’

  restructuring website, https://cases.primeclerk.com/FES.

         D.      Bondholder Election Notice

         41.     The form of Bondholder Election Notice annexed hereto as Exhibit 25 is

  APPROVED.

  V.     Approval of Notice of Filing the Plan Supplement

         42.     The Plan Supplement Notice in the form annexed hereto as Exhibit 22 is

  APPROVED.

         43.     The Debtors shall serve the Plan Supplement by July 23, 2019, or as soon as

  practicable thereafter, on those parties receiving the Solicitation Package.


                                                   15

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         44.    The Debtors will file the Plan Supplement no later than ten (10) days prior to the

  Voting Deadline or such later date as may be approved by the Court, except as otherwise

  provided under the Plan.

  VI.    Approval of Tabulation Procedures

         A.     Tabulation Procedures

         45.    The following Tabulation Procedures are APPROVED:

                (a)    Whenever a creditor casts more than one Ballot voting the same claim(s)
                       before the Voting Deadline, the last properly completed Ballot received
                       before the Voting Deadline will be deemed to reflect the voter’s intent, and
                       thus, to supersede any prior Ballots;

                (b)    The following Ballots will not be counted: (i) any Ballot that is properly
                       completed, executed, and timely returned to Prime Clerk, but does not
                       indicate either an acceptance or rejection of the Plan; (ii) any Ballot
                       submitted for which the Holder of a Claim entitled to vote to accept or
                       reject the Plan votes to both accept and reject the Plan; (iii) in the absence
                       of any extension of the Voting Deadline granted by the Debtor, any Ballot
                       received after the Voting Deadline; (iv) any Ballot that is illegible or
                       contains insufficient information to permit the identification of the
                       claimant; (v) any Ballot cast by a person or entity that does not hold a
                       Claim as of the Voting Record Date that is entitled to vote to accept or
                       reject the Plan; (vi) any Ballot cast by a person or entity that (a) as of the
                       Voting Record Date, is for a claim that was disallowed or expunged; (b) is
                       for a claim the Debtors scheduled as contingent, unliquidated, or disputed
                       and a proof of claim was not filed by the General Bar Date or deemed
                       timely filed by order for the Court at least five (5) business days prior to
                       the Voting Deadline; or (c) such claim is subject to an objection that
                       remains unresolved (subject, however, to the rights of any Holder of the
                       Claim under Fed. R. Bankr. P. 2018 to have such Claim allowed for voting
                       purposes); (vii) any unsigned Ballot; or (viii) any Ballot transmitted to
                       Prime Clerk by fax, e-mail (except Master Ballots), other electronic means
                       of transmission (other than the E-Ballot platform available on Prime
                       Clerk’s website), unless otherwise agreed to by the Debtors;

                (c)    If no Holders of Claims eligible to vote in a particular Class vote to accept
                       or reject the Plan, the Plan shall be deemed accepted by the Holders of
                       such Claims in such Class; and

                (d)    In the event there are no creditors in a given Class for a particular Debtor,
                       such Class shall be deemed eliminated from the Plan for purposes of
                       voting to accept or reject the Plan and disregarded for purposes of


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                      determining whether the Plan satisfies section 1129(a)(8) of the
                      Bankruptcy Code with respect to that Class.

        46.    The following additional Tabulation Procedures with respect to tabulating Master

  Ballots are APPROVED:

               (a)    Votes cast by Holders of the Voting Bondholder Claims through Nominees
                      will be applied to the applicable positions held by such Nominees as of the
                      Voting Record Date, as evidenced by the record and depository listings.
                      Voting submitted by a Votes cast by Holders of the Voting Bondholder
                      Claims through Nominees will be applied to the applicable positions held
                      by such Nominees as of the Voting Record Date, as evidenced by the
                      record and depository listings. Voting submitted by a Nominee shall not be
                      counted in excess of the amount of the Voting Bondholder Claims held by
                      such Nominee as of the Record Date;

               (b)    If conflicting votes or “over-votes” are submitted by a Nominee, the
                      Debtors shall use reasonable efforts to reconcile discrepancies with the
                      Nominee;

               (c)    If over-votes are submitted by a Nominee which are not reconciled prior to
                      the preparation of the Voting Certification, the votes to accept and to reject
                      the Plan shall be approved in the same proportion as the votes to accept
                      and to reject the Plan submitted by the Nominee, but only to the extent of
                      the Nominee’s Voting Record Date position;

               (d)    The Claims of Holders of Unsecured PCN/FES Notes Claims or Mansfield
                      Certificate Claims will receive a Ballot on account of the primary obligor
                      on their respective claims. Votes submitted by Holders of Allowed
                      Unsecured PCN/FES Notes Claims and Mansfield Certificate Claims will
                      be counted as a vote for a Claim in equal amount against each of the
                      Debtors’ guaranteeing such Allowed Unsecured PCN/FES Notes Claim or
                      Mansfield Certificate Claim (e.g. a vote from a Holder of an Allowed
                      PCN/FES Note Claim at FG to accept the Plan will be counted as a vote in
                      the same amount at FES and NG to also accept the Plan).

               (e)    For the purposes of tabulating votes, each beneficial holder shall be
                      deemed (regardless of whether such holder includes interest in the amount
                      voted on its Ballot) to have voted only the principal amount of its Voting
                      Bondholder Claims any principal amounts thus voted will be thereafter
                      adjusted by Prime Clerk, on a proportionate basis with a view to the
                      amount of the Voting Bondholder Claims actually voted, to reflect the
                      corresponding claim amount, including,             any accrued but unpaid
                      prepetition interest, with respect to the securities thus voted; and




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                 (f)     A single Nominee may complete and deliver to Prime Clerk multiple
                         Master Ballots. Votes reflected on multiple Master Ballots shall be
                         counted, except to the extent that they are duplicative of another Master
                         Ballot. If two or more Master Ballots are inconsistent, the latest validly
                         executed Master Ballot received prior to the Voting Deadline shall, to the
                         extent of such inconsistency, supersede, and revoke any prior Master
                         Ballot.

         47.     The Debtors may waive any defects or irregularities as to any particular Ballot at

  any time, either before or after the Voting Deadline; provided, however, that (i) any such waivers

  shall be documented in the Voting Certification, and (ii) neither the Debtors, nor any other entity,

  shall be under any duty to provide notification of such defects or irregularities other than as

  provided in the Voting Certification, nor will any of them incur any liability for failure to provide

  such notification.

         48.     Unless otherwise ordered by the Court, questions as to the validity, form,

  eligibility (including time of receipt), acceptance, and revocation or withdrawal of Ballots shall

  be determined by Prime Clerk and the Debtors, which determination shall be final and binding.

         B.      Withdrawal of Vote

         49.     Any creditor who has delivered a properly completed Ballot for the acceptance or

  rejection of the Plan may withdraw such Ballot, subject to any rights of the Debtors to contest the

  validity of such withdrawal, such acceptance or rejection by delivering a written notice of

  withdrawal to Prime Clerk, at any time prior to the Voting Deadline; provided, however, that any

  instance in which a Ballot is withdrawn shall be listed in the Voting Certification by Prime Clerk.

  A notice of withdrawal, to be valid, shall (i) contain the description of the Claim(s) to which it

  relates and the aggregate principal amount represented in such Claims(s), (ii) be executed by the

  withdrawing creditor, (iii) contain a certification that the withdrawing creditor owns the Claim(s)

  and possesses the right to withdraw the Ballot, and (iv) be received by Prime Clerk prior to the




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  Voting Deadline. The Debtors expressly reserve the right to contest the validity of any

  withdrawals of votes on the Plan.

          C.     Changing of Votes

          50.    Notwithstanding Bankruptcy Rule 3018(a), whenever two or more Ballots or

  Master Ballots are cast voting the same Claim(s) prior to the Voting Deadline, the last properly

  completed Ballot or Master Ballot received prior to the Voting Deadline shall be deemed to

  reflect the voter’s intent and will supersede any prior Ballots or Master Ballots, as the case may

  be, without prejudice to any rights of the Debtors to object to the validity or allowance for voting

  purposes of the later Ballot or Master Ballot on any basis permitted by law, including under

  Bankruptcy Rule 3018(a), and, if the objection is sustained, to count the next-most recent

  properly completed Ballot or Master Ballot received by Prime Clerk for all purposes; provided,

  however, that as to any instance in which a vote is changed by the filing of a superseding Ballot,

  the Voting Certification to be filed by Prime Clerk shall indicate the changing of the particular

  vote.

          D.     No Division of Claims or Votes

          51.    Except as set forth below and as it may relate to the procedures applicable to

  Master Ballots, each claimant who votes must vote the full amount of each Claim in any one

  Class either to accept or reject the Plan, and, therefore: (i) separate Claims held by a single

  creditor in any one Class will be aggregated, for purposes of the numerosity requirement of

  section 1126(c) of the Bankruptcy Code, as if such creditor held one Claim against the Debtor in

  such Class, (ii) such creditor will receive a single Ballot with respect to all of its claims in such

  Class; and (iii) the votes related to such Claims will be treated as a single vote to accept or reject

  the Plan. Notwithstanding anything to the contrary herein, separate Ballots will be provided, and

  the votes of creditors will not be aggregated, in the event that separate Ballots are requested by a


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  creditor in a Temporary Allowance Request Motion prior to the deadline set forth in paragraph

  19 for filing any such motion and such motion is approved by the Court prior to the Voting

  Deadline. Further, Holders of Claims against multiple Debtors (e.g. FENOC-FES Unsecured

  Claims) must vote all such Claims either to accept or reject the Plan and may not vote to accept

  the Plan as to certain Debtors and reject the Plan as to other Debtors.

         52.     Prime Clerk is authorized (but not required) to contact parties that submit

  incomplete or otherwise deficient Ballots in order to cure such deficiencies and allow the

  Debtors to waive such deficiencies in their discretion and without further order of the Court.

         E.      Certification of Votes

         53.     Prime Clerk will process and tabulate Ballots and Master Ballots for each Class

  entitled to vote to accept or reject the Plan and, prior to the Confirmation Hearing, will file the

  voting certification (the “Voting Certification”) no later than (7) seven days prior the

  Confirmation Hearing (on or about August 13, 2019).

         54.     Such Voting Certification shall list, inter alia, all instances in which (i) Ballots

  were withdrawn, (ii) votes were changed by the filing of superseding Ballots, (iii) the Voting

  Deadline was extended, and (iv) every irregular Ballot and Master Ballot including, without

  limitation, those Ballots and Master Ballots that are late or (in whole or in material part) illegible,

  unidentifiable, lacking signatures or necessary information, damaged, or received via facsimile

  or any other means. With regard to section (iv) of this paragraph, the Voting Certification shall

  indicate the Debtors’ intentions with regard to such irregular Ballots and Master Ballots.

         55.     The Voting Certification shall be served on (i) all Notice Parties and (ii) all parties

  who have requested notice pursuant to Bankruptcy Rule 2002, and the Voting Certification shall

  be posted on the Debtors’ restructuring website, https://cases.primeclerk.com/FES, as soon as

  practicable after such Voting Certification is filed.


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  VII.   Approval of the Confirmation Procedures

         A.      Confirmation Hearing Notice

         56.     The Confirmation Hearing Notice substantially in the form annexed hereto as

  Exhibit 23 is APPROVED.

         57.     The Debtors shall mail a copy of the Confirmation Hearing Notice (to the extent

  not already provided in the distributions above) to: (i) the US Trustee; (ii) counsel to the

  Committee; (iii) all persons or entities that have requested notice of the proceedings in the

  Chapter 11 Cases; (iv) all Holders of Claims and Interests regardless of whether such Holders are

  entitled to vote on the Plan; (v) the Internal Revenue Service, the Securities and Exchange

  Commission, the United States Attorney for the Northern District of Ohio and any other required

  governmental units; (vi) the parties listed on the 2002 Service List and the General Service List

  (each as defined in the Amended Case Management Order); (vii) executory contract and lease

  counterparties who have not filed proofs of claim in the Chapter 11 Cases; and (viii) such

  additional persons and entities as deemed appropriate by the Debtors.

         58.     The Debtors shall publish the Confirmation Hearing Notice, modified for

  publication, on one occasion in each of the publications listed on Exhibit 24 to this Order within

  ten (10) business days after entry of the Order.

         B.      Notice to Retail and Wholesale Customers

         59.     The Debtors shall provide retail and wholesale customers of FES with a form of

  notice that (i) includes substantially the same information as contained in the Confirmation

  Hearing Notice, and (ii) advises the retail and wholesale customers of FES that their retail

  contracts will be assumed by FES and assigned to New FES in accordance with the terms and

  conditions of the Plan (the “Retail Contracts Notice”).




                                                     21

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         60.     The Retail Contracts Notice substantially annexed hereto as Exhibit 26 is

  APPROVED.

         61.     The Debtors shall mail a copy of the Retail Contracts Notice (to the extent not

  already provided in the distributions above) to: (i) the retail and wholesale customers of FES;

  and (ii) such additional persons and entities as deemed appropriate by the Debtors.

         C.      Notice to Contract Counterparties

         62.     The Debtors shall provide counterparties to (i) Assumed Executory Contracts or

  Unexpired Leases and Assigned Executory Contracts or Unexpired Leases and (ii) Rejected

  Executory Contracts or Unexpired Leases with a form of notice that advises the counterparties

  that their contracts will be assumed, assumed and assigned or rejected by the Debtors in

  accordance with the terms and conditions of the Plan (the “Assumption and Rejection Notices”).

         63.     The Assumption and Rejection Notices substantially in the form annexed hereto

  as Exhibit 27 are APPROVED.

         64.     The Debtors shall mail a copy of the Assumption and Rejection Notices, along

  with a copy of the Plan Supplement, to (i) the counterparties to the Assumed Executory Contracts

  or Unexpired Leases, Assigned Executory Contracts or Unexpired Leases, and Rejected

  Executory Contracts or Unexpired Leases and (ii) such additional persons and entities as deemed

  appropriate by the Debtors.

         65.     Objections to the proposed assumption and assignment of Executory Contracts or

  Unexpired Leases, to any proposed cure amount, or to the proposed rejection of Executory

  Contracts or Unexpired Leases shall be filed and served by counterparties via the Court’s ECF

  system no later than August 2, 2019.




                                                 22

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         D.      Objections to Confirmation of the Plan

         66.     Objections and responses, if any, to confirmation of the Plan, must (i) be in

  writing, (ii) conform to the Bankruptcy Rules, the Local Rules and the Amended Case

  Management Order, (iii) set forth the name(s) of the objecting party/(ies), (iv) set forth the nature

  and amount of the Claim(s) or Interest(s) held or asserted by the objection party/(ies) against the

  Debtors, (v) state with particularity the legal and factual bases relied upon for the objection or

  response, (vi) be filed electronically with the Court; and (vii) be served upon the Notice Parties

  on or prior to the Plan Objection Deadline.

         67.     Any objections or responses must also be served upon and received by the Notice

  Parties no later than the Plan Objection Deadline of August 2, 2019 at 4:00 p.m. (prevailing

  Eastern Time).

         68.     Objections to confirmation of the Plan not timely filed and served in accordance

  with the provisions of this Order shall not be considered by the Court and are denied and

  overruled unless otherwise ordered by the Court.

         69.     The Debtors may file and serve, as appropriate, replies or an omnibus reply to

  objections or responses that may be served and filed on or before the Plan Reply Deadline.

         70.     The Debtors may make non-substantive changes to the Solicitation Package

  (including the Plan, Disclosure Statement, and Ballots), the Confirmation Hearing Notice, the

  Notices of Non-Voting Status, the Plan Supplement Notice, the Bondholder Election Notice, the

  Retail Contracts Notice, the procedures contained herein and all related documents, without

  further order of the Court, including, without limitation, filling in any missing dates or other

  missing information, changes to correct typographical and grammatical errors and to make

  conforming changes among the Disclosure Statement, the Plan, any other materials in the

  Solicitation Package, the Confirmation Hearing Notice, the Notices of Non-Voting Status, the


                                                   23

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  Plan Supplement Notice, the Bondholder Election Notice, and/or the Retail Contracts Notice,

  prior to distribution of such materials.

         71.     This Court shall retain jurisdiction to hear and determine all matters arising from

  or related to the implementation, interpretation, and/or enforcement of this Order.

                                                 ###




                                                  24

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  SUBMITTED BY:

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                                               25

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                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                                    )     Chapter 11
  In re:                                                            )
                                                                    )     Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                    )
                                     Debtors.                       )
                                                                    )     Hon. Judge Alan M. Koschik
                                                                    )


                                 MASTER BALLOT FOR
                    ACCEPTING OR REJECTING THE FIFTH AMENDED
             JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
           CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                        NOMINEE FOR BENEFICIAL OWNERS OF
                CLASS A3, B5 AND C4 UNSECURED PCN/FES NOTES CLAIMS

  THIS MASTER BALLOT (THE “MASTER BALLOT”) MUST BE COMPLETED AND
  (I) IF EMAILED, SUBMITTED TO PRIME CLERK LLC (THE “VOTING AGENT”)
  VIA THE EMAIL ADDRESS PROVIDED FOR HEREIN, OR (II) IF CAST IN PAPER
  FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED BY THE VOTING
  AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER CASE BY 4:00
  P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE “VOTING
  DEADLINE”) OR THE VOTE OF THE BENEFICIAL OWNERS (DEFINED BELOW)
  FOR WHOM YOU ACT AS NOMINEE (DEFINED BELOW) WILL NOT BE
  COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE
  THAT THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE
  THE VOTING DEADLINE.




  1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
  18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
  Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
  FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
  address is: 341 White Pond Dr., Akron, OH 44320.


                                                                                                               Ex-1

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           The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
  soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
  Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
  same may be amended, modified, and/or supplemented, including all exhibits or supplements
  thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
  against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
  of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
  which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
  FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
  ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
  the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
  tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
  Disclosure Statement, which is part of each package of materials that accompanies this Master
  Ballot (each, a “Solicitation Package”). The Court’s approval of the Disclosure Statement does
  not indicate approval of the Plan by the Court.

         You are receiving this Master Ballot because you are the broker, bank or other nominee,
  or the agent of a broker, bank or other nominee (each of the foregoing, a “Nominee”) of a
  Beneficial Owner3 of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims indicated on
  Exhibit A hereto as of May 20, 2019 (the “Voting Record Date”).

         This Master Ballot is to be used by you as the Nominee for certain Beneficial Owners of
  Class A3, B5 and C4 Unsecured PCN/FES Notes Claims indicated on Exhibit A hereto, to
  transmit to the Voting Agent the votes of such Beneficial Owners in respect of their Claims to
  accept or reject the Plan in accordance with their ballots (each, a “Beneficial Ballot”).

         The votes transmitted on this Master Ballot for Beneficial Owners of the Class A3,
  B5 and C4 Unsecured PCN/FES Notes Claims indicated on Exhibit A hereto shall be
  applied to each Debtor against whom such Beneficial Owners have a Claim.

          As a Nominee, you are required to immediately deliver a Solicitation Package, including
  a Beneficial Ballot, to each Beneficial Owner for whom you hold the Securities and take any
  action required to enable such Beneficial Owner to timely vote its Class A3, B5 and C4
  Unsecured PCN/FES Notes Claims to accept or reject the Plan. You should include in each
  Solicitation Package a return envelope addressed to you (and not a return envelope addressed to
  the Voting Agent) unless you choose to pre-validate such Beneficial Ballot, in which case the
  Solicitation Package should include a return envelope addressed only to the Voting Agent. With
  respect to any Beneficial Ballots returned to you, you must (i) transfer to this Master Ballot your
  Beneficial Owners’ votes as reflected in their respective Beneficial Ballots and (ii) execute and
  deliver this Master Ballot to the Voting Agent in accordance with the instructions accompanying
  this Master Ballot.


  2
   All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.
  3
   A “Beneficial Owner” means a beneficial owner of publicly traded securities whose Claims have not been satisfied
  prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected in the records
  maintained by the Nominees.

                                                           2


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          The Disclosure Statement, which describes the terms of the Plan, was included in the
  Solicitation Packages you are receiving with this Master Ballot (as well as the Plan, Disclosure
  Statement Order and certain other materials). If you need to obtain additional copies of the Plan,
  the Disclosure Statement, or other Solicitation Materials, you may obtain free copies (a) at the
  dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
  https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
  Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
  (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
  fesballots@primeclerk.com.

                                    VOTING INSTRUCTIONS

  1.     Capitalized terms used in the Master Ballot or in these instructions but not otherwise
         defined therein or herein shall have the meanings ascribed in the Plan, the Disclosure
         Statement, or the Disclosure Statement Order, as applicable, copies of which accompany
         the Master Ballot.

  2.     You should immediately distribute Solicitation Package(s), including Beneficial Ballots,
         to each Beneficial Owner (or intermediary nominees, if applicable) of the Securities
         underlying Class A3, B5 and C4 Unsecured PCN/FES Notes Claims, and take any action
         required to enable each such Beneficial Owner to timely vote such Claims.

  3.     If you are both the record holder and the Beneficial Owner of any principal amount of the
         Class A3, B5 and C4 Unsecured PCN/FES Notes Claims and you wish to vote any such
         Claims on account thereof, you may complete and execute either an individual Beneficial
         Ballot or a Master Ballot and return the same to the Voting Agent in accordance with
         these instructions.

  4.     If you are transmitting the votes of any Beneficial Owner(s) other than yourself, you may,
         at your option, elect to pre-validate the Beneficial Ballots sent to such Beneficial Owners.
         Based on your decision as to whether or not to pre-validate any Beneficial Ballots, the
         instructions in either paragraph (5) or paragraph (6) apply (but not both).

  5.     PRE-VALIDATED BENEFICIAL BALLOTS:                        A Nominee “pre-validates” a
         Beneficial Ballot by indicating thereon the amount of the Class A3, B5 and C4 Unsecured
         PCN/FES Notes Claims to be voted, the amount of the Class A3, B5 and C4 Unsecured
         PCN/FES Notes Claims held by the Beneficial Owner and the appropriate account
         numbers through which the Beneficial Owner’s holdings are derived and executing the
         Beneficial Ballot. If you choose to pre-validate individual Beneficial Ballots, you must
         immediately: (a) “pre-validate” the individual Beneficial Ballots contained in the
         Solicitation Package sent to you by the Voting Agent, and (b) forward the Solicitation
         Packages to the Beneficial Owners for voting, including:

                 (i)    the pre-validated Beneficial Ballot;

                 (ii)   a return envelope addressed to the Voting Agent as follows: FirstEnergy
                 Solutions Corp. Ballot Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd
                 Floor, New York, NY 10022; and

                                                  3


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               (iii) clear instructions stating that Beneficial Owners must return their pre-
               validated Beneficial Ballot directly to the Voting Agent so that it is actually
               received by the Voting Agent on or before the Voting Deadline, which is 4:00
               p.m. on August 2, 2019 (prevailing Eastern Time).

  6.    NON PRE-VALIDATED BENEFICIAL BALLOTS: If you do NOT choose to pre-
        validate individual Beneficial Ballots, you must:

        (i)     immediately forward the Solicitation Package(s) sent to you by the Voting Agent
        to each Beneficial Owner for voting, including: (a) the Beneficial Ballot; (b) a return
        envelope addressed to you; and (c) clear instructions stating that Beneficial Owners must
        return their Beneficial Ballot directly you so that it is actually received by you on or
        before the date (“Return Date”) calculated by you so as to afford you enough time to
        prepare the Master Ballot and return the Master Ballot to the Voting Agent so it is
        actually received by the Voting Agent on or before the Voting Deadline, which Return
        Date the Nominee must also insert in the blank on the first page of the Beneficial Ballot
        before transmitting it to the Beneficial Owner; and

        (ii)   upon receipt of completed and executed Beneficial Ballots returned to you by a
        Beneficial Owner (or an intermediary nominee), you must:

               a.      compile and validate the votes and other relevant information of each such
               Beneficial Owner on the Master Ballot using the customer account number or
               other identification number assigned by you or an intermediary nominee to each
               such Beneficial Owner;

               b.     execute the Master Ballot;

               c.     transmit such Master Ballot so as to be actually received by the Voting
               Agent by the Voting Deadline; and

               d.      retain such Beneficial Ballots in your files for a period of one year after
               the Effective Date of the Plan (as you may be ordered to produce the Beneficial
               Ballots to the Debtors or the Court).

  7.    If a Master Ballot is received after the Voting Deadline and if the Voting Deadline is not
        extended, the votes of your Beneficial Owners will not be counted. Additionally, the
        votes cast by the following Master Ballots (and therefor underlying Beneficial Ballots)
        will NOT be counted:

               (i)    Master Ballots sent to any of the Debtors, the Debtors’ agents (other than
               the Voting Agent), any indenture trustee or the Debtors’ financial or legal
               advisors;

               (ii)   Master Ballots sent by facsimile or any other electronic means not
               expressly provided for herein;



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               (iii) any Master Ballot that is illegible or contains insufficient information to
               permit the identification of the Beneficial Owners of the Claims voted;

               (iv)    any Master Ballot reflecting votes by an entity that does not hold a Claim
               in a Class that is entitled to vote on the Plan;

               (v)     any unsigned Master Ballot;

               (vi)   the portion of any Master Ballot (i) not marked to accept or reject the Plan
               with respect to any account number or (ii) marked, with respect to a single
               account number, both to accept and reject the Plan; and/or

               (vii) any Master Ballot submitted by any entity not entitled to vote pursuant to
               the Disclosure Statement Order.

  8.    Any Beneficial Ballot returned to you by a Beneficial Owner or intermediary nominee
        shall not be counted for purposes of accepting or rejecting the Plan until you properly
        complete and deliver to the Voting Agent a Master Ballot that reflects the vote of such
        Beneficial Owner or intermediary nominee by the Voting Deadline.

  9.    The method of delivery of Master Ballots to the Voting Agent is at your election and risk.
        Except as otherwise provided herein, such delivery will be deemed made only when the
        Voting Agent actually receives the originally executed Master Ballot. Instead of effecting
        delivery by first-class mail, it is recommended, though not required, that you use an
        overnight or hand delivery service. Facsimile or other electronic transmissions of this
        Master Ballot not expressly provided for herein will not be accepted. In all cases, you
        should allow sufficient time to assure timely delivery.

  10.   If multiple Master Ballots are received from the same Nominee with respect to the same
        Beneficial Ballot belonging to a beneficial Owner of a Claim prior to the Voting
        Deadline, the last valid Master Ballot timely received will supersede and revoke any
        earlier received Master Ballots.

  11.   The Master Ballot is not a letter of transmittal and may not be used for any purpose other
        than to vote to accept or reject the Plan and make certifications with respect to the
        Beneficial Ballots. Accordingly, at this time, holders of Claims should not surrender
        certificates or instruments representing their Claims and you should not accept delivery
        of any such certificates or instruments surrendered together with a Beneficial Ballot.

  12.   This Master Ballot does not constitute, and shall not be deemed to be, (a) a proof of claim
        or (b) an assertion or admission of a Claim.

  13.   Please be sure to properly execute your Master Ballot. You must: (a) sign and date your
        Master Ballot; (b) if applicable, indicate that you are signing a Master Ballot in your
        capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
        corporation or otherwise acting in a fiduciary or representative capacity and, if required
        or requested by the Voting Agent, the Debtors or the Court, submit proper evidence to the
        requesting party to so act on behalf of such Beneficial Owner; and (c) provide your name

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        and mailing address if it is different from that set forth on the attached mailing label or if
        no such mailing label is attached to the Master Ballot.

  14.   No fees or commissions or other remuneration will be payable to any Nominee for
        soliciting Beneficial Ballots accepting the Plan. The Debtors will however, upon written
        request, reimburse you for reasonable and customary mailing and handling expenses
        incurred by you in forwarding the Beneficial Ballots and other enclosed materials to your
        customers.

  IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR THE
  VOTING PROCEDURES, PLEASE CONTACT THE VOTING AGENT (A) BY
  WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
  THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
  (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.

  PLEASE NOTE THAT THE VOTING AGENT IS NOT AUTHORIZED TO, AND WILL
  NOT, PROVIDE LEGAL ADVICE.

         If the Voting Agent does not actually receive this Master Ballot on or before
        the Voting Deadline, and if the Voting Deadline is not extended, the Beneficial
                    Owners’ votes transmitted hereby will not be counted.




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                       ACCEPTANCE OR REJECTION OF THE PLAN

  ITEM 1.       Claim Amount for Voting Purposes.

  The undersigned certifies that, as of the Voting Record Date, the undersigned (please check the
  applicable box):

      is a Nominee for the Beneficial Owners of the aggregate amount of the Class A3, B5 and
       C4 Unsecured PCN/FES Notes Claims listed in Item 2 below and is the registered holder
       of the Securities represented by any such Claims;

      is acting under a power of attorney and/or agency agreement (a copy of which will be
       provided upon request) granted by a Nominee that is the registered holder of the
       aggregate amount of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims listed
       in Item 2 below; or

      has been granted a proxy (an original of which is annexed hereto) from (a) a Nominee or
       (b) a Beneficial Owner, that is the registered holder of the aggregate amount of the Class
       A3, B5 and C4 Unsecured PCN/FES Notes Claims listed in Item 2 below and,
       accordingly, has full power and authority to vote to accept or reject the Plan on behalf of
       the Beneficial Owners of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims
       described in Item 2 below.

  ITEM 2.       Vote with Respect to the Class A3, B5 and C4 Unsecured PCN/FES Notes
                Claims.

  Number of Beneficial Owners: The undersigned transmits the following votes of Beneficial
  Owners of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims indicated on Exhibit A
  hereto and certifies that the following Beneficial Owners of such Claims, as identified by their
  respective customer account numbers set forth below, are the Beneficial Owners of such Claims
  as of the Voting Record Date and have delivered to the undersigned, as Nominee, properly
  executed Beneficial Ballots casting such votes as indicated and containing instructions for the
  casting of those votes on their behalf.

  To Properly Complete the Following Table: Indicate in the appropriate column below the
  aggregate principal amount voted for each account. Please use additional sheets of paper if
  necessary and, if possible, attach such information to this Master Ballot in the form of the
  following table. PLEASE NOTE: (i) each account of a Beneficial Owner must vote all such
  Beneficial Owner’s Class A3, B5 and C4 Unsecured PCN/FES Notes Claims to accept or reject
  the Plan and may not split such vote; and (ii) any Beneficial Ballot executed by the Beneficial
  Owner that does not indicate an acceptance or rejection of the Plan or that indicates both an
  acceptance and a rejection should not be counted as either an acceptance or a rejection of the
  Plan.




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   Your Customer       Principal
      Account         Amount Held
  Number for Each     as of Voting
     Beneficial       Record Date
                                                                         REJECT THE
   Owner of Class                     ACCEPT THE PLAN
                                                                            PLAN
   A3, B5 and C4
     Unsecured
  PCN/FES Notes
       Claims

  1.                 $                �                       OR        �

  2.                 $                �                       OR        �

  3.                 $                �                       OR        �

  4.                 $                �                       OR        �

  5.                 $                �                       OR        �

  6.                 $                �                       OR        �

  7.                 $                �                       OR        �

  8.                 $                �                       OR        �

  9.                 $                �                       OR        �

  10.                $                �                       OR        �

  TOTALS:            $



  ITEM 3.      IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

           The Plan contains Consensual Third Party Releases of claims and Causes of Action
  against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
  Parties.

  ALL HOLDERS OF A CLAIM OR INTEREST THAT (I) VOTE TO ACCEPT THE
  PLAN, OR (II) ARE DEEMED TO HAVE ACCEPTED THE PLAN SHALL BE
  DEEMED TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF
  THE PLAN. ALL HOLDERS OF A CLAIM OR INTEREST THAT (I) FAIL TO

                                             8


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  SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
  ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
  REJECT THE PLAN, IN EACH CASE WILL NOT BE DEEMED TO CONSENT TO
  THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

  ANY HOLDER WHO ELECTS TO REJECT THE PLAN, AND THEREFORE, NOT TO
  GRANT THE CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE
  VIII.E OF THE PLAN, WILL FOREGO THE BENEFIT OF RECEIVING THE
  CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
  PLAN IF SUCH HOLDER IS A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date

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  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

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  ITEM 4.       CERTIFICATIONS AS TO TRANSCRIPTION OF INFORMATION FROM ITEM 4 OF THE
                BENEFICIAL BALLOTS AS TO CLASS A3, B5 AND C4 UNSECURED PCN/FES
                NOTES CLAIMS VOTED THROUGH OTHER BENEFICIAL BALLOTS

          The undersigned certifies that the undersigned has transcribed in the following table the
  information, if any, provided by Beneficial Owners in Item 4 of each of the Beneficial Owner’s
  original Beneficial Ballots, identifying any Class A3, B5 and C4 Unsecured PCN/FES Notes
  Claims for which such Beneficial Owners have submitted Beneficial Ballots (e.g., to other voting
  nominees) other than to the undersigned:

  Your Customer         TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL BALLOTS:
  Account
  Number for            Account          Name of        CUSIP Number or        Principal Amount
  Each Beneficial       Number           Holder         Description of         of Other Class
  Owner Who                                             Other Class A3, B5     A3, B5 and C4
  Completed Item                                        and C4 Unsecured       Unsecured
  4 of the                                              PCN/FES Notes          PCN/FES Notes
  Beneficial                                            Claims Voted           Claims Voted
  Ballots

  1.                                                                           $

  2.                                                                           $

  3.                                                                           $

  4.                                                                           $

  5.                                                                           $

  6.                                                                           $

  7.                                                                           $

  8.                                                                           $

  9.                                                                           $

  10.                                                                          $




                                                 11


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  ITEM 5.        CERTIFICATION.

  By signing this Master Ballot, the undersigned certifies that:

          1.      it has delivered copies of the Disclosure Statement, the Beneficial Ballots and the
  rest of the Solicitation Package to each Beneficial Owner whose votes are transmitted hereby or
  to each intermediary nominee, as applicable;

        2.       it has received a completed and signed Beneficial Ballot from each Beneficial
  Owner listed in Item 2 of this Master Ballot or from an intermediary nominee, as applicable;

        3.    as of the Voting Record Date it is the registered holder of the Class A3, B5 and C4
  Unsecured PCN/FES Notes Claims being voted, or an agent therefor;

         4.       it has been authorized by each such Beneficial Owner or intermediary nominee, as
  applicable, to vote on the Plan and to make applicable elections;

         5.      it has properly disclosed:

                 (i)     the number of Beneficial Owners who completed Beneficial Ballots;

                 (ii)   the respective amounts of the Class A3, B5 and C4 Unsecured PCN/FES
                 Notes Claims held as of the Voting Record Date by each Beneficial Owner who
                 completed a Beneficial Ballot;

                 (iii)   each such Beneficial Owner’s respective vote on the Plan;

                 (iv)  each such Beneficial Owner’s certification as to other Class A3, B5 and
                 C4 Unsecured PCN/FES Notes Claims voted; and

                 (v)    the customer account or other identification number for each such
                 Beneficial Owner as of the Voting Record Date;

        6.      each such Beneficial Owner has certified to the undersigned or to an intermediary
  nominee, as applicable, that it is eligible to vote on the Plan; and

          7.      it will maintain Beneficial Ballots and evidence of separate transactions returned
  by Beneficial Owners or by intermediary nominees (whether properly completed or defective)
  for at least one year after the Voting Deadline and disclose all such information to the Court or
  the Debtors, as the case may be, if so ordered.




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  Name of Nominee:
                                                        (Print or Type)

  Participant Number:
  Name of Proxy Holder or Agent for
  Nominee:
                                                                 (Print or Type)

  Social Security or Federal Tax Identification
  Number:


  Signature:
  Name of Signatory:
                           (If other than Nominee)

  Title:
  Address:




  Date Completed:




  No fees, commissions or other remuneration will be payable to any broker, dealer or other person
  for soliciting votes on the Plan. The Debtors will however, upon written request, reimburse you
  for customary mailing and handling expenses incurred by you in forwarding the Beneficial
  Ballots and other enclosed materials to your customers. This Master Ballot is not a letter of
  transmittal and may not be used for any purpose other than to cast votes to accept or reject the
  Plan. Holders should not surrender, at this time, certificates representing their securities. The
  Voting Agent will not accept delivery of any such certificates surrendered together with this
  Master Ballot. Moreover, this Master Ballot shall not constitute or be deemed to be a proof of
  claim or equity interest or an assertion of a claim or equity interest.




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            PLEASE RETURN YOUR MASTER BALLOT PROMPTLY

                              If Submitting Your Vote through E-Mail

  The Voting Agent will accept Master Ballots from Nominees and their agents through email if
  properly completed and submitted via email at fesballots@primeclerk.com




         If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

  Please complete and execute your ballot and submit it by first class mail in the enclosed postage
  prepaid envelope or by sending it to the following address:

                            FirstEnergy Solutions Corp. Ballot Processing
                                        c/o Prime Clerk LLC
                                    830 Third Avenue, 3rd Floor
                                        New York, NY 10022

  If your Master Ballot is not received by the Voting Agent on or before the Voting Deadline, and
  such Voting Deadline is not extended by the Debtors as noted above, your vote will not be
  counted.




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                                          Exhibit A

  Please check one box below to indicate the CUSIP/ISIN to which this Master Ballot
  pertains (or clearly indicate such information directly on the Master Ballot or on a
  schedule thereto):

                    Class A3, B5 and C4 Unsecured PCN/FES Notes Claims

     �         6.05% Senior Unsecured (144A)Private Placement   CUSIP 33766JAC7 / ISIN
                               Due 8/15/2021                    US33766JAC71

     �             6.05% Senior Unsecured Due 8/15/2021         CUSIP 33766JAD5 / ISIN
                                                                US33766JAD54

     �              6.8% Senior Unsecured Due 8/15/2039         CUSIP 33766JAF0 /
                                                                US33766JAF03

     �         6.05% Senior Unsecured (REG-S) Due 8/15/2021     CUSIP U3198TAB5 / ISIN
                                                                USU3198TAB53

     �          3.50% Adjustable Revenue Bonds Due 4/1/2041     CUSIP 074876HL0 / ISIN
                                                                US074876HL04

     �          5.70% Adjustable Revenue Bonds Due 8/1/2020     CUSIP 677525TK3 / ISIN
                                                                US677525TK30

     �         3.75% Adjustable Revenue Bonds Due 12/1/2023     CUSIP677525VK0 / ISIN
                                                                US677525VK02

     �          3.10% Adjustable Revenue Bonds Due 3/1/2023     CUSIP 677525VP9 / ISIN
                                                                US677525VP98

     �         3.00% Adjustable Revenue Bonds Due 5/15/2019     CUSIP 677660UL4 / ISIN
                                                                US677660UL49

     �         2.55% Adjustable Revenue Bonds Due 11/1/2041     CUSIP 708686DB3 / ISIN
                                                                US708686DB37

     �         3.75% Adjustable Revenue Bonds Due 12/1/2040     CUSIP 708686EA4 / ISIN
                                                                US708686EA45

     �            3.5% Muni Revenue Bonds Due 12/1/2035         CUSIP 074876HM8 / ISIN
                                                                US074876HM86

     �             4% Muni Revenue Bonds Due 1/1/2035           CUSIP 074876HN6 / ISIN
                                                                US074876HN69



                                                                                     Ex-1

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                  Class A3, B5 and C4 Unsecured PCN/FES Notes Claims

     �         3.625% Muni Revenue Bonds Due 12/1/2033   CUSIP 677525VQ7 / ISIN
                                                         US677525VQ71

     �         3.625% Muni Revenue Bonds Due 10/1/2033   CUSIP 677525VR5 / ISIN
                                                         US677525VR54

     �         3.95% Muni Revenue Bonds Due 11/1/2032    CUSIP 677525VS3 / ISIN
                                                         US677525VS38

     �          3.75% Muni Revenue Bonds Due 6/1/2033    CUSIP 677525VV6 / ISIN
                                                         US677525VV66

     �          4% Muni Revenue Bonds Due 12/1/2033      CUSIP 677660UJ9 / ISIN US
                                                         US677660UJ92

     �           4% Muni Revenue Bonds Due 6/1/2033      CUSIP 677660UK6 / ISIN
                                                         US677660UK65

     �         3.625% Muni Revenue Bonds Due 10/1/2033   CUSIP 677660UM2 / ISIN
                                                         US677660UM22

     �         3.95% Muni Revenue Bonds Due 11/1/2032    CUSIP 677660UN0 / ISIN
                                                         US677660UN05

     �           4% Muni Revenue Bonds Due 1/1/2034      CUSIP 677660UP5 / ISIN
                                                         US677660UP52

     �          3.75% Muni Revenue Bonds Due 7/1/2033    CUSIP 677660UQ3 / ISIN
                                                         US677660UQ36

     �          2.7% Muni Revenue Bonds Due 4/1/2035     CUSIP 074876HH9 / ISIN
                                                         US074876HH91

     �         3.125% Muni Revenue Bonds Due 1/1/2034    CUSIP 677525VT1 / ISIN
                                                         US677525VT11

     �         3.125% Muni Revenue Bonds Due 7/1/2033    CUSIP 677525VU8 / ISIN
                                                         US677525VU83




                                           16


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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
  In re:                                                             )
                                                                     )     Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                              )     (Jointly Administered)
                                                                     )
                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )


                               BENEFICIAL BALLOT FOR
                    ACCEPTING OR REJECTING THE FIFTH AMENDED
             JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
           CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                                 BENEFICIAL OWNER OF
                 CLASS A3, B5 AND C4 UNSECURED PCN/FES NOTES CLAIMS

  THIS BENEFICIAL BALLOT (THE “BENEFICIAL BALLOT”) IS TO BE USED BY
  BENEFICIAL OWNERS2 OF CLASS A3, B5 AND C4 UNSECURED PCN/FES NOTES
  CLAIMS.

  IN ORDER FOR YOUR VOTE TO BE COUNTED, ALL PRE-VALIDATED
  BENEFICIAL BALLOTS AND/OR MASTER BALLOTS (EACH, A “MASTER
  BALLOT”) CAST ON BEHALF OF BENEFICIAL BALLOTS THAT WERE NOT PRE-
  VALIDATED MUST BE COMPLETED, EXECUTED AND RETURNED SO AS TO BE
  ACTUALLY RECEIVED BY PRIME CLERK LLC (THE “VOTING AGENT”) ON OR
  BEFORE 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
  “VOTING DEADLINE”) IN ACCORDANCE WITH THE FOLLOWING:

  IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE:
  YOU MUST RETURN THIS BENEFICIAL BALLOT TO YOUR NOMINEE BY [●],
  2019 IN ACCORDANCE WITH THE ENCLOSED INSTRUCTIONS FROM YOUR

  1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
  18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
  Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
  FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
  address is: 341 White Pond Dr., Akron, OH 44320.
  2
    A “Beneficial Owner” means a beneficial owner of publicly traded securities whose Claims have not been
  satisfied prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected in the
  records maintained by such owner’s broker, bank or other nominee, or the agent of a broker, bank or other nominee
  (each of the foregoing, a “Nominee”).


                                                                                                                   Ex-2

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  NOMINEE, AND IN ANY EVENT, IN SUFFICIENT TIME TO PERMIT YOUR
  NOMINEE TO DELIVER A MASTER BALLOT INCLUDING YOUR VOTE TO THE
  VOTING AGENT BY THE VOTING DEADLINE. PLEASE CONTACT YOUR
  NOMINEE WITH ANY QUESTIONS REGARDING THE DATE IT NEEDS TO
  RECEIVE YOUR BENEFICIAL BALLOT TO TIMELY SUBMIT THE MASTER
  BALLOT TO THE VOTING AGENT.

  IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO THE VOTING
  AGENT:
  YOUR NOMINEE HAS PRE-VALIDATED THIS BENEFICIAL BALLOT.
  THEREFORE, YOU MUST RETURN THIS PRE-VALIDATED BENEFICIAL BALLOT
  DIRECTLY TO THE VOTING AGENT SO IT IS ACTUALLY RECEIVED BY THE
  VOTING DEADLINE.

  DO NOT MAIL OR RETURN BALLOTS DIRECTLY TO THE ABOVE-CAPTIONED
  DEBTORS AND DEBTORS IN POSSESSION (THE “DEBTORS”) OR THE UNITED
  STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF OHIO (THE
  “COURT”).

          The Debtors are soliciting votes with respect to the Fifth Amended Joint Plan of
  Reorganization of FirstEnergy Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy
  Code [Docket No. ●] (as the same may be amended, modified, and/or supplemented, including
  all exhibits or supplements thereto, including the Plan Supplement, the “Plan”) from the Holders
  of certain Impaired Claims against the Debtors.3 On [●], 2019, the Court signed an order (the
  “Disclosure Statement Order”) [Docket No. ●] which approved the Disclosure Statement for
  the Fifth Amended Joint Plan of Reorganization FirstEnergy Solutions Corp., et. al., Pursuant to
  Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the same may be amended, modified,
  and/or supplemented, including all exhibits thereto, the “Disclosure Statement”) and which
  establishes certain procedures for the solicitation and tabulation of votes to accept or reject the
  Plan. The Plan is attached as Exhibit B to the Disclosure Statement, which is part of the package
  of materials that accompanies this Ballot (the “Solicitation Package”). The Court’s approval of
  the Disclosure Statement does not indicate approval of the Plan by the Court.

          You are receiving this Beneficial Ballot for Beneficial Owners because you are a
  Beneficial Owner of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims indicated on
  Exhibit A hereto as of May 20, 2019 (the “Voting Record Date”). Accordingly, you have a
  right to vote to accept or reject the Plan.

          Your rights are described in the Plan and the Disclosure Statement, which were
  included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
  before submitting a Beneficial Ballot. You may wish to seek legal advice concerning the Plan
  and the classification and treatment of your Claim under the Plan. If you need to obtain
  additional copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may
  obtain free copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11

  3
      All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.

                                                              2



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  cases at https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions
  Corp. Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY
  10022, or (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
  fesballots@primeclerk.com.

          If the Plan is confirmed by the Court it will be binding on you whether or not you
  vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
  by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
  of claims in each Voting Class who voted to either accept or reject the Plan, and if the Plan
  otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
  the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
  that the Plan (i) provides fair and equitable treatment to, and does not unfairly discriminate
  against, the Class or Classes rejecting the Plan and (ii) otherwise satisfies the requirements under
  Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
  Debtors’ cases.

  If the Plan is confirmed by the Court, each Beneficial Owner of Class A3, B5 and C4 Unsecured
  PCN/FES Notes Claims will have the opportunity to make an election regarding the form of
  consideration to be distributed to it on account of such Claims. As described in Article IV.B.6 of
  the Plan, a Beneficial Owner of such Claims may elect to be treated as an Electing Bondholder
  and receive, in lieu of New Common Stock, all or a portion of its recovery in Cash based upon
  its Pro Rata portion of the Unsecured Bondholder Cash Pool. However, to the extent the
  Unsecured Bondholder Cash Pool is insufficient to provide each Electing Bondholder its
  recovery under the Plan in the form of Cash, each Electing Bondholder shall receive the
  remainder of its distribution in New Common Stock in accordance with the Plan. After the
  Confirmation Date and approximately 45 days prior to the Effective Date, Beneficial Owners of
  Class A3, B5 and C4 Unsecured PCN/FES Notes Claims will receive an election form through
  which they may elect to be treated as an Electing Bondholder. Such election form will contain
  its own important instructions and deadlines and recipients should read the election form
  carefully.


        ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
   INJUNCTION PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES
    IN ARTICLE VIII.E. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
   PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER
                 WITH RESPECT TO THE THIRD PARTY RELEASES.




                                                   3



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                                  VOTING INSTRUCTIONS

  1.    Capitalized terms used in the Beneficial Ballot or in these instructions but not otherwise
        defined therein or herein shall have the meanings ascribed in the Plan, the Disclosure
        Statement, or the Disclosure Statement Order, as applicable, copies of which also
        accompany the Beneficial Ballot.

  2.    To ensure that your vote is counted, you must: (i) complete your Beneficial Ballot in
        accordance with these instructions; (ii) clearly indicate your decision either to accept or
        reject the Plan in the boxes provided in Item 2 of the Beneficial Ballot; (iii) review the
        Plan provisions relating to the Consensual Third Party Releases; (iv) review and complete
        Items 4 and 5 in accordance with the instructions therein; and (v) clearly sign and return
        an original of your Beneficial Ballot to the address set forth on the enclosed pre-
        addressed envelope.

  3.    Return of Beneficial Ballots: Your Beneficial Ballot (if pre-validated) and/or the Master
        Ballot incorporating the vote cast on your Beneficial Ballot MUST be returned to the
        Voting Agent so as to be actually received by the Voting Agent on or before the Voting
        Deadline, which is August 2, 2019 at 4:00 p.m. (prevailing Eastern Time). To ensure
        your vote is counted toward confirmation of the Plan, please read the following
        information carefully so that you understand where your Beneficial Ballot must be sent in
        order for it to be received before the Voting Deadline:

        (i)     Pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a return
                envelope addressed to the Voting Agent, you must return your completed
                Beneficial Ballot directly to the Voting Agent so that it is actually received by
                the Voting Agent on or before the Voting Deadline.

        (ii)    Not pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a
                return envelope addressed to your Nominee, you must return your completed
                Beneficial Ballot directly to your Nominee so as to be actually received by [●],
                2019 to allow sufficient time to permit your Nominee to deliver a Master Ballot
                including your vote to the Voting Agent by the Voting Deadline.

  4.    If a Master Ballot or pre-validated Beneficial Ballot is received after the Voting Deadline
        and if the Voting Deadline is not extended, it will not be counted. Additionally, the
        following Beneficial Ballots will NOT be counted:

        (i)     Beneficial Ballots sent to any of the Debtors, the Debtors’ agents (other than the
                pre-validated Beneficial Ballots sent to the Voting Agent), any indenture trustee
                or the Debtors’ financial or legal advisors;

        (ii)    Beneficial Ballots sent by facsimile, e-mail or any other electronic means not
                expressly provided for herein;

        (iii)   any Beneficial Ballot that is illegible or contains insufficient information to
                permit the identification of the holder of the Claim;


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        (iv)   any Beneficial Ballot cast by an entity that does not hold a Claim in a Class that is
               entitled to vote on the Plan;

        (v)    any unsigned Beneficial Ballot; and/or

        (vi)   any Beneficial Ballot submitted by any entity not entitled to vote pursuant to the
               Disclosure Statement Order.

  5.    Beneficial Ballots that indicate both acceptance and rejection of the Plan or indicate
        neither an acceptance nor rejection of the Plan will not be counted.

  6.    The method of delivery of Beneficial Ballots to the Voting Agent or your Nominee is at
        the election and risk of each holder of a Claim. Except as otherwise provided herein,
        such delivery will be deemed made only when the Voting Agent actually receives the
        originally executed Beneficial Ballot or Master Ballot incorporating the Beneficial Ballot.
        Instead of effecting delivery by first-class mail, it is recommended, though not required,
        that holders use an overnight or hand delivery service. In all cases, holders should allow
        sufficient time to assure timely delivery.

  7.    If multiple Beneficial Ballots are received from the same holder of a Class A3, B5 and
        C4 Unsecured PCN/FES Notes Claim with respect to the same Class A3, B5 and C4
        Unsecured PCN/FES Notes Claim prior to the Voting Deadline, the last valid Beneficial
        Ballot timely received will supersede and revoke any earlier received Beneficial Ballots.

  8.    If you believe you received the wrong Ballot, or if you need additional Ballots, please
        immediately contact the Voting Agent.

  9.    If you wish to have your Claim Allowed in a different amount, classification or treatment
        than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
        voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
        order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
        of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
        4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
        Deadline”). All objections and responses to Temporary Allowance Request Motions
        must be filed and served on or before July 19, 2019. A claimant may file a reply to any
        objection or response to its motion on or before July 22, 2019. Any order temporarily
        allowing such claims must be entered on or before August 9, 2019 or as otherwise
        ordered by the Court. Temporary Allowance Request Motions must adhere to the
        requirements set forth in the Disclosure Statement Order to be considered by the Court.

  10.   This Beneficial Ballot does not constitute, and shall not be deemed to be, a proof of claim
        or an assertion or admission of a Claim.

  11.   If you hold Claims in another Class or Classes in which you are entitled to vote, you will
        receive a ballot for such other Class(es). Each ballot votes only your Claims indicated on
        that ballot. Please complete and return each ballot you receive.



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  12.    Please be sure to properly sign and date your Beneficial Ballot. If you are signing a
         Beneficial Ballot in your capacity as a trustee, executor, administrator, guardian, attorney
         in fact, officer of a corporation or otherwise acting in a fiduciary or representative
         capacity, you must indicate such capacity when signing and, if required or requested by
         the Voting Agent, the Debtors or the Court, must submit proper evidence to the
         requesting party to so act on behalf of such holder. In addition, please provide your name
         and mailing address if it is different from that set forth on the attached mailing label or if
         no such mailing label is attached to the Beneficial Ballot.

  IF YOU HAVE ANY QUESTIONS REGARDING THE BENEFICIAL BALLOT OR THE
  PROCEDURES GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE
  BENEFICIAL BALLOT OR OTHER SOLICITATION MATERIALS, PLEASE
  CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY SOLUTIONS
  CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR, NEW YORK,
  NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
  FESBALLOTS@PRIMECLERK.COM. PLEASE NOTE THAT THE VOTING AGENT
  IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.

  THIS BENEFICIAL BALLOT IS TO BE USED BY BENEFICIAL OWNERS OF CLASS
  A3, B5 AND C4 UNSECURED PCN/FES NOTES CLAIMS. PLEASE COMPLETE,
  SIGN AND DATE THIS BENEFICIAL BALLOT AND RETURN IT IN THE
  ENCLOSED ENVELOPE (OR OTHERWISE FOLLOW THE INSTRUCTIONS OF
  YOUR NOMINEE) PROMPTLY.

                       ACCEPTANCE OR REJECTION OF THE PLAN

  ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

  The undersigned hereby certifies that as of the Voting Record Date, the undersigned was the
  Beneficial Owner of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims indicated on
  Exhibit A hereto in the following aggregate unpaid principal amount (insert amount in box
  below, unless otherwise completed by your Nominee):

                        Claim Amount:$ ___________________

  ITEM 2.       VOTE.

  The Beneficial Owner of the Class A3, B5 and C4 Unsecured PCN/FES Notes Claims, the
  aggregate amount of which is set forth in Item 1, votes to (please check only one):

               ACCEPT the Plan.                       REJECT the Plan.

  PLEASE NOTE: (i) Each Beneficial Owner must vote all such Beneficial Owner’s Class
  A3, B5 and C4 Unsecured PCN/FES Notes Claims to accept or reject the Plan and may not
  split such vote; and (ii) any Beneficial Ballot executed by a Beneficial Owner that does not
  indicate an acceptance or rejection of the Plan or that indicates both an acceptance and a
  rejection should not be counted as either an acceptance or a rejection of the Plan.


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  ITEM 3.        IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

           The Plan contains Consensual Third Party Releases of claims and Causes of Action
  against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
  Parties.

  IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
  ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
  RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
  SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
  ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
  REJECT THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT
  TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

  IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
  CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
  PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
  THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
  ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, the FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party, and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or

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  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  FE Non-Debtor Released Parties, and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.


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  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.


  ITEM 4.        CERTIFICATIONS AS TO CLASS A3, B5 AND C4 UNSECURED PCN/FES NOTES
                 CLAIMS.

  By completing and returning this Beneficial Ballot, the undersigned Beneficial Owner certifies
  that (i) this Beneficial Ballot is the only Beneficial Ballot submitted for the Claims identified in
  Item 1 owned by such Holder, except as identified in the following table, and (ii) all Beneficial
  Ballots submitted by the Holder in the same Class identified in Item 1 indicate the same vote to
  accept or reject the Plan that the Holder has indicated in Item 2 of this Beneficial Ballot (please
  use additional sheets of paper if necessary):

  ONLY COMPLETE THIS SECTION IF YOU HAVE VOTED OTHER CLAIMS IN THE
  SAME CLASS ON A BENEFICIAL BALLOT OTHER THAN THIS BENEFICIAL BALLOT.

                            Name of                                             CUSIP of Other
    Account Number
                            Registered Holder       Principal Amount of         Claims Voted
   with other Nominee
                            or Other Nominee        Other Claims Voted
      (if applicable)
                            (if applicable)
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $

  ITEM 5.        CERTIFICATION.

  By signing this Beneficial Ballot, the Beneficial Owner of Class A3, B5 and C4 Unsecured
  PCN/FES Notes Claims certifies that:

                         a.     as of the Voting Record Date it is the Beneficial Owner of the
                         Class A3, B5 and C4 Unsecured PCN/FES Notes Claims to which this
                         Beneficial Ballot pertains;


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                        b.      it has been provided with a copy of the Plan, Disclosure Statement
                        and the Disclosure Statement Order and acknowledges that the vote set
                        forth on this Beneficial Ballot is subject to all the terms and conditions set
                        forth in the Plan, Disclosure Statement, and the Disclosure Statement
                        Order; and

                        c.     it has not submitted any other Ballots relating to the Class A3, B5
                        and C4 Unsecured PCN/FES Notes Claims that are inconsistent with the
                        votes as set forth in this Beneficial Ballot or that, as limited by the terms
                        of the Disclosure Statement Order and the instructions attached hereto, if
                        such other ballots were previously submitted, they either have been or are
                        hereby revoked or changed to reflect the vote set forth herein.


  Name of Claim Holder (Print or Type):

  Social Security or Federal Tax I.D. No.

  (Optional):

  Signature:

  Name of Signatory:

  If Authorized Agent of Claimant, Title of
  Agent:

  Street Address:

  City, State, and Zip Code: Telephone
  Number:

  Email Address: Date Completed:

  No fees, commissions or other remuneration will be payable to any broker, dealer or other person
  for soliciting votes on the Plan. This Beneficial Ballot is not a letter of transmittal and may not
  be used for any purpose other than to cast votes to accept or reject the Plan. Holders should not
  surrender, at this time, certificates representing their securities. The Voting Agent will not
  accept delivery of any such certificates surrendered together with this Beneficial Ballot.
  Moreover, this Beneficial Ballot shall not constitute or be deemed to be a proof of claim or
  equity interest or an assertion of a claim or equity interest.

  PLEASE COMPLETE, SIGN AND DATE THIS BENEFICIAL BALLOT AND RETURN
  IT PROMPTLY IN THE ENVELOPE PROVIDED (OR OTHERWISE FOLLOW THE
  INSTRUCTIONS OF YOUR NOMINEE).

  IF THE VOTING AGENT DOES NOT ACTUALLY RECEIVE THE MASTER BALLOT
  INCORPORATING THE VOTE CAST BY THIS BENEFICIAL BALLOT ON OR

                                                  10



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  BEFORE THE VOTING DEADLINE (AND IF THE VOTING DEADLINE IS NOT
  EXTENDED), YOUR VOTE TRANSMITTED BY THIS BENEFICIAL BALLOT WILL
  NOT BE COUNTED TOWARD CONFIRMATION.

  IF YOU HAVE QUESTIONS REGARDING THIS BENEFICIAL BALLOT OR THE
  VOTING PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR
  ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT OR OTHER
  ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT (A) BY
  WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
  THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
  (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.




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                                           Exhibit A

  Please check one box below to indicate the CUSIP/ISIN to which this Beneficial Ballot
  pertains (or clearly indicate such information directly on the Beneficial Ballot or on a
  schedule thereto):

                    Class A3, B5 and C4 Unsecured PCN/FES Notes Claims

               6.05% Senior Unsecured (144A)Private Placement     CUSIP 33766JAC7 / ISIN
                               Due 8/15/2021                      US33766JAC71

                   6.05% Senior Unsecured Due 8/15/2021           CUSIP 33766JAD5 / ISIN
                                                                  US33766JAD54

                    6.8% Senior Unsecured Due 8/15/2039           CUSIP 33766JAF0 /
                                                                  US33766JAF03

               6.05% Senior Unsecured (REG-S) Due 8/15/2021       CUSIP U3198TAB5 / ISIN
                                                                  USU3198TAB53

                3.50% Adjustable Revenue Bonds Due 4/1/2041       CUSIP 074876HL0 / ISIN
                                                                  US074876HL04

                5.70% Adjustable Revenue Bonds Due 8/1/2020       CUSIP 677525TK3 / ISIN
                                                                  US677525TK30

               3.75% Adjustable Revenue Bonds Due 12/1/2023       CUSIP677525VK0 / ISIN
                                                                  US677525VK02

                3.10% Adjustable Revenue Bonds Due 3/1/2023       CUSIP 677525VP9 / ISIN
                                                                  US677525VP98

               3.00% Adjustable Revenue Bonds Due 5/15/2019       CUSIP 677660UL4 / ISIN
                                                                  US677660UL49

               2.55% Adjustable Revenue Bonds Due 11/1/2041       CUSIP 708686DB3 / ISIN
                                                                  US708686DB37

               3.75% Adjustable Revenue Bonds Due 12/1/2040       CUSIP 708686EA4 / ISIN
                                                                  US708686EA45

                  3.5% Muni Revenue Bonds Due 12/1/2035           CUSIP 074876HM8 / ISIN
                                                                  US074876HM86

                   4% Muni Revenue Bonds Due 1/1/2035             CUSIP 074876HN6 / ISIN
                                                                  US074876HN69



                                                                                             Ex-2

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                  Class A3, B5 and C4 Unsecured PCN/FES Notes Claims

              3.625% Muni Revenue Bonds Due 12/1/2033   CUSIP 677525VQ7 / ISIN
                                                         US677525VQ71

              3.625% Muni Revenue Bonds Due 10/1/2033   CUSIP 677525VR5 / ISIN
                                                         US677525VR54

              3.95% Muni Revenue Bonds Due 11/1/2032    CUSIP 677525VS3 / ISIN
                                                         US677525VS38

               3.75% Muni Revenue Bonds Due 6/1/2033    CUSIP 677525VV6 / ISIN
                                                         US677525VV66

               4% Muni Revenue Bonds Due 12/1/2033      CUSIP 677660UJ9 / ISIN US
                                                         US677660UJ92

                4% Muni Revenue Bonds Due 6/1/2033      CUSIP 677660UK6 / ISIN
                                                         US677660UK65

              3.625% Muni Revenue Bonds Due 10/1/2033   CUSIP 677660UM2 / ISIN
                                                         US677660UM22

              3.95% Muni Revenue Bonds Due 11/1/2032    CUSIP 677660UN0 / ISIN
                                                         US677660UN05

                4% Muni Revenue Bonds Due 1/1/2034      CUSIP 677660UP5 / ISIN
                                                         US677660UP52

               3.75% Muni Revenue Bonds Due 7/1/2033    CUSIP 677660UQ3 / ISIN
                                                         US677660UQ36

               2.7% Muni Revenue Bonds Due 4/1/2035     CUSIP 074876HH9 / ISIN
                                                         US074876HH91

              3.125% Muni Revenue Bonds Due 1/1/2034    CUSIP 677525VT1 / ISIN
                                                         US677525VT11

              3.125% Muni Revenue Bonds Due 7/1/2033    CUSIP 677525VU8 / ISIN
                                                         US677525VU83




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                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                                    )     Chapter 11
  In re:                                                            )
                                                                    )     Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                    )
                                     Debtors.                       )
                                                                    )     Hon. Judge Alan M. Koschik
                                                                    )


          MASTER BALLOT FOR ACCEPTING OR REJECTING THE FIFTH
      AMENDED JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
        CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

       NOMINEE FOR BENEFICIAL OWNERS OF MANSFIELD CERTIFICATES
      WHOSE CLAIMS ARE DESIGNATED AS MANSFIELD CERTIFICATE CLAIMS
        UNDER THE PLAN AND CLASSIFIED IN CLASSES A4, B6, C5 AND E3


  THIS MASTER BALLOT (THE “MASTER BALLOT”) MUST BE COMPLETED AND
  (I) IF EMAILED, SUBMITTED TO PRIME CLERK LLC (THE “VOTING AGENT”)
  VIA THE EMAIL ADDRESS PROVIDED FOR HEREIN, OR (II) IF CAST IN PAPER
  FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED BY THE VOTING
  AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER CASE BY 4:00
  P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE “VOTING
  DEADLINE”) OR THE VOTE OF THE BENEFICIAL OWNERS (DEFINED BELOW)
  FOR WHOM YOU ACT AS NOMINEE (DEFINED BELOW) WILL NOT BE
  COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE
  THAT THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE
  THE VOTING DEADLINE.




  1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
  18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
  Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
  FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
  address is: 341 White Pond Dr., Akron, OH 44320.


                                                                                                               Ex-3

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           The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
  soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
  Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
  same may be amended, modified, and/or supplemented, including all exhibits or supplements
  thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
  against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
  of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
  which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
  FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
  ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
  the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
  tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
  Disclosure Statement, which is part of each package of materials that accompanies this Master
  Ballot (each, a “Solicitation Package”). The Court’s approval of the Disclosure Statement does
  not indicate approval of the Plan by the Court.

         You are receiving this Master Ballot because you are the Nominee (as defined below) of
  a Beneficial Owner3 of Class A4, B6, C5 and E3 Mansfield Certificate Claims as of May 20,
  2019 (the “Voting Record Date”).

         This Master Ballot is to be used by you as a broker, bank or other nominee, or as the
  agent of a broker, bank or other nominee (each of the foregoing, a “Nominee”), or as the proxy
  holder of a Nominee for certain Beneficial Owners of Claims indicated on Exhibit A hereto, to
  transmit to the Voting Agent the votes of such Beneficial Owners in respect of their Claims to
  accept or reject the Plan in accordance with their ballots (each, a “Beneficial Ballot”).

         The votes transmitted on this Master Ballot for Beneficial Owners of the Class A4,
  B6, C5 and E3 Mansfield Certificate Claims indicated in Item 2 shall be applied to each
  Debtor against whom such Beneficial Owners have Claims on account of the Claims
  indicated in Item 2.

          As a Nominee, you are required to immediately deliver a Solicitation Package, including
  a Beneficial Ballot, to each Beneficial Owner for whom you hold the Securities and take any
  action required to enable such Beneficial Owner to timely vote its Class A4, B6, C5 and E3
  Mansfield Certificate Claims to accept or reject the Plan. You should include in each
  Solicitation Package a return envelope addressed to you (and not a return envelope addressed to
  the Voting Agent) unless you choose to pre-validate such Beneficial Ballot as described in
  paragraph 5 of the Voting Instructions blow, in which case the Solicitation Package should
  include a return envelope addressed only to the Voting Agent. With respect to any Beneficial
  Ballots returned to you, you must (i) transfer to this Master Ballot your Beneficial Owners’ votes
  as reflected in their respective Beneficial Ballots and (ii) execute and deliver this Master Ballot
  to the Voting Agent in accordance with the instructions accompanying this Master Ballot.


  2
   All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.
  3
   A “Beneficial Owner” means a beneficial owner as of the Record Date of Mansfield Certificates whose Claims are
  designated as Mansfield Certificate Claims under the Plan and classified in Class A4, B6, C5 and E3.

                                                        2


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          The Disclosure Statement, which describes the terms of the Plan, was included in the
  Solicitation Packages you are receiving with this Master Ballot (as well as the Plan, Disclosure
  Statement Order and certain other materials. If you need to obtain additional copies of the Plan,
  the Disclosure Statement, or other Solicitation Materials, you may obtain free copies (a) at the
  dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
  https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
  Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
  by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
  fesballots@primeclerk.com.

                                   VOTING INSTRUCTIONS

  1.     Capitalized terms used in the Master Ballot or in these instructions but not otherwise
         defined therein or herein shall have the meanings ascribed in the Plan, the Disclosure
         Statement, or the Disclosure Statement Order, as applicable, copies of which accompany
         the Master Ballot.

  2.     You should immediately distribute Solicitation Package(s), including Beneficial Ballots,
         to each Beneficial Owner (or intermediary nominees, if applicable) of the Securities
         underlying Class A4, B6, C5 and E3 Mansfield Certificate Claims, and take any action
         required to enable each such Beneficial Owner to timely vote such Claims.

  3.     If you are both the record holder and the Beneficial Owner of any principal amount of the
         Class A4, B6, C5 and E3 Mansfield Certificate Claims and you wish to vote any such
         Claims on account thereof, you may complete and execute either an individual Beneficial
         Ballot or a Master Ballot and return the same to the Voting Agent in accordance with
         these instructions.

  4.     If you are transmitting the votes of any Beneficial Owner(s) other than yourself, you may,
         at your option, elect to pre-validate the Beneficial Ballots sent to such Beneficial Owners.
         Based on your decision as to whether or not to pre-validate any Beneficial Ballots, the
         instructions in either paragraph (5) or paragraph (6) apply (but not both).

  5.     PRE-VALIDATED BENEFICIAL BALLOTS:                        A Nominee “pre-validates” a
         Beneficial Ballot by indicating thereon (a) the amount of the Class A4, B6, C5 and E3
         Mansfield Certificate Claims to be voted, (b) the amount of the Class A4, B6, C5 and E3
         Mansfield Certificate Claims held by the Beneficial Owner and the (c) the appropriate
         account numbers through which the Beneficial Owner’s holdings are derived and
         executing the Beneficial Ballot. If you choose to pre-validate individual Beneficial
         Ballots, you must immediately: (x) “pre-validate” the individual Beneficial Ballots
         contained in the Solicitation Package sent to you by the Voting Agent, and (y) forward
         the Solicitation Packages to the Beneficial Owners for voting, including:

                (i)     the pre-validated Beneficial Ballot;

                (ii)   a return envelope addressed to the Voting Agent as follows: FirstEnergy
                Solutions Corp. Ballot Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd
                Floor, New York, NY 10022; and

                                                  3


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               (iii) clear instructions stating that Beneficial Owners must return their pre-
               validated Beneficial Ballot directly to the Voting Agent so that it is actually
               received by the Voting Agent on or before the Voting Deadline, which is 4:00
               p.m. (prevailing Eastern Time) on August 2, 2019.

  6.    NON PRE-VALIDATED BENEFICIAL BALLOTS: If you do NOT choose to pre-
        validate individual Beneficial Ballots, you must:

        (i)     immediately forward the Solicitation Package(s) sent to you by the Voting Agent
        to each Beneficial Owner for voting, including: (a) the Beneficial Ballot; (b) a return
        envelope addressed to you; and (c) clear instructions stating that Beneficial Owners must
        return their Beneficial Ballot directly you so that it is actually received by you on or
        before the date (“Return Date”) calculated by you so as to afford you enough time to
        prepare the Master Ballot and return the Master Ballot to the Voting Agent so it is
        actually received by the Voting Agent on or before the Voting Deadline, which Return
        Date the Nominee must also insert in the blank on the first page of the Beneficial Ballot
        before transmitting it to the Beneficial Owner; and

        (ii)   upon receipt of completed and executed Beneficial Ballots returned to you by a
        Beneficial Owner (or an intermediary nominee), you must:

               a.      compile and validate the votes and other relevant information of each such
               Beneficial Owner on this Master Ballot using the customer account number or
               other identification number assigned by you or an intermediary nominee to each
               such Beneficial Owner;

               b.     execute this Master Ballot;

               c.     transmit such Master Ballot so as to be actually received by the Voting
               Agent by the Voting Deadline; and

               d.      retain such Beneficial Ballots in your files for a period of one year after
               the Effective Date of the Plan (as you may be ordered to produce the Beneficial
               Ballots to the Debtors or the Court).

  7.    If a Master Ballot is received after the Voting Deadline and if the Voting Deadline is not
        extended, the votes of your Beneficial Owners will not be counted. Additionally, the
        votes cast by the following Master Ballots (and therefor underlying Beneficial Ballots)
        will NOT be counted:

               (i)    Master Ballots sent to any of the Debtors, the Debtors’ agents (other than
               the Voting Agent), any indenture trustee or the Debtors’ financial or legal
               advisors;

               (ii)   Master Ballots sent by facsimile or any other electronic means not
               expressly provided for herein;



                                                4


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               (iii) any Master Ballot that is illegible or contains insufficient information to
               permit the identification of the Beneficial Owners of the Claims voted;

               (iv)    any Master Ballot reflecting votes by an entity that does not hold a Claim
               in a Class that is entitled to vote on the Plan;

               (v)     any unsigned Master Ballot;

               (vi)   the portion of any Master Ballot (i) not marked to accept or reject the Plan
               with respect to any account number or (ii) marked, with respect to a single
               account number, both to accept and reject the Plan; and/or

               (vii) any Master Ballot submitted by any entity not entitled to vote pursuant to
               the Disclosure Statement Order.

  8.    Any Beneficial Ballot returned to you by a Beneficial Owner or intermediary nominee
        shall not be counted for purposes of accepting or rejecting the Plan until you properly
        complete and deliver to the Voting Agent a Master Ballot that reflects the vote of such
        Beneficial Owner or intermediary nominee by the Voting Deadline.

  9.    The method of delivery of Master Ballots to the Voting Agent is at your election and risk.
        Except as otherwise provided herein, such delivery will be deemed made only when the
        Voting Agent actually receives the originally executed Master Ballot. Instead of effecting
        delivery by first-class mail, it is recommended, though not required, that you use an
        overnight or hand delivery service. Facsimile or other electronic transmissions of this
        Master Ballot not expressly provided for herein will not be accepted. In all cases, you
        should allow sufficient time to assure timely delivery.

  10.   If multiple Master Ballots are received from the same Nominee with respect to the same
        Beneficial Ballot belonging to a beneficial Owner of a Claim prior to the Voting
        Deadline, the last valid Master Ballot timely received will supersede and revoke any
        earlier received Master Ballots.

  11.   The Master Ballot is not a letter of transmittal and may not be used for any purpose other
        than to vote to accept or reject the Plan and make certifications with respect to the
        Beneficial Ballots. Accordingly, at this time, holders of Claims should not surrender
        certificates or instruments representing their Claims and you should not accept delivery
        of any such certificates or instruments surrendered together with a Beneficial Ballot.

  12.   This Master Ballot does not constitute, and shall not be deemed to be, (a) a proof of claim
        or (b) an assertion or admission of a Claim.

  13.   Please be sure to properly execute your Master Ballot. You must: (a) sign and date your
        Master Ballot; (b) if applicable, indicate that you are signing a Master Ballot in your
        capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
        corporation or otherwise acting in a fiduciary or representative capacity and, if required
        or requested by the Voting Agent, the Debtors or the Court, submit proper evidence to the
        requesting party to so act on behalf of such Beneficial Owner; and (c) provide your name

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        and mailing address if it is different from that set forth on the attached mailing label or if
        no such mailing label is attached to the Master Ballot.

  14.   No fees or commissions or other remuneration will be payable to any Nominee for
        soliciting Beneficial Ballots accepting the Plan. The Debtors will however, upon written
        request, reimburse you for reasonable and customary mailing and handling expenses
        incurred by you in forwarding the Beneficial Ballots and other enclosed materials to your
        Beneficial Holders.

  IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR THE
  VOTING PROCEDURES, PLEASE CONTACT THE VOTING AGENT (A) BY
  WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
  THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
  (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.

  PLEASE NOTE THAT THE VOTING AGENT IS NOT AUTHORIZED TO, AND WILL
  NOT, PROVIDE LEGAL ADVICE.

         If the Voting Agent does not actually receive this Master Ballot on or before
        the Voting Deadline, and if the Voting Deadline is not extended, the Beneficial
                    Owners’ votes transmitted hereby will not be counted.




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                       ACCEPTANCE OR REJECTION OF THE PLAN

  ITEM 1.        Claim Amount for Voting Purposes.

  The undersigned certifies that, as of the Voting Record Date, the undersigned (please check the
  applicable box):

      is a Nominee for the Beneficial Owners of the aggregate amount of the Class A4, B6, C5
       and E3 Mansfield Certificate Claims listed in Item 2 below and is the registered holder of
       the Securities represented by any such Claims;

      is acting under a power of attorney and/or agency agreement (a copy of which will be
       provided upon request) granted by a Nominee that is the registered holder of the
       aggregate amount of the Class A4, B6, C5 and E3 Mansfield Certificate Claims listed in
       Item 2 below; or

      has been granted a proxy (an original of which is annexed hereto) from (a) a Nominee or
       (b) a Beneficial Owner, that is the registered holder of the aggregate amount of the Class
       A4, B6, C5 and E3 Mansfield Certificate Claims listed in Item 2 below and, accordingly,
       has full power and authority to vote to accept or reject the Plan on behalf of the
       Beneficial Owners of the Class A4, B6, C5 and E3 Mansfield Certificate Claims
       described in Item 2 below.

  ITEM 2.        Vote with Respect to the Class A4, B6, C5 and E3 Mansfield Certificate
                 Claims.

  Number of Beneficial Owners: The undersigned transmits the following votes of Beneficial
  Owners of Class A4, B6, C5 and E3 Mansfield Certificate Claims indicated in Item 2 hereto and
  certifies that the following Beneficial Owners of such Claims are the Beneficial Owners of such
  Claims as of the Voting Record Date and have delivered to the undersigned, as Nominee,
  properly executed Beneficial Ballots casting such votes as indicated and containing instructions
  for the casting of those votes on their behalf.

  To Properly Complete the Following Table: Indicate in the appropriate column below the
  aggregate principal amount voted for each account. Please use additional sheets of paper if
  necessary and, if possible, attach such information to this Master Ballot in the form of the
  following table. PLEASE NOTE: (1) each account of a Beneficial Owner must vote all such
  Beneficial Owner’s Class A4, B6, C5 and E3 Mansfield Certificate Claims to accept or reject the
  Plan and may not split such vote; and (2) any Beneficial Ballot executed by the Beneficial Owner
  that does not indicate an acceptance or rejection of the Plan or that indicates both an acceptance
  and a rejection should not be counted as either an acceptance or a rejection of the Plan.




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   Your Customer
       Account
  Number for Each          Principal Amount
                           Held as of Voting    ACCEPT THE                      REJECT THE
      Beneficial
                             Record Date           PLAN                            PLAN
Owner of Class A4, B6,
 C5 and E3 Mansfield
  Certificate Claims

1.                        $                     �                OR           �

2.                        $                     �                OR           �

3.                        $                     �                OR           �

4.                        $                     �                OR           �

5.                        $                     �                OR           �

6.                        $                     �                OR           �

7.                        $                     �                OR           �

8.                        $                     �                OR           �

9.                        $                     �                OR           �

10.                       $                     �                OR           �

TOTALS:                   $



       ITEM 3.      IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

                The Plan contains Consensual Third Party Releases of claims and Causes of Action
       against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
       Parties.

       ALL HOLDERS OF A CLAIM OR INTEREST THAT (I) VOTE TO ACCEPT THE
       PLAN, OR (II) ARE DEEMED TO HAVE ACCEPTED THE PLAN SHALL BE DEEMED
       TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

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  ALL HOLDERS OF A CLAIM OR INTEREST THAT (I) FAIL TO SUBMIT A BALLOT
  BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN FROM
  VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT THE
  PLAN, IN EACH CASE WILL NOT BE DEEMED TO CONSENT TO THE RELEASES
  SET FORTH IN ARTICLE VIII.E OF THE PLAN.

  ANY HOLDER WHO ELECTS TO REJECT THE PLAN, AND THEREFORE, NOT TO
  GRANT THE CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE
  VIII.E OF THE PLAN, WILL FOREGO THE BENEFIT OF RECEIVING THE
  CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
  PLAN IF SUCH HOLDER IS A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set

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  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually


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  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.




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  ITEM 4.       CERTIFICATIONS AS TO TRANSCRIPTION OF INFORMATION FROM ITEM 4 OF THE
                BENEFICIAL BALLOTS AS TO CLASS A4, B6, C5 AND E3 MANSFIELD
                CERTIFICATE CLAIMS VOTED THROUGH OTHER BENEFICIAL BALLOTS

          The undersigned certifies that the undersigned has transcribed in the following table the
  information, if any, provided by Beneficial Owners in Item 4 of each of the Beneficial Owner’s
  original Beneficial Ballots, identifying any Class A4, B6, C5 and E3 Mansfield Certificate
  Claims for which such Beneficial Owners have submitted Beneficial Ballots (e.g., to other voting
  nominees) other than to the undersigned:

  Your Customer         TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL BALLOTS:
  Account
  Number for            Account          Name of        Description of         Principal Amount
  Each Beneficial       Number           Holder         Other Class A4, B6,    of Other Class
  Owner Who                                             C5 and E3              A4, B6, C5 and
  Completed Item                                        Mansfield              E3 Mansfield
  4 of the                                              Certificate Claims     Certificate
  Beneficial                                            Voted                  Claims Voted
  Ballots

  1.                                                                           $

  2.                                                                           $

  3.                                                                           $

  4.                                                                           $

  5.                                                                           $

  6.                                                                           $

  7.                                                                           $

  8.                                                                           $

  9.                                                                           $

  10.                                                                          $




                                                 12


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  ITEM 5.        CERTIFICATION.

  By signing this Master Ballot, the undersigned certifies that:

          1.      it has delivered copies of the Disclosure Statement, the Beneficial Ballots and the
  rest of the Solicitation Package to each Beneficial Owner whose votes are transmitted hereby or
  to each intermediary nominee, as applicable;

        2.       it has received a completed and signed Beneficial Ballot from each Beneficial
  Owner listed in Item 2 of this Master Ballot or from an intermediary nominee, as applicable;

         3.    as of the Voting Record Date it is the registered holder of the Class A4, B6, C5
  and E3 Mansfield Certificate Claims being voted, or an agent therefor;

         4.       it has been authorized by each such Beneficial Owner or intermediary nominee, as
  applicable, to vote on the Plan and to make applicable elections;

         5.      it has properly disclosed:

                 (i)     the number of Beneficial Owners who completed Beneficial Ballots;

                 (ii)    the respective amounts of the Class A4, B6, C5 and E3 Mansfield
                 Certificate Claims held as of the Voting Record Date by each Beneficial Owner
                 who completed a Beneficial Ballot;

                 (iii)   each such Beneficial Owner’s respective vote on the Plan;

                 (iv)   each such Beneficial Owner’s certification as to other Class A4, B6, C5
                 and E3 Mansfield Certificate Claims voted; and

                 (v)    the customer account or other identification number for each such
                 Beneficial Owner as of the Voting Record Date;

        6.      each such Beneficial Owner has certified to the undersigned or to an intermediary
  nominee, as applicable, that it is eligible to vote on the Plan; and

          7.      it will maintain Beneficial Ballots and evidence of separate transactions returned
  by Beneficial Owners or by intermediary nominees (whether properly completed or defective)
  for at least one year after the Voting Deadline and disclose all such information to the Court or
  the Debtors, as the case may be, if so ordered.




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  Name of Nominee:
                                                        (Print or Type)

  Participant Number:
  Name of Proxy Holder or Agent for
  Nominee:
                                                                 (Print or Type)

  Social Security or Federal Tax Identification
  Number:


  Signature:
  Name of Signatory:
                           (If other than Nominee)

  Title:
  Address:




  Date Completed:




  No fees, commissions or other remuneration will be payable to any broker, dealer or other person
  for soliciting votes on the Plan. The Debtors will however, upon written request, reimburse you
  for customary mailing and handling expenses incurred by you in forwarding the Beneficial
  Ballots and other enclosed materials to your customers. This Master Ballot is not a letter of
  transmittal and may not be used for any purpose other than to cast votes to accept or reject the
  Plan. Holders should not surrender, at this time, certificates representing their securities. The
  Voting Agent will not accept delivery of any such certificates surrendered together with this
  Master Ballot. Moreover, this Master Ballot shall not constitute or be deemed to be a proof of
  claim or equity interest or an assertion of a claim or equity interest.




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            PLEASE RETURN YOUR MASTER BALLOT PROMPTLY

                              If Submitting Your Vote through E-Mail

  The Voting Agent will accept Master Ballots from Nominees and their agents through email if
  properly completed and submitted via email at fesballots@primeclerk.com




         If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

  Please complete and execute your ballot and submit it by first class mail in the enclosed postage
  prepaid envelope or by sending it to the following address:

                            FirstEnergy Solutions Corp. Ballot Processing
                                        c/o Prime Clerk LLC
                                    830 Third Avenue, 3rd Floor
                                        New York, NY 10022

  If your Master Ballot is not received by the Voting Agent on or before the Voting Deadline, and
  such Voting Deadline is not extended by the Debtors as noted above, your vote will not be
  counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
  In re:                                                             )
                                                                     )     Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                              )     (Jointly Administered)
                                                                     )
                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )


   BENEFICIAL BALLOT FOR ACCEPTING OR REJECTING THE FIFTH AMENDED
   JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS CORP., ET AL.,
             PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

      BENEFICIAL OWNERS OF MANSFIELD CERTIFICATES WHOSE CLAIMS ARE
      DESIGNATED AS MANSFIELD CERTIFICATE CLAIMS UNDER THE PLAN AND
                    CLASSIFIED IN CLASSES A4, B6, C5 AND E3

  THIS BENEFICIAL BALLOT (THE “BENEFICIAL BALLOT”) IS TO BE USED BY
  BENEFICIAL OWNERS2 OF MANSFIELD CERTIFICATE CLAIMS WHOSE CLAIMS
  ARE DESIGNATED AS MANSFIELD CERTIFICATE CLAIMS AND CLASSIFIED IN
  CLASSES A4, B6, C5 AND E3.

  IN ORDER FOR YOUR VOTE TO BE COUNTED, ALL PRE-VALIDATED
  BENEFICIAL BALLOTS AND/OR MASTER BALLOTS (EACH, A “MASTER
  BALLOT”) CAST ON BEHALF OF BENEFICIAL BALLOTS THAT WERE NOT PRE-
  VALIDATED MUST BE COMPLETED, EXECUTED AND RETURNED SO AS TO BE
  ACTUALLY RECEIVED BY PRIME CLERK LLC (THE “VOTING AGENT”) ON OR
  BEFORE 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
  “VOTING DEADLINE”) IN ACCORDANCE WITH THE FOLLOWING:




  1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
  18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
  Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
  FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
  address is: 341 White Pond Dr., Akron, OH 44320.
  2
    A “Beneficial Owner” means a beneficial owner of Mansfield Certificate Claims whose Claims have not been
  satisfied prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected in the
  records maintained by the Nominees.


                                                                                                                   Ex-4

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  IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE:3
  YOU MUST RETURN THIS BENEFICIAL BALLOT TO YOUR NOMINEE BY [●],
  2019 IN ACCORDANCE WITH THE ENCLOSED INSTRUCTIONS FROM YOUR
  NOMINEE, AND IN ANY EVENT, IN SUFFICIENT TIME TO PERMIT YOUR
  NOMINEE TO DELIVER A MASTER BALLOT INCLUDING YOUR VOTE TO THE
  VOTING AGENT BY THE VOTING DEADLINE. PLEASE CONTACT YOUR
  NOMINEE WITH ANY QUESTIONS REGARDING THE DATE IT NEEDS TO
  RECEIVE YOUR BENEFICIAL BALLOT TO TIMELY SUBMIT THE MASTER
  BALLOT TO THE VOTING AGENT.

  IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO THE VOTING
  AGENT:
  YOUR NOMINEE HAS PRE-VALIDATED THIS BENEFICIAL BALLOT.
  THEREFORE, YOU MUST RETURN THIS PRE-VALIDATED BENEFICIAL BALLOT
  DIRECTLY TO THE VOTING AGENT SO IT IS ACTUALLY RECEIVED BY THE
  VOTING DEADLINE.

  DO NOT MAIL OR RETURN BALLOTS DIRECTLY TO THE ABOVE CAPTIONED
  DEBTORS AND DEBTORS IN POSSESSION (THE “DEBTORS”) OR THE UNITED
  STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF OHIO (THE
  “COURT”).

          The Debtors are soliciting votes with respect to the Fifth Amended Joint Plan of
  Reorganization of FirstEnergy Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy
  Code [Docket No. ●] (as the same may be amended, modified, and/or supplemented, including
  all exhibits or supplements thereto, including the Plan Supplement, the “Plan”) from the Holders
  of certain Impaired Claims against the Debtors.4 On [●], 2019, the Court signed an order (the
  “Disclosure Statement Order”) [Docket No. ●] which approved the Disclosure Statement for
  the Fifth Amended Joint Plan of Reorganization FirstEnergy Solutions Corp., et. al., Pursuant to
  Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the same may be amended, modified,
  and/or supplemented, including all exhibits thereto, the “Disclosure Statement”) and which
  establishes certain procedures for the solicitation and tabulation of votes to accept or reject the
  Plan. The Plan is attached as Exhibit B to the Disclosure Statement, which is part of the package
  of materials that accompanies this Ballot (the “Solicitation Package”). The Court’s approval of
  the Disclosure Statement does not indicate approval of the Plan by the Court.

          You are receiving this Beneficial Ballot for Beneficial Owners because you are a
  Beneficial Owner of Class A4, B6, C5 and E3 Mansfield Certificate Claims as of May 20, 2019
  (the “Voting Record Date”). If you hold Claims in another Class or Classes in which you are
  entitled to vote, you will receive a Ballot for such other Class(es).
         Your rights are described in the Plan and the Disclosure Statement, which were
  included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully

  3
    “Nominee” is the broker, bank, or other nominee, or the agent of a broker, bank, or other nominee, holding Class
  A4, B6, C5 and E3 Mansfield Certificate Claims on behalf of Beneficial Owners as record holders.
  4
    All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.

                                                          2



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  before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
  classification and treatment of your Claim under the Plan. If you need to obtain additional
  copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
  copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
  https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
  Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
  by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
  fesballots@primeclerk.com.

          If the Plan is confirmed by the Court it will be binding on you whether or not you
  vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
  by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
  of claims in each Voting Class who voted to either accept or reject the Plan, and if the Plan
  otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
  the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
  that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
  against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
  Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
  Debtors’ cases.

  If the Plan is confirmed by the Court, each Beneficial Owner of Class A4, B6, C5 and E3
  Mansfield Certificate Claims will have the opportunity to make an election regarding the form of
  consideration to be distributed to it on account of such Claims. As described in Article IV.B.6 of
  the Plan, a Beneficial Owner of such Claims may elect to be treated as an Electing Bondholder
  and receive, in lieu of New Common Stock, all or a portion of its recovery in Cash based upon
  its Pro Rata portion of the Unsecured Bondholder Cash Pool. However, to the extent the
  Unsecured Bondholder Cash Pool is insufficient to provide each Electing Bondholder its
  recovery under the Plan in the form of Cash, each Electing Bondholder shall receive the
  remainder of its distribution in New Common Stock in accordance with the Plan. After the
  Confirmation Date and approximately 45 days prior to the Effective Date, Beneficial Owners of
  Class A4, B6, C5 and E3 Mansfield Certificate Claims will receive an election form through
  which they may elect to be treated as an Electing Bondholder. Such election form will contain
  its own important instructions and deadlines and recipients should read the election form
  carefully.


    ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION, INJUNCTION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
      VIII.E. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
   CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH
                    RESPECT TO THE THIRD PARTY RELEASES.

                                    VOTING INSTRUCTIONS

  1.     Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,

                                                  3



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        or the Disclosure Statement Order, as applicable, copies of which also accompany the
        Ballot.

  2.    To ensure that your vote is counted, you must: (a) complete your Beneficial Ballot in
        accordance with these instructions; (b) clearly indicate your decision either to accept or
        reject the Plan in the boxes provided in Item 2 of the Beneficial Ballot; (c) review the
        Plan provisions relating to Consensual Third Party Releases; (d) review and complete
        Items 4 and 5 in accordance with the instructions therein; and (e) clearly sign and return
        an original of your Beneficial Ballot to the address set forth on the enclosed pre-
        addressed envelope.

  3.    Return of Beneficial Ballots: Your Beneficial Ballot (if pre-validated) and/or the Master
        Ballot incorporating the vote cast on your Beneficial Ballot MUST be returned to the
        Voting Agent so as to be actually received by the Voting Agent on or before the Voting
        Deadline, which is August 2, 2019, at 4:00 p.m. (prevailing Eastern Time). To ensure
        your vote is counted toward confirmation ,of the Plan, please read the following
        information carefully so that you understand where your Beneficial Ballot must be sent in
        order for it to be received before the Voting Deadline:

        (i)     Pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a return
                envelope addressed to the Voting Agent, you must return your completed
                Beneficial Ballot directly to the Voting Agent so that it is actually received by
                the Voting Agent on or before the Voting Deadline.

        (ii)    Not pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a
                return envelope addressed to your Nominee, you must return your completed
                Beneficial Ballot directly to your Nominee so as to be actually received by [●],
                2019 to allow sufficient time to permit your Nominee to deliver a Master Ballot
                including your vote to the Voting Agent by the Voting Deadline.

  4.    If a Master Ballot or pre-validated Beneficial Ballot is received after the Voting Deadline
        and if the Voting Deadline is not extended, it will not be counted. Additionally, the
        following Beneficial Ballots will NOT be counted:

        (i)     Beneficial Ballots sent to any of the Debtors, the Debtors’ agents (other than the
                pre-validated Beneficial Ballots sent to the Voting Agent), any indenture trustee
                or the Debtors’ financial or legal advisors;

        (ii)    Beneficial Ballots sent by facsimile, e-mail or any other electronic means not
                expressly provided for herein;

        (iii)   any Beneficial Ballot that is illegible or contains insufficient information to
                permit the identification of the holder of the Claim;

        (iv)    any Beneficial Ballot cast by an entity that does not hold a Claim in a Class that is
                entitled to vote on the Plan;

        (v)     any unsigned Beneficial Ballot; and/or
                                                  4



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        (vi)   any Beneficial Ballot submitted by any entity not entitled to vote pursuant to the
               Disclosure Statement Order.

  5.    Beneficial Ballots that indicate both acceptance and rejection of the Plan or indicate
        neither an acceptance nor rejection of the Plan will not be counted.

  6.    The method of delivery of Beneficial Ballots to the Voting Agent or your Nominee is at
        the election and risk of each holder of a Claim. Except as otherwise provided herein,
        such delivery will be deemed made only when the Voting Agent actually receives the
        originally executed Beneficial Ballot or Master Ballot incorporating the Beneficial Ballot.
        Instead of effecting delivery by first-class mail, it is recommended, though not required,
        that holders use an overnight or hand delivery service. In all cases, holders should allow
        sufficient time to assure timely delivery.

  7.    If multiple Beneficial Ballots are received from the same holder of a Class A4, B6, C5
        and E3 Mansfield Certificate Claim with respect to the same Class A4, B6, C5 and E3
        Mansfield Certificate Claim prior to the Voting Deadline, the last valid Beneficial Ballot
        timely received will supersede and revoke any earlier received Beneficial Ballots.

  8.    If you believe you received the wrong Ballot, or if you need additional Ballots, please
        immediately contact the Voting Agent.

  9.    If you wish to have your Claim Allowed in a different amount, classification or treatment
        than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
        voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
        order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
        of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
        4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
        Deadline”). All objections and responses to Temporary Allowance Request Motions
        must be filed and served on or before July 19, 2019. A claimant may file a reply to any
        objection or response to its motion on or before July 22, 2019. Any order temporarily
        allowing such claims must be entered on or before August 9, 2019 or as otherwise
        ordered by the Court. Temporary Allowance Request Motions must adhere to the
        requirements set forth in the Disclosure Statement Order to be considered by the Court.

  10.   This Beneficial Ballot does not constitute, and shall not be deemed to be, a proof of claim
        or an assertion or admission of a Claim.

  11.   If you hold Claims in another Class or Classes in which you are entitled to vote, you will
        receive a ballot for such other Class(es). Each ballot votes only your Claims indicated on
        that ballot. Please complete and return each ballot you receive.

  12.   Please be sure to properly sign and date your Beneficial Ballot. If you are signing a
        Beneficial Ballot in your capacity as a trustee, executor, administrator, guardian, attorney
        in fact, officer of a corporation or otherwise acting in a fiduciary or representative
        capacity, you must indicate such capacity when signing and, if required or requested by
        the Voting Agent, the Debtors or the Court, must submit proper evidence to the
        requesting party to so act on behalf of such holder. In addition, please provide your name
                                                 5



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         and mailing address if it is different from that set forth on the attached mailing label or if
         no such mailing label is attached to the Beneficial Ballot.

  IF YOU HAVE ANY QUESTIONS REGARDING THE BENEFICIAL BALLOT OR THE
  PROCEDURES GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE
  BENEFICIAL BALLOT OR OTHER SOLICITATION MATERIALS, PLEASE
  CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY SOLUTIONS
  CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR, NEW YORK,
  NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
  FESBALLOTS@PRIMECLERK.COM. PLEASE NOTE THAT THE VOTING AGENT
  IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.

  THIS BENEFICIAL BALLOT IS TO BE USED BY BENEFICIAL OWNERS OF CLASS
  A4, B6, C5 and E3 MANSFIELD CERTIFICATE CLAIMS. PLEASE COMPLETE,
  SIGN AND DATE THIS BENEFICIAL BALLOT AND RETURN IT IN THE
  ENCLOSED ENVELOPE (OR OTHERWISE FOLLOW THE INSTRUCTIONS OF
  YOUR NOMINEE) PROMPTLY.

                       ACCEPTANCE OR REJECTION OF THE PLAN

  ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

  The undersigned hereby certifies that as of the Voting Record Date, the undersigned was the
  Beneficial Owner of Class A4, B6, C5 and E3 Mansfield Certificate Claims in the following
  aggregate unpaid principal amount:

                        Claim Amount: ___________________

  ITEM 2.       VOTE.

  The Beneficial Owner of the Claim, the aggregate amount of which is set forth in Item 1, votes:

               to ACCEPT the Plan.                           to REJECT the Plan.

  PLEASE NOTE: (1) Each Beneficial Owner must vote all such Beneficial Owner’s Class
  A4, B6, C5 and E3 Mansfield Certificate Claims to accept or reject the Plan and may not
  split such vote; and (2) any Beneficial Ballot executed by a Beneficial Owner that does not
  indicate an acceptance or rejection of the Plan or that indicates both an acceptance and a
  rejection should not be counted as either an acceptance or a rejection of the Plan.

  ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

           The Plan contains Consensual Third Party Releases of claims and Causes of Action
  against the Debtor Released Parties, the FE Non-Debtor Released Parties and the Other Released
  Parties.

  IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
  ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE

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  RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
  SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
  ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
  REJECT THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT
  TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

  IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
  CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
  PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
  THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
  ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, the FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set

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  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually


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  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.


  ITEM 4.        CERTIFICATIONS AS TO CLASS A4, B6, C5 AND E3 MANSFIELD CERTIFICATE
                 CLAIMS.

  By completing and returning this Beneficial Ballot, the undersigned Beneficial Owner certifies
  that (i) this Beneficial Ballot is the only Beneficial Ballot submitted for the Claims identified in
  Item 1 owned by such Holder, except as identified in the following table, and (ii) all Beneficial
  Ballots submitted by the Holder in the same Class identified in Item 1 indicate the same vote to
  accept or reject the Plan that the Holder has indicated in Item 2 of this Beneficial Ballot (please
  use additional sheets of paper if necessary):

  ONLY COMPLETE THIS SECTION IF YOU HAVE VOTED OTHER CLAIMS IN THE
  SAME CLASS ON A BENEFICIAL BALLOT OTHER THAN THIS BENEFICIAL BALLOT.

                            Name of                                             Other Claims
    Account Number
                            Registered Holder       Principal Amount of         Voted
   with other Nominee
                            or Other Nominee        Other Claims Voted
      (if applicable)
                            (if applicable)
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $
                                                    $

  ITEM 5.        CERTIFICATION.

  By signing this Beneficial Ballot, the Beneficial Owner of Class A4, B6, C5 and E3 Mansfield
  Certificate Claims certifies that:

                         a.     as of the Voting Record Date it is the Beneficial Owner of the
                         Class A4, B6, C5 and E3 Mansfield Certificate Claims to which this
                         Beneficial Ballot pertains;

                         b.      it has been provided with a copy of the Plan, Disclosure Statement
                         and the Disclosure Statement Order and acknowledges that the vote set
                         forth on this Beneficial Ballot is subject to all the terms and conditions set
                         forth in the Plan, Disclosure Statement, and the Disclosure Statement
                         Order; and



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                        c.     it has not submitted any other Ballots relating to the Class A4, B6,
                        C5 and E3 Mansfield Certificate Claims that are inconsistent with the
                        votes as set forth in this Beneficial Ballot or that, as limited by the terms
                        of the Disclosure Statement Order and the instructions attached hereto, if
                        such other ballots were previously submitted, they either have been or are
                        hereby revoked or changed to reflect the vote set forth herein.


  Name of Claim Holder (Print or Type):

  Social Security or Federal Tax I.D. No.

  (Optional):

  Signature:

  Name of Signatory:

  If Authorized Agent of Claimant, Title of
  Agent:

  Street Address:

  City, State, and Zip Code: Telephone
  Number:

  Email Address: Date Completed:

  No fees, commissions or other remuneration will be payable to any broker, dealer or other person
  for soliciting votes on the Plan. This Beneficial Ballot is not a letter of transmittal and may not
  be used for any purpose other than to cast votes to accept or reject the Plan. Holders should not
  surrender, at this time, certificates representing their securities. The Voting Agent will not
  accept delivery of any such certificates surrendered together with this Beneficial Ballot.
  Moreover, this Beneficial Ballot shall not constitute or be deemed to be a proof of claim or
  equity interest or an assertion of a claim or equity interest.

  PLEASE COMPLETE, SIGN AND DATE THIS BENEFICIAL BALLOT AND RETURN
  IT PROMPTLY IN THE ENVELOPE PROVIDED (OR OTHERWISE FOLLOW THE
  INSTRUCTIONS OF YOUR NOMINEE).

  IF THE VOTING AGENT DOES NOT ACTUALLY RECEIVE THE MASTER BALLOT
  INCORPORATING THE VOTE CAST BY THIS BENEFICIAL BALLOT ON OR
  BEFORE THE VOTING DEADLINE (AND IF THE VOTING DEADLINE IS NOT
  EXTENDED), YOUR VOTE TRANSMITTED BY THIS BENEFICIAL BALLOT WILL
  NOT BE COUNTED TOWARD CONFIRMATION.

  IF YOU HAVE QUESTIONS REGARDING THIS BENEFICIAL BALLOT OR THE
  VOTING PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR

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  ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT OR OTHER
  ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT (A) BY
  WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
  THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
  (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.




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                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                                     )    Chapter 11
  In re:                                                             )
                                                                     )    Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                     )
                                     Debtors.                        )
                                                                     )    Hon. Judge Alan M. Koschik
                                                                     )


                                     BALLOT FOR
                    ACCEPTING OR REJECTING THE FIFTH AMENDED
             JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
           CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


                        CLASS A5, D3 (FENOC-FES UNSECURED CLAIMS)

  THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
  ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
  PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
  (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
  BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
  CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
  “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
  YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
  RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

           The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
  soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
  Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
  same may be amended, modified, and/or supplemented, including all exhibits or supplements
  thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
  against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
  of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]

  1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
  18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
  Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
  FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
  address is: 341 White Pond Dr., Akron, OH 44320.
  2
    All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                                Ex-5

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  which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
  FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
  ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
  the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
  tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
  Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
  “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
  approval of the Plan by the Court.

         This Ballot is being sent to the Holders of Class A5, D3 FENOC-FES Unsecured Claims
  under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in another
  Class or Classes in which you are entitled to vote, you will receive a Ballot for such other
  Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

     YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
   INDICATED THAT YOU HOLD A CLASS A5, D3 FENOC-FES UNSECURED CLAIM
                             AS FOLLOWS:
                   DEBTOR: __________FES, FENOC____________
                   AMOUNT: _________________________________

          Your rights are described in the Plan and the Disclosure Statement, which were
  included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
  before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
  classification and treatment of your Claim under the Plan. If you need to obtain additional
  copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
  copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
  https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
  Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
  by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
  fesballots@primeclerk.com.

          If the Plan is confirmed by the Court it will be binding on you whether or not you
  vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
  by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
  of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
  otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
  the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
  that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
  against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
  Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
  Debtors’ cases.

  ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
  PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
  VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY

                                                  2


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  BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
  THE THIRD PARTY RELEASES.

                                    VOTING INSTRUCTIONS

     1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
        therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
        or the Disclosure Statement Order, as applicable, copies of which also accompany the
        Ballot.

     2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
        review the Disclosure Statement for more information.

     3. In order for your vote to count, you must:

            i.   Complete and certify the amount of your Claim in Item 1;

           ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

          iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

          iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                 Convenience Claim, and follow the instructions therein;

           v.    Review Item 5, the Plan provisions relating to the ability to make an Equity
                 Election, and follow the instructions therein;

          vi.    Review and sign the certifications in Item 6;

          vii.   If you are completing the Ballot on behalf of an entity, indicate your relationship
                 with such entity and the capacity in which you are signing, and provide proof of
                 your authorization to so sign. In addition, please provide your name and mailing
                 address if different from that set forth on the attached mailing label or if no such
                 mailing label is attached to the Ballot; and

         viii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                 Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                 of the two manners described below:


                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

                                                   3


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           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                            FirstEnergy Solutions Corp. Ballot Processing
                                        c/o Prime Clerk LLC
                                    830 Third Avenue, 3rd Floor
                                        New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


     4. You must vote all of your Claims within a particular Class either to accept or reject the
        Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
        accepts the Plan will not be counted. Further, as a Holder of a Claim against multiple
        Debtors, you must vote all of your Claims either to accept or reject the Plan and may not
        vote to accept the Plan as to certain Debtors and reject the Plan as to other Debtors.
        Further, if a Holder has multiple Claims within the same Class, the Debtors may, in their
        discretion, aggregate the Claims of any particular Holder within a Class for the purpose
        of counting votes.

     5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
        determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
        election and risk of each Holder of a Claim. Except as otherwise provided herein, such
        delivery will be deemed made only when the Voting Agent actually receives the
        originally executed Ballot. In all cases, Holders should allow sufficient time to assure
        timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents

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        (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
        sent will not be counted.

     6. If multiple Ballots are received from the same person with respect to the same Claims
        prior to the Voting Deadline, the last valid Ballot timely received will supersede and
        revoke any earlier received Ballot.

     7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
        vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
        surrender certificates or instruments representing or evidencing their Claims, and neither
        the Debtors nor the Voting Agent will accept delivery of any such certificates or
        instruments surrendered together with a Ballot.

     8. If you wish to have your Claim Allowed in a different amount, classification or treatment
        than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
        voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
        order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
        of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
        4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
        Deadline”). All objections and responses to Temporary Allowance Request Motions must
        be filed and served on or before July 19, 2019. A claimant may file a reply to any
        objection or response to its motion on or before July 22, 2019. Any order temporarily
        allowing such claims must be entered on or before August 9, 2019 or as otherwise
        ordered by the Court. Temporary Allowance Request Motions must adhere to the
        requirements set forth in the Disclosure Statement Order to be considered by the Court.

     9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
        an assertion or admission of a Claim.

     10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
         Plan or in multiple accounts, you may receive more than one Ballot coded for each
         different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
         Please complete and return each Ballot you received.

     11. The following Ballots shall not be counted in determining the acceptance or rejection of
         the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
         identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
         a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
         Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
         reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
         the Disclosure Statement Order.

     12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
         immediately at (855) 934-8766.




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                            ACCEPTANCE OR REJECTION OF THE PLAN

  ITEM 1.        CLAIM AMOUNT FOR VOTING PURPOSES.

  The undersigned certifies that as of May 20, 2019, it held a Class A5, D3 FENOC-FES
  Unsecured Claim under the Plan in the amount of __________________________.

  ITEM 2.        VOTE.

  The Holder of the Class A5, D3 FENOC-FES Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

  ITEM 3.        IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

           The Plan contains Consensual Third Party Releases of claims and Causes of Action
  against the Debtor Released Parties, the FE Non-Debtor Released Parties and the Other Released
  Parties.

  IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
  ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
  RELEASED SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
  SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
  ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
  REJECT THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT
  TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

  IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
  CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
  PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
  THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
  ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan, (ii)
  is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf

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  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holders of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
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  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,    dissemination,     implementation,   administration,   Confirmation      or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

  ITEM 4.        OPTIONAL ELECTION TO BE TREATED AS A CLASS A8, D6 CONVENIENCE CLAIM.

  By checking the box below, regardless of the amount of your Class A5, D3 FENOC-FES
  Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
  and to have such Claim treated as a Class A8, D6 Convenience Claim. Holders of Allowed
  Convenience Claims in Class A8 shall receive a distribution in Cash equal to 36.4% of the
  Allowed Convenience Claim. Holders of Allowed Convenience Claims in Class D6 shall receive
  a distribution in Cash equal to 24.0% of the Allowed Convenience Claim. If you elect to have
  such Claim treated as a Class A8, D6 Convenience Claim, you will be giving up the distribution
  amount for Class A5, D3 FENOC-FES Unsecured Claims calculated on the full amount of your
  Claim.

                                                
                         The undersigned elects to have its Class A5, D3
                        FENOC-FES Unsecured Claim identified in Item
                         1 treated as a Class A8, D6 Convenience Claim
                         and acknowledges that any valid Claim will be
                         Allowed in an amount not to exceed $1,000,000.



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  ITEM 5.        OPTIONAL EQUITY ELECTION FOR HOLDERS OF GENERAL UNSECURED CLAIMS.

  Holders of General Unsecured Claims may be eligible to elect to receive New Common Stock,
  rather than Cash, in satisfaction of their Claim (an “Equity Election”) under the Plan. The date
  of record for purposes of making an Equity Election is January 23, 2019 or such later date as
  may be agreed to by the Debtors with the consent of the Requisite Supporting Parties and the
  Committee (the “Equity Election Record Date”). All Holders of General Unsecured Claims
  wishing to make an Equity Election with respect to an eligible Claim are required to certify on
  their Ballots that they (i) were the beneficial holder of such Claim as of the applicable Equity
  Election Record Date and have not sold, transferred, or provided a participation in such Claim, or
  directly or implicitly agreed to do so following the applicable Equity Election Record Date or (ii)
  are otherwise a party to the Restructuring Support Agreement and the beneficial holder of such
  Claim and such Claim was subject to the Restructuring Support Agreement as of the applicable
  Equity Election Record Date.

  Any Holder of a General Unsecured Claim who is not party to the restructuring support
  agreement entered into by the Debtors and certain other parties on January 23, 2019 (the
  “Restructuring Support Agreement”) who sells its claim after the Equity Election Record
  Date will not be permitted to make an Equity Election under the Plan. Further, any buyer
  of a General Unsecured Claim, which Claim is not subject to the Restructuring Support
  Agreement as of the Equity Election Record Date will not be entitled to make an Equity
  Election under the Plan and will only be permitted to receive an equivalent cash
  distribution on account of such General Unsecured Claim.

  By checking the box below, you elect to receive New Common Stock rather than Cash in
  satisfaction of your Class A5, D3 FENOC-FES Unsecured Claim identified in Item 1. For the
  avoidance of doubt, you may only elect to receive New Common Stock rather than Cash in
  satisfaction of (i) your Class A5 FENOC-FES Unsecured Claim against FES and (ii) the portion
  of your Class D3 FENOC-FES Unsecured Claim up to the portion of the Class D3 FENOC-FES
  Unsecured Claim guaranteed by FES. You will receive the remainder of any distribution to
  which you are entitled on account of such Class D3 FENOC-FES Unsecured Claim in Cash.

                                                  
                          The undersigned elects to receive the eligible
                         portion of its distribution on account of its Class
                         A5, D3 FENOC-FES Unsecured Claim identified
                                in Item 1 in New Common Stock.

  By checking the box below, you acknowledge that you (i) were the beneficial holder of the Class
  A5, D3 FENOC-FES Unsecured Claim identified in Item 1 as of the Equity Election Record
  Date, which was January 23, 2019, or such later date as agreed to by the Debtors with the
  consent of the Requisite Supporting Parties and the Committee, and you have not sold,
  transferred, or provided a participation in the Class A5, D3 FENOC-FES Unsecured Claim
  identified in Item 1, or directly or implicitly agreed to do so following the applicable Equity
  Election Record Date, or (ii) are otherwise a party to the Restructuring Support Agreement and
  the beneficial holder of the Class A5, D3 FENOC-FES Unsecured Claim identified in Item 1 and


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  the Class A5, D3 FENOC-FES Unsecured Claim identified in Item 1 was subject to the
  Restructuring Support Agreement as of the applicable Equity Election Record Date.

                                                 
                         The undersigned acknowledges that (i) it was the
                          beneficial holder of the Class A5, D3 FENOC-
                          FES Unsecured Claim identified in Item 1 as of
                           the Equity Election Record Date, which was
                         January 23, 2019, or such later date as agreed to
                         by the Debtors with the consent of the Requisite
                         Supporting Parties and the Committee and it has
                         not sold, transferred or provided a participation
                           in the Class A5, D3 FENOC-FES Unsecured
                             Claim identified in Item 1, or directly or
                              implicitly agreed to do so following the
                         applicable Equity Election Record Date, or (ii) it
                             is otherwise a party to the Restructuring
                         Agreement and the beneficial holder of the Class
                         A5, D3 FENOC-FES Unsecured Claim identified
                           in Item 1 and the Class A5, D3 FENOC-FES
                         Unsecured Claim identified in Item 1 was subject
                          to the Restructuring Support Agreement as of
                           the applicable Equity Election Record Date.

  ITEM 6.        CERTIFICATION

  By signing this Ballot, the Holder certifies that:

                 a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                    this Ballot pertains;

                 b. if the Holder made an Equity Election in Item 5, the acknowledgement made
                    in Item 5 is true, accurate, and complete;

                 c. it has been provided with a copy of the Solicitation Package containing the
                    Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                    Statement Order, the notice regarding the date and time of the hearing at
                    which the Court will consider confirmation of the Plan, and a copy of any
                    letters recommending approval of the Plan, and acknowledges that the vote set
                    forth on this Ballot is subject to all the terms and conditions set forth in the
                    Plan, Disclosure Statement, and the Disclosure Statement Order;

                 d. it has the full power to vote to accept or reject the Plan; and

                 e. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                    inconsistent with the votes as set forth in this Ballot or that, as limited by the
                    terms of the Disclosure Statement Order and the instructions attached hereto,

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                    if such other Ballots were previously submitted, they either have been or are
                    hereby revoked or changed to reflect the vote set forth herein.


  Name of Claim Holder (Print or Type):

  Social Security or Federal Tax I.D. No.
  (Optional):

  Signature:

  Name of Signatory:

  If Authorized Agent of Claimant, Title of
  Agent:

  Street Address:

  City, State, and Zip Code:

  Telephone Number:

  Email Address:

  Date Completed:


  No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
  person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
  used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
  shall not constitute or be deemed to be proof of claim or an assertion of a claim.

  IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
  PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
  COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
  PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
  SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
  NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
  FESBALLOTS@PRIMECLERK.COM.

  THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
  ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                   PLEASE RETURN YOUR BALLOT PROMPTLY

                       If Submitting Your Vote through the E-Balloting Portal

  The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
  submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
  the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

  IMPORTANT NOTE: You will need the following information to retrieve and submit your
  customized electronic Ballot:

          Unique E-Ballot ID#:__________________________________________________

  The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
  electronic or online transmission. Ballots submitted by facsimile, email or other means of
  electronic transmission will not be counted.

  Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
  electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
  receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
  submit a paper Ballot.

  If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
  Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


         If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

  Please complete and execute your ballot and submit it by first class mail in the enclosed postage
  prepaid envelope or by sending it to the following address:

                            FirstEnergy Solutions Corp. Ballot Processing
                                        c/o Prime Clerk LLC
                                    830 Third Avenue, 3rd Floor
                                        New York, NY 10022

  If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
  Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                               UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                                     )    Chapter 11
  In re:                                                             )
                                                                     )    Case No. 18-50757 (AMK)
  FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                     )
                                     Debtors.                        )
                                                                     )    Hon. Judge Alan M. Koschik
                                                                     )


                                     BALLOT FOR
                    ACCEPTING OR REJECTING THE FIFTH AMENDED
             JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
           CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                       CLASS A6 (FES SINGLE-BOX UNSECURED CLAIMS)

  THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
  ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
  PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
  (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
  BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
  CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
  “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
  YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
  RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

           The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
  soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
  Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
  same may be amended, modified, and/or supplemented, including all exhibits or supplements
  thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
  against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
  of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
  which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

  1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
  18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
  Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
  FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
  address is: 341 White Pond Dr., Akron, OH 44320.
  2
    All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                                Ex-6

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  FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
  ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
  the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
  tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
  Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
  “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
  approval of the Plan by the Court.

         This Ballot is being sent to the Holders of Class A6 FES Single-Box Unsecured Claims
  under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in another
  Class or Classes in which you are entitled to vote, you will receive a Ballot for such other
  Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

      YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
   INDICATED THAT YOU HOLD A CLASS A6 FES SINGLE-BOX UNSECURED CLAIM
                              AS FOLLOWS:
                   DEBTOR: __________FES____________
                   AMOUNT: _________________________

          Your rights are described in the Plan and the Disclosure Statement, which were
  included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
  before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
  classification and treatment of your Claim under the Plan. If you need to obtain additional
  copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
  copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
  https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
  Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
  by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
  fesballots@primeclerk.com.

          If the Plan is confirmed by the Court it will be binding on you whether or not you
  vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
  by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
  of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
  otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
  the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
  that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
  against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
  Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
  Debtors’ cases.

  ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
  PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
  VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


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  BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
  THE THIRD PARTY RELEASES.

                                    VOTING INSTRUCTIONS

     1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
        therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
        or the Disclosure Statement Order, as applicable, copies of which also accompany the
        Ballot.

     2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
        review the Disclosure Statement for more information.

     3. In order for your vote to count, you must:

            i.   Complete and certify the amount of your Claim in Item 1;

           ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

          iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

          iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                 Convenience Claim, and follow the instructions therein;

           v.    Review Item 5, the Plan provisions relating to the ability to make an Equity
                 Election, and follow the instructions therein;

          vi.    Review and sign the certifications in Item 6;

          vii.   If you are completing the Ballot on behalf of an entity, indicate your relationship
                 with such entity and the capacity in which you are signing, and provide proof of
                 your authorization to so sign. In addition, please provide your name and mailing
                 address if different from that set forth on the attached mailing label or if no such
                 mailing label is attached to the Ballot; and

         viii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                 Deadline, which is 4:00 p.m. (ET) on August 2, 2019, in one of the two manners
                 described below:


                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

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           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                            FirstEnergy Solutions Corp. Ballot Processing
                                        c/o Prime Clerk LLC
                                    830 Third Avenue, 3rd Floor
                                        New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


     4. You must vote all of your Claims within a particular Class either to accept or reject the
        Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
        accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
        same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
        Holder within a Class for the purpose of counting votes.

     5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
        determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
        election and risk of each Holder of a Claim. Except as otherwise provided herein, such
        delivery will be deemed made only when the Voting Agent actually receives the
        originally executed Ballot. In all cases, Holders should allow sufficient time to assure
        timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
        (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
        sent will not be counted.


                                                   4


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     6. If multiple Ballots are received from the same person with respect to the same Claims
        prior to the Voting Deadline, the last valid Ballot timely received will supersede and
        revoke any earlier received Ballot.

     7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
        vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
        surrender certificates or instruments representing or evidencing their Claims, and neither
        the Debtors nor the Voting Agent will accept delivery of any such certificates or
        instruments surrendered together with a Ballot.

     8. If you wish to have your Claim Allowed in a different amount, classification or treatment
        than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
        voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
        order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
        of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
        4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
        Deadline”). All objections and responses to Temporary Allowance Request Motions must
        be filed and served on or before July 19, 2019. A claimant may file a reply to any
        objection or response to its motion on or before July 22, 2019. Any order temporarily
        allowing such claims must be entered on or before August 9, 2019 or as otherwise
        ordered by the Court. Temporary Allowance Request Motions must adhere to the
        requirements set forth in the Disclosure Statement Order to be considered by the Court.

     9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
        an assertion or admission of a Claim.

     10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
         Plan or in multiple accounts, you may receive more than one Ballot coded for each
         different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
         Please complete and return each Ballot you received.

     11. The following Ballots shall not be counted in determining the acceptance or rejection of
         the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
         identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
         a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
         Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
         reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
         the Disclosure Statement Order.

     12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
         immediately at (855) 934-8766.




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                            ACCEPTANCE OR REJECTION OF THE PLAN

  ITEM 1.        CLAIM AMOUNT FOR VOTING PURPOSES.

  The undersigned certifies that as of May 20, 2019, it held a Class A6 FES Single-Box Unsecured
  Claim under the Plan in the amount of __________________________.

  ITEM 2.        VOTE.

  The Holder of the Class A6 FES Single-Box Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

  ITEM 3.        IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

           The Plan contained Consensual Third Party Releases of claims and Causes of Action
  against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
  Parties.

  IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
  ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
  SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
  BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
  FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
  THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
  RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

  IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
  CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
  PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
  THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
  ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf

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  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
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  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,    dissemination,     implementation,   administration,   Confirmation      or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.       OPTIONAL ELECTION TO BE TREATED AS A CLASS A8 CONVENIENCE CLAIM.

   By checking the box below, regardless of the amount of your Class A6 FES Single-Box
   Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
   and to have such Claim treated as a Class A8 Convenience Claim. Holders of Allowed
   Convenience Claims in Class A8 shall receive a distribution in Cash equal to 36.4% of the
   Allowed Convenience Claim. If you elect to have such Claim treated as a Class A8 Convenience
   Claim, you will be giving up the distribution amount for Class A6 FES Single-Box Unsecured
   Claims calculated on the full amount of your Claim.

                                               
                        The undersigned elects to have its Class A6 FES
                        Single-Box Unsecured Claim identified in Item 1
                         treated as a Class A8 Convenience Claim and
                           acknowledges that any valid Claim will be
                        Allowed in an amount not to exceed $1,000,000.




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   ITEM 5.        OPTIONAL EQUITY ELECTION FOR HOLDERS OF GENERAL UNSECURED CLAIMS.

   Holders of General Unsecured Claims may be eligible to elect to receive New Common Stock,
   rather than Cash, in satisfaction of their Claim (an “Equity Election”) under the Plan. The date
   of record for purposes of making an Equity Election is January 23, 2019 or such later date as
   may be agreed to by the Debtors with the consent of the Requisite Supporting Parties and the
   Committee (the “Equity Election Record Date”). All Holders of General Unsecured Claims
   wishing to make an Equity Election with respect to an eligible Claim are required to certify on
   their Ballots that they (i) were the beneficial holder of such Claim as of the applicable Equity
   Election Record Date and have not sold, transferred, or provided a participation in such Claim, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date or (ii)
   are otherwise a party to the Restructuring Support Agreement and the beneficial holder of such
   Claim and such Claim was subject to the Restructuring Support Agreement as of the applicable
   Equity Election Record Date.

   Any Holder of a General Unsecured Claim who is not party to the restructuring support
   agreement entered into by the Debtors and certain other parties on January 23, 2019 (the
   “Restructuring Support Agreement”) who sells its claim after the Equity Election Record
   Date will not be permitted to make an Equity Election under the Plan. Further, any buyer
   of a General Unsecured Claim, which Claim is not subject to the Restructuring Support
   Agreement as of the Equity Election Record Date will not be entitled to make an Equity
   Election under the Plan and will only be permitted to receive an equivalent cash
   distribution on account of such General Unsecured Claim.

   By checking the box below, you elect to receive New Common Stock rather than Cash in
   satisfaction of your Class A6 FES Single-Box Unsecured Claim identified in Item 1.

                                                 
                          The undersigned elects to receive its distribution
                            on account of its Class A6 FES Single-Box
                           Unsecured Claim identified in Item 1 in New
                                        Common Stock.

   By checking the box below, you acknowledge that you (i) were the beneficial holder of the Class
   A6 FES Single-Box Unsecured Claim identified in Item 1 as of the Equity Election Record Date,
   which was January 23, 2019, or such later date as agreed to by the Debtors with the consent of
   the Requisite Supporting Parties and the Committee and you have not sold, transferred, or
   provided a participation in the Class A6 FES Single-Box Unsecured Claim in Item 1, or directly
   or implicitly agreed to do so following the applicable Equity Election Record Date, or (ii) are
   otherwise party to the Restructuring Support Agreement and the beneficial holder of the Class A6
   FES Single-Box Unsecured Claim identified in Item 1 and the Class A6 FES Single-Box
   Unsecured Claim was subject to the Restructuring Support Agreement as of the applicable
   Equity Election Record Date.




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                                                    
                          The undersigned acknowledges that (i) it was the
                          beneficial holder of the Class A6 FES Single-Box
                            Unsecured Claim identified in Item 1 as of the
                          Equity Election Record Date, which was January
                            23, 2019, or such later date as agreed to by the
                               Debtors with the consent of the Requisite
                          Supporting Parties and the Committee and it has
                           not sold, transferred or provided a participation
                          in the Class A6 FES Single-Box Unsecured Claim
                              identified in Item 1, or directly or implicitly
                            agreed to do so following the applicable Equity
                             Election Record Date, or (ii) it is otherwise a
                            party to the Restructuring Support Agreement
                             and the beneficial holder of the Class A6 FES
                           Single-Box Unsecured Claim identified in Item 1
                             and the Class A6 FES Single-Box Unsecured
                             Claim identified in Item 1 was subject to the
                              Restructuring Support Agreement as of the
                                applicable Equity Election Record Date.



   ITEM 6.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. if the Holder made an Equity Election in Item 5, the acknowledgement made
                     in Item 5 is true, accurate and complete;

                  c. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  d. it has the full power to vote to accept or reject the Plan; and

                  e. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,


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                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                       CLASS A7, B8, E5 (MANSFIELD INDEMNITY CLAIMS)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                                 Ex-7

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class A7, B8, E5 Mansfield Indemnity Claims
   under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in another
   Class or Classes in which you are entitled to vote, you will receive a Ballot for such other
   Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

        YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
       INDICATED THAT YOU HOLD A CLASS A7, B8, E5 MANSFIELD INDEMNITY
                            CLAIM AS FOLLOWS:
                    DEBTOR: __________FES, FG, FGMUC____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
   by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY



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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.



                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review and sign the certifications in Item 4;

            v.    If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

           vi.    Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

            Unique E-Ballot ID#:__________________________________________________




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    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, as a Holder of a Claim against multiple
         Debtors, you must vote all of your Claims either to accept or reject the Plan and may not
         vote to accept the Plan as to certain Debtors and reject the Plan as to other Debtors.
         Further, if a Holder has multiple Claims within the same Class, the Debtors may, in their
         discretion, aggregate the Claims of any particular Holder within a Class for the purpose
         of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.




                                                    4

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      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.

      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.




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                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class A7, B8, E5 Mansfield
   Indemnity Claim under the Plan in the amount of __________________________.

   ITEM 2.       VOTE.

   The Holder of the Class A7, B8, E5 Mansfield Indemnity Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
   SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
   ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
   REJECT THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT
   TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf


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  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in


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  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,    dissemination,     implementation,   administration,   Confirmation      or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  c. it has the full power to vote to accept or reject the Plan; and

                  d. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,


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                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

            CLASS [A8, B9, C8, D6, or E6] CONVENIENCE CLAIM AGAINST [DEBTOR]

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                                 Ex-8

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

           This Ballot is being sent to the Holders of Class [A8, B9, C8, D6, or E6] Convenience
   Claims Against [Debtor] under the Plan as of May 20, 2019 (the “Voting Record Date”). If you
   hold Claims in another Class or Classes in which you are entitled to vote, you will receive a
   Ballot for such other Class(es). Please use this Ballot to cast your vote to either accept or reject
   the Plan.

       YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
       INDICATED THAT YOU HOLD A CLASS [A8, B9, C8, D6, E6] CONVENIENCE
                   CLAIM AGAINST [DEBTOR] AS FOLLOWS:
                    DEBTOR: _________________________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
   by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY

                                                    2


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.



                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review and sign the certifications in Item 4;

            v.    If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

           vi.    Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

            Unique E-Ballot ID#:__________________________________________________



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    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
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    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.


                                                    4


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      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.


                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class [A8, B9, C8, D6, or E6]
   Convenience Claim Against [Debtor] under the Plan in the amount of _____________________.




                                                   5


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   ITEM 2.       VOTE.

   The Holder of the Class [A8, B9, C8, D6, or E6] Convenience Claim Against [Debtor] identified
   in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, the FE Non-Debtor Released Parties and the Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
   SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
   ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
   REJECT THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT
   TO THE RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, the FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
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  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties, and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
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  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  c. it has the full power to vote to accept or reject the Plan; and

                  d. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.




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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
   In re:                                                            )
                                                                     )     Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                     )
                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )


           MASTER BALLOT FOR ACCEPTING OR REJECTING THE FIFTH
       AMENDED JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
         CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                        VOTING NOMINEE FOR BENEFICIAL OWNERS OF
                        CLASS B4 SECURED FG PCN REINSTATED CLAIMS


   THIS MASTER BALLOT (THE “MASTER BALLOT”) MUST BE COMPLETED AND
   (I) IF EMAILED, SUBMITTED TO PRIME CLERK LLC (THE “VOTING AGENT”)
   VIA THE EMAIL ADDRESS PROVIDED FOR HEREIN, OR (II) IF CAST IN PAPER
   FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED BY THE VOTING
   AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER CASE BY 4:00
   P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE “VOTING
   DEADLINE”) OR THE VOTE OF THE BENEFICIAL OWNERS (DEFINED BELOW)
   FOR WHOM YOU ACT AS NOMINEE (DEFINED BELOW) WILL NOT BE
   COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE
   THAT THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE
   THE VOTING DEADLINE.




   1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.


                                                                                                                Ex-9

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            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Master
   Ballot (the “Solicitation Package”). The Court’s approval of the Disclosure Statement does not
   indicate approval of the Plan by the Court.

           You are receiving this Master Ballot because you are the Nominee (as defined below) of
   a Beneficial Owner3 of the Class B4 Secured FG PCN Reinstated Claims indicated on Exhibit A
   hereto as of May 20, 2019 (the “Voting Record Date”).

           This Master Ballot is to be used by you as a broker, bank or other nominee, or as the
   agent of a broker, bank or other nominee (each of the foregoing, a “Nominee”), or as the proxy
   holder of a Nominee for certain Beneficial Owners of Class B4 Secured FG PCN Reinstated
   Claims indicated on Exhibit A hereto, to transmit to the Voting Agent the votes of such
   Beneficial Owners in respect of their Claims to accept or reject the Plan in accordance with their
   ballots (each, a “Beneficial Ballot”).

         The votes transmitted on this Master Ballot for Beneficial Owners of Class B4
   Secured FG PCN Reinstated Claims indicated on Exhibit A hereto shall be applied to each
   Debtor against whom such Beneficial Owners have a Claim.

           As a Nominee, you are required to immediately deliver a Solicitation Package, including
   a Beneficial Ballot, to each Beneficial Owner for whom you hold Class B4 Secured FG PCN
   Reinstated Claims and take any action required to enable such Beneficial Owner to timely vote
   its Class B4 Secured FG PCN Reinstated Claims to accept or reject the Plan. You should include
   in each solicitation package a return envelope addressed to you (and not include a return
   envelope addressed to the Voting Agent) unless you choose to pre-validate such Beneficial
   Ballot, in which case the Solicitation Package should include a return envelope addressed only to
   the Voting Agent. With respect to any Beneficial Ballots returned to you, you must (i) execute
   this Master Ballot so as to reflect the voting instructions given to you in the Beneficial Ballots by
   the Beneficial Owners for whom you hold Class B4 Secured FG PCN Reinstated Claims and (ii)


   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.
   3
     A “Beneficial Owner” means a beneficial owner of publicly traded securities whose Claims or Interests have not
   been satisfied prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected
   in the records maintained by the Nominees.

                                                            2


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   forward this Master Ballot to the Voting Agent in accordance with the instructions
   accompanying this Master Ballot.

           The Disclosure Statement, which describes rights under the Plan, was included in the
   Solicitation Package you are receiving with this Master Ballot (as well as the Plan, Disclosure
   Statement Order and certain other materials). If you need to obtain additional copies of the Plan,
   the Disclosure Statement, or other Solicitation Materials, you may obtain free copies (a) at the
   dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
   by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

                                     VOTING INSTRUCTIONS

   1.     Capitalized terms used in the Master Ballot or in these instructions but not otherwise
          defined therein or herein shall have the meanings ascribed in the Plan, the Disclosure
          Statement, or the Disclosure Statement Order, as applicable, copies of which also
          accompany the Master Ballot.

   2.     You should immediately distribute Solicitation Package(s), including Beneficial Ballots,
          to each Beneficial Owner (or intermediary nominees, if applicable) of Class B4 Secured
          FG PCN Reinstated Claims, and take any action required to enable each such Beneficial
          Owner to timely vote such Claims.

   3.     If you are both the record holder and the Beneficial Owner of any principal amount of the
          Class B4 Secured FG PCN Reinstated Claims and you wish to vote any such Claims on
          account thereof, you may complete and execute either an individual Beneficial Ballot or a
          Master Ballot and return the same to the Voting Agent in accordance with these
          instructions.

   4.     If you are transmitting the votes of any Beneficial Owners other than yourself, you may,
          at your option, elect to pre-validate the Beneficial Ballots sent to you by the Voting
          Agent. Based on your decision as to whether or not to pre-validate Beneficial Owners
          Ballots, the instructions in either paragraph (5) or paragraph (6) apply (but not both).

   5.     PRE-VALIDATED BENEFICIAL BALLOTS:                         A Nominee “pre-validates” a
          Beneficial Ballot by indicating thereon the Beneficial Owner of the Class B4 Secured FG
          PCN Reinstated Claims to be voted, the amount of the Class B4 Secured FG PCN
          Reinstated Claims held by the Beneficial Owner and the appropriate account numbers
          through which the Beneficial Owner’s holdings are derived, and executing the Beneficial
          Ballot. If you choose to pre-validate individual Beneficial Ballots, you must immediately:
          (a) “pre-validate” the individual Beneficial Ballot contained in the Solicitation Package
          sent to you by the Voting Agent, and (b) forward the Solicitation Package to the
          Beneficial Owner for voting, including:

                  (i)    the pre-validated Beneficial Ballot;


                                                   3


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               (ii)   a return envelope addressed to the Voting Agent as follows: FirstEnergy
               Solutions Corp. Ballot Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd
               Floor, New York, NY 10022; and

               (iii) clear instructions stating that Beneficial Owners must return their pre-
               validated Beneficial Ballot directly to the Voting Agent so that it is actually
               received by the Voting Agent on or before the Voting Deadline, which is 4:00
               p.m. (prevailing Eastern Time) on August 2, 2019.

   6.   NON PRE-VALIDATED BENEFICIAL BALLOTS: If you do NOT choose to pre-
        validate individual Beneficial Ballots, you must:

        (i)     immediately forward the Solicitation Package(s) sent to you by the Voting Agent
        to each Beneficial Owner for voting, including: (a) the Beneficial Ballot; (b) a return
        envelope addressed to the Nominee; and (c) clear instructions stating that Beneficial
        Owners must return their Beneficial Ballot directly to the Nominee so that it is actually
        received by the Nominee on or before that date (“Return Date”) calculated by the
        Nominee so as to afford the Nominee with enough time to prepare the Master Ballot and
        return the Master Ballot to the Voting Agent so it is actually received by the Voting
        Agent on or before the Voting Deadline, which Return Date the Nominee must also insert
        in the blank on the first page of the Beneficial Ballot before transmitting it to the
        Beneficial Owner; and

        (ii)   upon receipt of completed and executed Beneficial Ballots returned to you by a
        Beneficial Owner (or intermediary nominee), you must:

               a.      compile and validate the votes and other relevant information of each such
               Beneficial Owner on the Master Ballot using the customer account number or
               other identification number assigned by you or an intermediary nominee to each
               such Beneficial Owner;

               b.     execute the Master Ballot;

               c.     transmit such Master Ballot so as to be actually received by the Voting
               Agent by the Voting Deadline; and

               d.      retain such Beneficial Ballots in your files for a period of one year after
               the Effective Date of the Plan (as you may be ordered to produce the Beneficial
               Ballots to the Debtors or the Court).

   7.   If a Master Ballot is received after the Voting Deadline and if the Voting Deadline is not
        extended, it will not be counted. Additionally, the following Master Ballots (and
        therefore Beneficial Ballots) will NOT be counted:

               (i)    Master Ballots sent to any of the Debtors, the Debtors’ agents (other than
               the Voting Agent), any indenture trustee or the Debtors’ financial or legal
               advisors;


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                (ii)   Master Ballots sent by facsimile or any other electronic means not
                expressly provided for herein;

                (iii) any Master Ballot that is illegible or contains insufficient information to
                permit the identification of the Beneficial Owner of the Claim;

                (iv)     any Master Ballot cast by an entity that does not hold a Claim in a Class
                that is entitled to vote on the Plan;

                (v)     any unsigned Master Ballot;

                (vi)   any Master Ballot not marked to accept or reject the Plan or the portion of
                any Master Ballot that is marked, with respect to a single account number, both to
                accept and reject the Plan; and/or

                (vii) any Master Ballot submitted by any entity not entitled to vote pursuant to
                the Disclosure Statement Order.

   8.    Any Ballot returned to you by a Beneficial Owner of a Claim or intermediary nominee
         shall not be counted for purposes of accepting or rejecting the Plan until you properly
         complete and deliver to the Voting Agent a Master Ballot that reflects the vote of such
         Beneficial Owners or intermediary nominees by the Voting Deadline or otherwise
         validate the Beneficial Ballot in a manner acceptable to the Voting Agent.

   9.    The method of delivery of Master Ballots to the Voting Agent is at the election and risk
         of each Nominee. Except as otherwise provided herein, such delivery will be deemed
         made only when the Voting Agent actually receives the originally executed Master
         Ballot. Instead of effecting delivery by first-class mail, it is recommended, though not
         required, that Nominees use an overnight or hand delivery service. Facsimile or other
         electronic transmissions of this Master Ballot not expressly provided for herein will not
         be accepted. In all cases, Nominees should allow sufficient time to assure timely delivery.

   10.   If multiple Master Ballots are received from the same Nominee with respect to the same
         Beneficial Ballot belonging to a Beneficial Owner of a Claim prior to the Voting
         Deadline, the last valid Master Ballot timely received will supersede and revoke any
         earlier received Master Ballots.

   11.   The Master Ballot is not a letter of transmittal and may not be used for any purpose other
         than to vote to accept or reject the Plan and make certifications with respect to the
         Beneficial Ballots. Accordingly, at this time, holders of Claims should not surrender
         certificates or instruments representing their Claims and you should not accept delivery
         of any such certificates or instruments surrendered together with a Beneficial Ballot.

   12.   This Master Ballot does not constitute, and shall not be deemed to be, (a) a proof of claim
         or (b) an assertion or admission of a Claim.

   13.   Please be sure to properly execute your Master Ballot. You must: (a) sign and date your
         Master Ballot; (b) if applicable, indicate that you are signing a Master Ballot in your

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         capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
         corporation or otherwise acting in a fiduciary or representative capacity and, if required
         or requested by the Voting Agent, the Debtors or the Court, submit proper evidence to the
         requesting party to so act on behalf of such Beneficial Owner; and (c) provide your name
         and mailing address if it is different from that set forth on the attached mailing label or if
         no such mailing label is attached to the Master Ballot.

   14.   No fees or commissions or other remuneration will be payable to any Nominee for
         soliciting Beneficial Ballots accepting the Plan. The Debtors will however, upon written
         request, reimburse you for reasonable and customary mailing and handling expenses
         incurred by you in forwarding the Beneficial Ballots and other enclosed materials to your
         customers.

   IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR THE
   VOTING PROCEDURES, PLEASE CONTACT THE VOTING AGENT (A) BY
   WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
   THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
   (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.

   PLEASE NOTE THAT THE VOTING AGENT IS NOT AUTHORIZED TO, AND WILL
   NOT, PROVIDE LEGAL ADVICE.

          If the Voting Agent does not actually receive this Master Ballot on or before
         the Voting Deadline, and if the Voting Deadline is not extended, the Beneficial
                     Owners’ votes transmitted hereby will not be counted.




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                        ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.        Claim Amount for Voting Purposes.

   The undersigned certifies that as of the Voting Record Date, the undersigned (please check the
   applicable box):

        is a Nominee for the Beneficial Owners of the aggregate amount of the Class B4 Secured
         FG PCN Reinstated Claims listed in Item 2 below and is the registered holder of the
         Class B4 Secured FG PCN Reinstated Claims represented by any such Claims;

        is acting under a power of attorney and/or agency agreement (a copy of which will be
         provided upon request) granted by a Nominee that is the registered holder of the
         aggregate amount of the Class B4 Secured FG PCN Reinstated Claims listed in Item 2
         below; or

        has been granted a proxy (an original of which is annexed hereto) from (a) a Nominee or
         (b) a Beneficial Owner, that is the registered holder of the aggregate amount of the Class
         B4 Secured FG PCN Reinstated Claims listed in Item 2 below and, accordingly, has full
         power and authority to vote to accept or reject the Plan on behalf of the Beneficial
         Owners of the Class B4 Secured FG PCN Reinstated Claims described in Item 2 below.

   ITEM 2.        Vote with Respect to the Class B4 Secured FG PCN Reinstated Claims.

   Number of Beneficial Owners: The undersigned transmits the following votes of Beneficial
   Owners of the Class B4 Secured FG PCN Reinstated Claims indicated on Exhibit A hereto and
   certifies that the following Beneficial Owners of such Claims, as identified by their respective
   customer account numbers set forth below, are the Beneficial Owners of such Claims as of the
   Voting Record Date and have delivered to the undersigned, as Nominee, properly executed
   Beneficial Ballots casting such votes as indicated and containing instructions for the casting of
   those votes on their behalf.

   To Properly Complete the Following Table: Indicate in the appropriate column below the
   aggregate principal amount voted for each account. Please use additional sheets of paper if
   necessary and, if possible, attach such information to this Master Ballot in the form of the
   following table. PLEASE NOTE: (i) each account of a Beneficial Owner must vote all such
   Beneficial Owner’s Class B4 Secured FG PCN Reinstated Claims to accept or reject the Plan and
   may not split such vote; and (ii) any Beneficial Ballot executed by the Beneficial Owner that
   does not indicate an acceptance or rejection of the Plan or that indicates both an acceptance and a
   rejection should not be counted as either an acceptance or a rejection of the Plan.

   .




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   Your Customer
      Account
    Number for        Principal
   Each Beneficial   Amount Held       ACCEPT THE                       REJECT THE
   Owner of Class    as of Voting         PLAN                             PLAN
   B4 Secured FG     Record Date
   PCN Reinstated
       Claims

   1.                $                �                  OR         �

   2.                $                �                  OR         �

   3.                $                �                  OR         �

   4.                $                �                  OR         �

   5.                $                �                  OR         �

   6.                $                �                  OR         �

   7.                $                �                  OR         �

   8.                $                �                  OR         �

   9.                $                �                  OR         �

   10.               $                �                  OR         �

   TOTALS:           $



   ITEM 3.      IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   ALL HOLDERS OF A CLAIM OR INTEREST THAT (I) VOTE TO ACCEPT THE PLAN
   OR (II) ARE DEEMED TO HAVE ACCEPTED THE PLAN ARE DEEMED TO

                                              8


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   CONSENT TO THE CONSENSUAL THIRD PARTY RELEASES. ALL HOLDERS OF A
   CLAIM OR INTEREST THAT (I) VOTE TO REJECT THE PLAN, (II) FAIL TO
   SUBMIT A BALLOT BY THE VOTING DEADLINE, OR (III) ARE ENTITLED TO
   VOTE AND FAIL TO SUBMIT A BALLOT SHALL NOT BE DEEMED TO HAVE
   GRANTED THE CONSENSUAL THIRD PARTY RELEASES.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party, and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
                                                  9


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  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.




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   ITEM 4.       CERTIFICATIONS AS TO TRANSCRIPTION OF INFORMATION FROM ITEM 4 OF THE
                 BENEFICIAL BALLOTS AS TO CLASS B4 SECURED FG PCN REINSTATED CLAIMS
                 VOTED THROUGH OTHER BENEFICIAL BALLOTS

           The undersigned certifies that the undersigned has transcribed in the following table the
   information, if any, provided by Beneficial Owners in Item 4 of each of the Beneficial Owner’s
   original Beneficial Ballots, identifying any Class B4 Secured FG PCN Reinstated Claims for
   which such Beneficial Owners have submitted other Beneficial Ballots (e.g., to other voting
   nominees) other than to the undersigned:

   Your Customer         TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL BALLOTS:
   Account
   Number for            Account          Name of        CUSIP Number or        Principal Amount
   Each Beneficial       Number           Holder         Description of         of Other Class B4
   Owner Who                                             Other Class B4         Secured FG PCN
   Completed Item                                        Secured FG PCN         Reinstated
   4 of the                                              Reinstated Claims      Claims Voted
   Beneficial                                            Voted
   Ballots

   1.                                                                           $

   2.                                                                           $

   3.                                                                           $

   4.                                                                           $

   5.                                                                           $

   6.                                                                           $

   7.                                                                           $

   8.                                                                           $

   9.                                                                           $

   10.                                                                          $




                                                  11


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   ITEM 5.        CERTIFICATION.

   By signing this Master Ballot, the undersigned certifies that:

           1.      it has received a copy of the Disclosure Statement, the Beneficial Ballots and the
   Solicitation Package and has delivered the same to the Beneficial Owners listed on the Beneficial
   Ballots or to any intermediary nominee, as applicable;

         2.       it has received a completed and signed Beneficial Ballot from each Beneficial
   Owner listed in Item 2 of this Master Ballot or from an intermediary nominee, as applicable;

        3.     as of the Voting Record Date it is the registered holder of the Class B4 Secured
   FG PCN Reinstated Claims being voted, or an agent therefor;

          4.       it has been authorized by each such Beneficial Owner or intermediary nominee, as
   applicable, to vote on the Plan and to make applicable elections;

          5.      it has properly disclosed:

                  (i)     the number of Beneficial Owners who completed Beneficial Ballots;

                  (ii)  the respective amounts of the Class B4 Secured FG PCN Reinstated
                  Claims held as of the Voting Record Date by each Beneficial Owner who
                  completed a Beneficial Ballot;

                  (iii)   each such Beneficial Owner’s respective vote concerning the Plan;

                  (iv) each such Beneficial Owner’s certification as to other Class B4 Secured
                  FG PCN Reinstated Claims voted; and

                  (v)    the customer account or other identification number for each such
                  Beneficial Owner as of the Voting Record Date;

         6.      each such Beneficial Owner has certified to the undersigned or to an intermediary
   nominee, as applicable, that it is eligible to vote on the Plan; and

           7.      it will maintain Beneficial Ballots and evidence of separate transactions returned
   by Beneficial Owners or by intermediary nominees (whether properly completed or defective)
   for at least one year after the Voting Deadline and disclose all such information to the Court or
   the Debtors, as the case may be, if so ordered.




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   Name of Nominee:
                                                        (Print or Type)

   Participant Number:
  Name of Proxy Holder or Agent for
  Nominee:
                                                                 (Print or Type)

   Social Security or Federal Tax Identification
   Number:


   Signature:
   Name of Signatory:
                            (If other than Nominee)

   Title:
   Address:




   Date Completed:




   No fees, commissions or other remuneration will be payable to any broker, dealer or other person
   for soliciting votes on the Plan. The Debtors will however, upon written request, reimburse you
   for customary mailing and handling expenses incurred by you in forwarding the Beneficial
   Ballots and other enclosed materials to your customers. This Master Ballot is not a letter of
   transmittal and may not be used for any purpose other than to cast votes to accept or reject the
   Plan. Holders should not surrender, at this time, certificates representing their securities. The
   Voting Agent will not accept delivery of any such certificates surrendered together with this
   Master Ballot. Moreover, this Master Ballot shall not constitute or be deemed to be a proof of
   claim or equity interest or an assertion of a claim or equity interest.




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             PLEASE RETURN YOUR MASTER BALLOT PROMPTLY

                         If Submitting Your Vote through the E-Ballot Portal

   The Voting Agent will accept Master Ballots from Nominees and their agents through email if
   properly completed and submitted via email at fesballots@primeclerk.com




          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Master Ballot is not received by the Voting Agent on or before the Voting Deadline, and
   such Voting Deadline is not extended by the Debtors as noted above, your vote will not be
   counted.




                                                    14


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                                         Exhibit A

   Please check one box below to indicate the CUSIP/ISIN to which this Master Ballot
   pertains (or clearly indicate such information directly on the Master Ballot or on a
   schedule thereto):

                          Class B4 Secured FG PCN Reinstated Claims


               4.25% Adjustable Revenue Bonds Due 10/1/2047   CUSIP 074876HP1 / ISIN
                                                              US074876HP18

               4.25% Adjustable Revenue Bonds Due 8/1/2029    CUSIP 677525VZ7 / ISIN
                                                              US677525VZ70

               5.625% Adjustable Revenue Bonds Due 6/1/2018   CUSIP 677525TF4 / ISIN
                                                              US677525TF45




                                            15


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                                 UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

                                                                       )     Chapter 11
   In re:                                                              )
                                                                       )     Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                               )     (Jointly Administered)
                                                                       )
                                       Debtors.                        )
                                                                       )     Hon. Judge Alan M. Koschik
                                                                       )


          BENEFICIAL BALLOT FOR ACCEPTING OR REJECTING THE FIFTH
       AMENDED JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
         CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                                    BENEFICIAL OWNER OF
                         CLASS B4 SECURED FG PCN REINSTATED CLAIMS

   THIS BENEFICIAL BALLOT (THE “BENEFICIAL BALLOT”) IS TO BE USED BY
   BENEFICIAL OWNERS2OF CLASS B4 SECURED FG PCN REINSTATED CLAIMS.

   IN ORDER FOR YOUR VOTE TO BE COUNTED, ALL PRE-VALIDATED
   BENEFICIAL BALLOTS AND ALL MASTER BALLOTS WITH RESPECT TO
   BENEFICIAL BALLOTS THAT WERE NOT PRE-VALIDATED MUST BE
   COMPLETED, EXECUTED AND RETURNED SO AS TO BE ACTUALLY RECEIVED
   BY PRIME CLERK LLC (THE “VOTING AGENT”) ON OR BEFORE 4:00 P.M.
   (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE “VOTING DEADLINE”)
   IN ACCORDANCE WITH THE FOLLOWING:

   IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE:
   YOU MUST RETURN THIS BENEFICIAL BALLOT TO YOUR NOMINEE BY [●],
   2019 IN ACCORDANCE WITH THE ENCLOSED INSTRUCTIONS FROM YOUR
   NOMINEE IN SUFFICIENT TIME TO PERMIT YOUR NOMINEE TO DELIVER A
   MASTER BALLOT INCLUDING YOUR VOTE TO THE VOTING AGENT BY THE

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
      A “Beneficial Owner” means a beneficial owner of publicly traded securities whose Claims have not been
   satisfied prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected in the
   records maintained by such owner’s broker, bank or other nominee, or the agent of a broker, bank or other nominee
   (each of the foregoing, a “Nominee”).


                                                                                                                  Ex-10

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   VOTING DEADLINE. PLEASE CONTACT YOUR NOMINEE WITH ANY
   QUESTIONS REGARDING THE DATE IT NEEDS TO RECEIVE YOUR BENEFICIAL
   BALLOT TO TIMELY SUBMIT THE MASTER BALLOT TO THE VOTING AGENT.

   IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO THE VOTING
   AGENT:
   YOUR NOMINEE HAS PRE-VALIDATED THIS BENEFICIAL BALLOT.
   THEREFORE, YOU MUST RETURN THIS PRE-VALIDATED BENEFICIAL BALLOT
   DIRECTLY TO THE VOTING AGENT SO IT IS ACTUALLY RECEIVED BY THE
   VOTING DEADLINE.

   DO NOT MAIL OR RETURN THIS BALLOT DIRECTLY TO DEBTORS (OR THE
   COURT.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.3 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          You are receiving this Beneficial Ballot for Beneficial Owners because you are a
   Beneficial Owner of the Class B4 Secured FG PCN Reinstated Claims indicated on Exhibit A
   hereto as of May 20, 2019 (the “Voting Record Date”). Accordingly, you have a right to vote
   to accept or reject the Plan.

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or


   3
       All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.

                                                               2


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   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each Voting Class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION AND INJUNCTION
    PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
       VIII.E. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
   CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED BY THE THIRD PARTY
                                  RELEASES.

                                     VOTING INSTRUCTIONS

   1.     Capitalized terms used in the Ballot or in these instructions but not otherwise defined
          therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
          or the Disclosure Statement Order, as applicable, copies of which accompany this
          Beneficial Ballot.

   2.     To ensure that your vote is counted, you must: (a) complete your Beneficial Ballot in
          accordance with these instructions; (b) clearly indicate your decision either to accept or
          reject the Plan in the boxes provided in Item 2 of the Beneficial Ballot; (c) review the
          Plan provisions relating to the Consensual Third Party Releases as provided in Item 3; (d)
          review and complete Items 4 and 5 in accordance with the instructions therein; and (e)
          clearly sign and return an original of your Beneficial Ballot to the address set forth on the
          enclosed pre-addressed envelope.

   3.     Return of Beneficial Ballots: Your Beneficial Ballot (if pre-validated) and/or the Master
          Ballot incorporating the vote cast on your Beneficial Ballot MUST be returned to the
          Voting Agent so as to be actually received by the Voting Agent on or before the Voting
          Deadline, which is August 2, 2019, at 4:00 p.m. (prevailing Eastern Time). To ensure
          your vote is counted toward confirmation of the Plan, please read the following
          information carefully so that you understand where your Beneficial Ballot must be sent in
          order for it to be received before the Voting Deadline:

          (i)     Pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a return
                  envelope addressed to the Voting Agent, you must return your completed
                  Beneficial Ballot directly to the Voting Agent so that it is actually received by
                  the Voting Agent on or before the Voting Deadline.


                                                   3


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        (ii)    Not pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a
                return envelope addressed to your Nominee, you must return your completed
                Beneficial Ballot directly to your Nominee so as to be actually received by [●],
                2019 to allow sufficient time to permit your Nominee to deliver a Master Ballot
                including your vote to the Voting Agent by the Voting Deadline.

   4.   If a pre-validated Beneficial Ballot or a Master Ballot reflecting the vote of a Beneficial
        Ballot is received after the Voting Deadline and if the Voting Deadline is not extended,
        the vote cast thereby will not be counted. Additionally, the votes cast on the following
        Beneficial Ballots will NOT be counted:

        (i)     Beneficial Ballots sent to any of the Debtors, the Debtors’ agents (other than the
                pre-validated Beneficial Ballots sent to the Voting Agent), any indenture trustee
                or the Debtors’ financial or legal advisors;

        (ii)    Beneficial Ballots sent by facsimile, e-mail or any other electronic means not
                expressly provided for herein;

        (iii)   any Beneficial Ballot that is illegible or contains insufficient information to
                permit the identification of the holder of the Claim voted thereby;

        (iv)    any Beneficial Ballot cast by an entity that does not hold a Claim in a Class that is
                entitled to vote on the Plan;

        (v)     any unsigned Beneficial Ballot; and/or

        (vi)    any Beneficial Ballot submitted by any entity not entitled to vote pursuant to the
                Disclosure Statement Order.

   5.   Beneficial Ballots that indicate both acceptance and rejection of the Plan or indicate
        neither an acceptance nor rejection of the Plan will not be counted.

   6.   The method of delivery of Beneficial Ballots to the Voting Agent or your Nominee is at
        your election and risk. Except as otherwise provided herein, such delivery will be deemed
        made only when the Voting Agent actually receives the originally executed Beneficial
        Ballot or Master Ballot incorporating the Beneficial Ballot. Instead of effecting delivery
        by first-class mail, it is recommended, though not required, that you use an overnight or
        hand delivery service. In all cases, you should allow sufficient time to assure timely
        delivery.

   7.   If multiple Beneficial Ballots are received from you with respect to your Class B4
        Secured FG PCN Reinstated Claim prior to the Voting Deadline, the last valid Beneficial
        Ballot timely received will supersede and revoke any earlier received Beneficial Ballots.

   8.   If you believe you received the wrong Beneficial Ballot, or if you need additional
        Beneficial Ballots, please immediately contact your Nominee or the Voting Agent.



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   9.    If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) on or before the seventh (7th)
         day after the later of (i) service of the Confirmation Hearing Notice if an objection to a
         specific claim is pending, or such claim has been listed in the Schedules as contingent,
         unliquidated, or disputed, and (ii) service of a notice of an objection, if any, as to the
         specific claim, but in no event later than July 5, 2019 at 4:00 p.m. (prevailing Eastern
         Time) (the “Temporary Allowance Request Motion Deadline”). All objections and
         responses to Temporary Allowance Request Motions must be filed and served on or
         before July 19, 2019. A claimant may file a reply to any objection or response to its
         motion on or before July 22, 2019. Any order temporarily allowing such claims must be
         entered on or before August 9, 2019 or as otherwise ordered by the Court. Temporary
         Allowance Request Motions must adhere to the requirements set forth in the Disclosure
         Statement Order to be considered by the Court.

   10.   This Beneficial Ballot does not constitute, and shall not be deemed to be, a proof of claim
         or an assertion or admission of a Claim.

   11.   If you hold Claims in another Class or Classes in which you are entitled to vote, you will
         receive a Beneficial Ballot for such other Class(es). Each Beneficial Ballot votes only
         your Claims indicated on that ballot. Please complete and return each Beneficial Ballot
         you receive.

   12.   Please be sure to properly sign and date your Beneficial Ballot. If you are signing a
         Beneficial Ballot in your capacity as a trustee, executor, administrator, guardian, attorney
         in fact, officer of a corporation or otherwise acting in a fiduciary or representative
         capacity, you must indicate such capacity when signing and, if required or requested by
         the Voting Agent, the Debtors or the Court, must submit proper evidence to the
         requesting party to so act on behalf of such holder. In addition, please provide your name
         and mailing address if it is different from that set forth on the attached mailing label or if
         no such mailing label is attached to the Beneficial Ballot.

   IF YOU HAVE ANY QUESTIONS REGARDING THE BENEFICIAL BALLOT OR THE
   PROCEDURES GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE
   BENEFICIAL BALLOT OR OTHER SOLICITATION MATERIALS, PLEASE
   CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY SOLUTIONS
   CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR, NEW YORK,
   NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM. PLEASE NOTE THAT THE VOTING AGENT
   IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.

   THIS BENEFICIAL BALLOT IS TO BE USED BY BENEFICIAL OWNERS OF CLASS
   B4 SECURED FG PCN REINSTATED CLAIMS. PLEASE COMPLETE, SIGN AND
   DATE THIS BENEFICIAL BALLOT AND RETURN IT IN THE ENCLOSED


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   ENVELOPE (OR OTHERWISE FOLLOW THE INSTRUCTIONS OF YOUR
   NOMINEE) PROMPTLY.



                       ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned hereby certifies that as of the Voting Record Date, the undersigned was the
   Beneficial Owner of the Class B4 Secured FG PCN Reinstated Claims indicated on Exhibit A
   hereto in the following aggregate unpaid principal amount (insert amount in box below, unless
   otherwise completed by your Nominee):

                         Claim Amount: $___________________

   ITEM 2.       VOTE.

   The Beneficial Owner of the Class B4 Secured FG PCN Reinstated Claims, the aggregate
   amount of which is set forth in Item 1, votes to (please check only one):

                 ACCEPT the Plan.                    REJECT the Plan.

   PLEASE NOTE: (i) Each Beneficial Owner must vote all such Beneficial Owner’s Class B4
   Secured FG PCN Reinstated Claims to accept or reject the Plan and may not split such
   vote; and (ii) any Beneficial Ballot executed by a Beneficial Owner that does not indicate an
   acceptance or rejection of the Plan or that indicates both an acceptance and a rejection
   should not be counted as either an acceptance or a rejection of the Plan.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
   SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
   ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
   REJECT THE PLAN YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

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  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) vote to accept the Plan or (ii)
  is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party, and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be

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  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.




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   ITEM 4.        CERTIFICATIONS AS TO CLASS B4 SECURED FG PCN REINSTATED CLAIMS.

   By completing and returning this Beneficial Ballot, the undersigned Beneficial Owner certifies
   that either (i) it has not submitted any other Beneficial Ballots on account of Securities
   underlying Class B4 Secured FG PCN Reinstated Claims held in other accounts or other record
   names or (ii) it has provided the information specified in the following table for all other Class
   B4 Secured FG PCN Reinstated Claims for which it has submitted additional Beneficial Ballots,
   each of which indicates the same vote to accept or reject the Plan (please use additional sheets of
   paper if necessary):

   ONLY COMPLETE THIS SECTION IF YOU HAVE VOTED OTHER CLASS B4 SECURED
   FG PCN REINSTATED CLAIMS ON A BENEFICIAL BALLOT OTHER THAN THIS
   BENEFICIAL BALLOT.

                                    Name of Registered             Principal Amount of Other
   Account Number with other
                                    Holder or Other                Class B4 Secured FG PCN
     Nominee (if applicable)
                                    Nominee (if applicable)        Reinstated Claims Voted
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $

   ITEM 5.        CERTIFICATION.

   By signing this Beneficial Ballot, the Beneficial Owner of Class B4 Secured FG PCN Reinstated
   Claims certifies that:

                         a.     as of the Voting Record Date it is the Beneficial Owner of the
                         Class B4 Secured FG PCN Reinstated Claims identified in Item I above;

                         b.      it has been provided with a copy of the Plan, Disclosure Statement
                         and the Disclosure Statement Order and acknowledges that the vote set
                         forth on this Beneficial Ballot is subject to all the terms and conditions set
                         forth in the Plan, Disclosure Statement, and the Disclosure Statement
                         Order; and

                         c.     it has not submitted any other Beneficial Ballots relating to the
                         Class B4 Secured FG PCN Reinstated Claims that are inconsistent with
                         the votes set forth in this Beneficial Ballot or that, if such other Beneficial
                         Ballots were previously submitted, they either have been or are hereby
                         revoked or changed to reflect the vote set forth herein.


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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.

   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code: Telephone
   Number:

   Email Address: Date Completed:

   No fees, commissions or other remuneration will be payable to any broker, dealer or other person
   for soliciting votes on the Plan. This Beneficial Ballot is not a letter of transmittal and may not
   be used for any purpose other than to cast votes to accept or reject the Plan. Holders should not
   surrender, at this time, certificates representing their securities. The Voting Agent will not accept
   delivery of any such certificates surrendered together with this Beneficial Ballot. Moreover, this
   Beneficial Ballot shall not constitute or be deemed to be a proof of claim or equity interest or an
   assertion of a claim or equity interest.

   PLEASE COMPLETE, SIGN AND DATE THIS BENEFICIAL BALLOT AND RETURN
   IT PROMPTLY IN THE ENVELOPE PROVIDED (OR OTHERWISE FOLLOW THE
   INSTRUCTIONS OF YOUR NOMINEE).

   IF THE VOTING AGENT DOES NOT ACTUALLY RECEIVE THE MASTER BALLOT
   INCORPORATING THE VOTE CAST BY THIS BENEFICIAL BALLOT ON OR
   BEFORE THE VOTING DEADLINE (AND IF THE VOTING DEADLINE IS NOT
   EXTENDED), YOUR VOTE TRANSMITTED BY THIS BENEFICIAL BALLOT WILL
   NOT BE COUNTED TOWARD CONFIRMATION.

   IF YOU HAVE QUESTIONS REGARDING THIS BENEFICIAL BALLOT OR THE
   VOTING PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR
   ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT OR OTHER
   ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT (A) BY
   WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
   THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
   (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.



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                                          Exhibit A

   Please check one box below to indicate the CUSIP/ISIN to which this Beneficial Ballot
   pertains (or clearly indicate such information directly on the Beneficial Ballot or on a
   schedule thereto):

                          Class B4 Secured FG PCN Reinstated Claims


               4.25% Adjustable Revenue Bonds Due 10/1/2047     CUSIP 074876HP1 / ISIN
                                                                US074876HP18

                4.25% Adjustable Revenue Bonds Due 8/1/2029     CUSIP 677525VZ7 / ISIN
                                                                US677525VZ70

               5.625% Adjustable Revenue Bonds Due 6/1/2018     CUSIP 677525TF4 / ISIN
                                                                US677525TF45




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                         CLASS B7 (FG SINGLE-BOX UNSECURED CLAIMS)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-11

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class B7 FG Single-Box Unsecured Claims
   under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in another
   Class or Classes in which you are entitled to vote, you will receive a Ballot for such other
   Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

      YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
   INDICATED THAT YOU HOLD A CLASS B7 FG SINGLE-BOX UNSECURED CLAIM
                              AS FOLLOWS:
                    DEBTOR: __________FG____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
   by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.



                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Third Party Releases;

           iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                  Convenience Claim, and follow the instructions therein;

            v.    Review Item 5, the Plan provisions relating to the ability to make an Equity
                  Election, and follow the instructions therein;

           vi.    Review and sign the certifications in Item 6;

           vii.   If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

          viii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (ET) on August 2, 2019, in one of the two manners
                  described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.



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    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

            Unique E-Ballot ID#:__________________________________________________

    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents



                                                    4


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         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.

      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no event later than July 5,
         2019 at 4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request
         Motion Deadline”). All objections and responses to Temporary Allowance Request
         Motions must be filed and served on or before July 19, 2019. A claimant may file a reply
         to any objection or response to its motion on or before July 22, 2019. Any order
         temporarily allowing such claims must be entered on or before August 9, 2019 or as
         otherwise ordered by the Court. Temporary Allowance Request Motions must adhere to
         the requirements set forth in the Disclosure Statement Order to be considered by the
         Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.




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                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class B7 FG Single-Box Unsecured
   Claim under the Plan in the amount of __________________________.

   ITEM 2.       VOTE.

   The Holder of the Class B7 FG Single-Box Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

   PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
   BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
   COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
   SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
   ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
   REJECT THE PLAN YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or

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  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party, and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-

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  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,    dissemination,      implementation,     administration,      Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.       OPTIONAL ELECTION TO BE TREATED AS A CLASS B9 CONVENIENCE CLAIM.

   By checking the box below, regardless of the amount of your Class B7 FG Single-Box
   Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
   and to have such Claim treated as a Class B9 Convenience Claim. Holders of Allowed
   Convenience Claims in Class B9 shall receive a distribution in Cash equal to 22% of the Allowed
   Convenience Claim. If you elect to have such Claim treated as a Class B9 Convenience Claim
   you, will be giving up the distribution amount for Class B7 FG Single-Box Unsecured Claims
   calculated on the full amount of your Claim.

                                                
                          The undersigned elects to have its Class B7 FG
                         Single-Box Unsecured Claim identified in Item 1
                          treated as a Class B9 Convenience Claim and
                            acknowledges that any valid Claim will be
                         Allowed in an amount not to exceed $1,000,000.

                                                  8


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   ITEM 5.        OPTIONAL EQUITY ELECTION FOR HOLDERS OF GENERAL UNSECURED CLAIMS.

   Holders of General Unsecured Claims may be eligible to elect to receive New Common Stock,
   rather than Cash, in satisfaction of their Claim (an “Equity Election”) under the Plan. The date
   of record for purposes of making an Equity Election is January 23, 2019 or such later date as
   may be agreed to by the Debtors with the consent of the Requisite Supporting Parties and the
   Committee (the “Equity Election Record Date”). All Holders of General Unsecured Claims
   wishing to make an Equity Election with respect to an eligible Claim are required to certify on
   their Ballots that they (i) were the beneficial holder of such Claim as of the applicable Equity
   Election Record Date and have not sold, transferred, or provided a participation in such Claim, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date or (ii)
   are otherwise a party to the Restructuring Support Agreement and the beneficial holder of such
   Claim and such Claim was subject to the Restructuring Support Agreement as of the applicable
   Equity Election Record Date.

   Any Holder of a General Unsecured Claim who is not party to the restructuring support
   agreement entered into by the Debtors and certain other parties on January 23, 2019 (the
   “Restructuring Support Agreement”) who sells its claim after the Equity Election Record
   Date will not be permitted to make an Equity Election under the Plan. Further, any buyer
   of a General Unsecured Claim, which Claim is not subject to the Restructuring Support
   Agreement as of the Equity Election Record Date will not be entitled to make an Equity
   Election under the Plan and will only be permitted to receive an equivalent cash
   distribution on account of such General Unsecured Claim.

   By checking the box below, you elect to receive New Common Stock rather than Cash in
   satisfaction of your Class B7 FG Single-Box Unsecured Claim identified in Item 1.

                                                 
                          The undersigned elects to receive its distribution
                             on account of its Class B7 FG Single-Box
                           Unsecured Claim identified in Item 1 in New
                                         Common Stock.

   By checking the box below, you acknowledge that you (i) were the beneficial holder of the Class
   B7 FG Single-Box Unsecured Claim identified in Item 1 as of the Equity Election Record Date,
   which was January 23, 2019, or such later date as agreed to by the Debtors with the consent of
   the Requisite Supporting Parties and the Committee, and you have not sold, transferred, or
   provided a participation in the Class B7 FG Single-Box Unsecured Claim identified in Item 1, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date, or
   (ii) are otherwise a party to the Restructuring Support Agreement and the beneficial holder of the
   Class B7 FG Single-Box Unsecured Claim identified in Item 1 and the Class B7 FG Single-Box
   Unsecured Claim identified in Item 1 was subject to the Restructuring Support Agreement as of
   the applicable Equity Election Record Date.




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                                                   
                          The undersigned acknowledges that (i) it was the
                           beneficial holder of the Class B7 FG Single-Box
                            Unsecured Claim identified in Item 1 as of the
                          Equity Election Record Date, which was January
                            23, 2019, or such later date as agreed to by the
                              Debtors with the consent of the Requisite
                          Supporting Parties and the Committee and it has
                          not sold, transferred or provided a participation
                          in the Class B7 FG Single-Box Unsecured Claim
                             identified in Item 1, or directly or implicitly
                           agreed to do so following the applicable Equity
                             Election Record Date, or (ii) it is otherwise a
                           party to the Restructuring Support Agreement
                             and the beneficial holder of the Class B7 FG
                          Single-Box Unsecured Claim identified in Item 1
                             and the Class B7 FG Single-Box Unsecured
                             Claim identified in Item 1 was subject to the
                             Restructuring Support Agreement as of the
                               applicable Equity Election Record Date.

   ITEM 6.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. if the Holder made an Equity Election in Item 5, the acknowledgement made
                     in Item 5 is true, accurate, and complete;

                  c. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  d. it has the full power to vote to accept or reject the Plan; and

                  e. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
   In re:                                                            )
                                                                     )     Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                     )
                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )


           MASTER BALLOT FOR ACCEPTING OR REJECTING THE FIFTH
       AMENDED JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
         CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                        VOTING NOMINEE FOR BENEFICIAL OWNERS OF
                             CLASS C3 SECURED NG PCN CLAIMS


   THIS MASTER BALLOT (THE “MASTER BALLOT”) MUST BE COMPLETED AND
   (I) IF EMAILED, SUBMITTED TO PRIME CLERK LLC (THE “VOTING AGENT”)
   VIA THE EMAIL ADDRESS PROVIDED FOR HEREIN, OR (II) IF CAST IN PAPER
   FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED BY THE VOTING
   AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER CASE BY 4:00
   P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE “VOTING
   DEADLINE”) OR THE VOTE OF THE BENEFICIAL OWNERS (DEFINED BELOW)
   FOR WHOM YOU ACT AS NOMINEE (DEFINED BELOW) WILL NOT BE
   COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE
   THAT THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE
   THE VOTING DEADLINE.




   1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.


                                                                                                              Ex-12

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            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Master
   Ballot (the “Solicitation Package”). The Court’s approval of the Disclosure Statement does not
   indicate approval of the Plan by the Court.

          You are receiving this Master Ballot because you are the broker, bank or other nominee,
   or the agent of a broker, bank or other nominee (each of the foregoing, a “Nominee”) of a
   Beneficial Owner of the Class C3 Secured NG PCN Claims indicated on Exhibit A hereto as of
   May 20, 2019 (the “Voting Record Date”).

          This Master Ballot is to be used by you as the Nominee for certain Beneficial Owners of
   Class C3 Secured NG PCN Claims indicated on Exhibit A hereto, to transmit to the Voting
   Agent the votes of such Beneficial Owners3 in respect of their Claims to accept or reject the Plan
   in accordance with their ballots (each, a “Beneficial Ballot”).

          The votes transmitted on this Master Ballot for Beneficial Owners of the Class C3
   Secured NG PCN Claims indicated on Exhibit A hereto shall be applied to each Debtor
   against whom such Beneficial Owners have a Claim.

            As a Nominee, you are required to immediately deliver a Solicitation Package, including
   a Beneficial Ballot, to each Beneficial Owner for whom you hold Class C3 Secured NG PCN
   Claims and take any action required to enable such Beneficial Owner to timely vote its Class C3
   Secured NG PCN Claims to accept or reject the Plan. You should include in each solicitation
   package a return envelope addressed to you (and not include a return envelope addressed to the
   Voting Agent) unless you choose to pre-validate such Beneficial Ballot, in which case the
   Solicitation Package should include a return envelope addressed only to the Voting Agent. With
   respect to any Beneficial Ballots returned to you, you must (i) execute this Master Ballot so as to
   reflect the voting instructions given to you in the Beneficial Ballots by the Beneficial Owners for
   whom you hold Class C3 Secured NG PCN Claims and (ii) forward this Master Ballot to the
   Voting Agent in accordance with the instructions accompanying this Master Ballot.


   2
    All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.
   3
    A “Beneficial Owner” means a beneficial owner of publicly traded securities whose Claims have not been satisfied
   prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected in the records
   maintained by the Nominees.

                                                            2


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           The Disclosure Statement, which describes rights under the Plan, was included in the
   Solicitation Package you are receiving with this Master Ballot (as well as the Plan, Disclosure
   Statement Order and certain other materials. If you need to obtain additional copies of the Plan,
   the Disclosure Statement, or other Solicitation Materials, you may obtain free copies (a) at the
   dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

                                    VOTING INSTRUCTIONS

   1.     Capitalized terms used in the Master Ballot or in these instructions but not otherwise
          defined therein or herein shall have the meanings ascribed in the Plan, the Disclosure
          Statement, or the Disclosure Statement Order, as applicable, copies of which also
          accompany the Master Ballot.

   2.     You should immediately distribute Solicitation Package(s), including Beneficial Ballots,
          to each Beneficial Owner (or intermediary nominees, if applicable) of Class C3 Secured
          NG PCN Claims, and take any action required to enable each such Beneficial Owner to
          timely vote such Claims.

   3.     If you are both the record holder and the Beneficial Owner of any principal amount of the
          Class C3 Secured NG PCN Claims and you wish to vote any such Claims on account
          thereof, you may complete and execute either an individual Beneficial Ballot or a Master
          Ballot and return the same to the Voting Agent in accordance with these instructions.

   4.     If you are transmitting the votes of any Beneficial Owners other than yourself, you may,
          at your option, elect to pre-validate the Beneficial Ballots sent to you by the Voting
          Agent. Based on your decision as to whether or not to pre-validate Beneficial Owners
          Ballots, the instructions in either paragraph (5) or paragraph (6) apply (but not both).

   5.     PRE-VALIDATED BENEFICIAL BALLOTS:                       A Nominee “pre-validates” a
          Beneficial Ballot by indicating thereon the Beneficial Owner of the Class C3 Secured NG
          PCN Claims to be voted the amount of the Class C3 Secured NG PCN Claims held by the
          Beneficial Owner and the appropriate account numbers through which the Beneficial
          Owner’s holdings are derived and executing the Beneficial Ballot. If you choose to pre-
          validate individual Beneficial Ballots, you must immediately: (a) “pre-validate” the
          individual Beneficial Ballot contained in the Solicitation Package sent to you by the
          Voting Agent, and (b) forward the Solicitation Package to the Beneficial Owner for
          voting, including:

                 (i)     the pre-validated Beneficial Ballot;

                 (ii)   a return envelope addressed to the Voting Agent as follows: FirstEnergy
                 Solutions Corp. Ballot Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd
                 Floor, New York, NY 10022; and


                                                   3


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               (iii) clear instructions stating that Beneficial Owners must return their pre-
               validated Beneficial Ballot directly to the Voting Agent so that it is actually
               received by the Voting Agent on or before the Voting Deadline, which is 4:00
               p.m. (prevailing Eastern Time) on August 2, 2019.

   6.   NON PRE-VALIDATED BENEFICIAL BALLOTS: If you do NOT choose to pre-
        validate individual Beneficial Ballots, you must:

        (i)     immediately forward the Solicitation Package(s) sent to you by the Voting Agent
        to each Beneficial Owner for voting, including: (a) the Beneficial Ballot; (b) a return
        envelope addressed to the Nominee; and (c) clear instructions stating that Beneficial
        Owners must return their Beneficial Ballot directly to the Nominee so that it is actually
        received by the Nominee on or before that date (“Return Date”) calculated by the
        Nominee so as to afford the Nominee with enough time to prepare the Master Ballot and
        return the Master Ballot to the Voting Agent so it is actually received by the Voting
        Agent on or before the Voting Deadline, which Return Date the Nominee must also insert
        in the blank on the first page of the Beneficial Ballot before transmitting it to the
        Beneficial Owner; and

        (ii)   upon receipt of completed and executed Beneficial Ballots returned to you by a
        Beneficial Owner (or intermediary nominee), you must:

               a.      compile and validate the votes and other relevant information of each such
               Beneficial Owner on the Master Ballot using the customer account number or
               other identification number assigned by you or an intermediary nominee to each
               such Beneficial Owner;

               b.     execute the Master Ballot;

               c.     transmit such Master Ballot so as to be actually received by the Voting
               Agent by the Voting Deadline; and

               d.      retain such Beneficial Ballots in your files for a period of one year after
               the Effective Date of the Plan (as you may be ordered to produce the Beneficial
               Ballots to the Debtors or the Court).

   7.   If a Master Ballot is received after the Voting Deadline and if the Voting Deadline is not
        extended, it will not be counted. Additionally, the following Master Ballots (and
        therefore Beneficial Ballots) will NOT be counted:

               (i)    Master Ballots sent to any of the Debtors, the Debtors’ agents (other than
               the Voting Agent), any indenture trustee or the Debtors’ financial or legal
               advisors;

               (ii)   Master Ballots sent by facsimile or any other electronic means not
               expressly provided for herein;



                                                4


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                (iii) any Master Ballot that is illegible or contains insufficient information to
                permit the identification of the Beneficial Owner of the Claim;

                (iv)     any Master Ballot cast by an entity that does not hold a Claim in a Class
                that is entitled to vote on the Plan;

                (v)     any unsigned Master Ballot;

                (vi)   any Master Ballot not marked to accept or reject the Plan or the portion of
                any Master Ballot that is marked, with respect to a single account number, both to
                accept and reject the Plan; and/or

                (vii) any Master Ballot submitted by any entity not entitled to vote pursuant to
                the Disclosure Statement Order.

   8.    Any Ballot returned to you by a Beneficial Owner of a Claim or intermediary nominee
         shall not be counted for purposes of accepting or rejecting the Plan until you properly
         complete and deliver to the Voting Agent a Master Ballot that reflects the vote of such
         Beneficial Owners or intermediary nominees by the Voting Deadline or otherwise
         validate the Beneficial Ballot in a manner acceptable to the Voting Agent.

   9.    The method of delivery of Master Ballots to the Voting Agent is at the election and risk
         of each Nominee. Except as otherwise provided herein, such delivery will be deemed
         made only when the Voting Agent actually receives the originally executed Master
         Ballot. Instead of effecting delivery by first-class mail, it is recommended, though not
         required, that Nominees use an overnight or hand delivery service. Facsimile or other
         electronic transmissions of this Master Ballot not expressly provided for herein will not
         be accepted. In all cases, Nominees should allow sufficient time to assure timely delivery.

   10.   If multiple Master Ballots are received from the same Nominee with respect to the same
         Beneficial Ballot belonging to a Beneficial Owner of a Claim prior to the Voting
         Deadline, the last valid Master Ballot timely received will supersede and revoke any
         earlier received Master Ballots.

   11.   The Master Ballot is not a letter of transmittal and may not be used for any purpose other
         than to vote to accept or reject the Plan and make certifications with respect to the
         Beneficial Ballots. Accordingly, at this time, holders of Claims should not surrender
         certificates or instruments representing their Claims and you should not accept delivery
         of any such certificates or instruments surrendered together with a Beneficial Ballot.

   12.   This Master Ballot does not constitute, and shall not be deemed to be, (a) a proof of claim
         or (b) an assertion or admission of a Claim.

   13.   Please be sure to properly execute your Master Ballot. You must: (a) sign and date your
         Master Ballot; (b) if applicable, indicate that you are signing a Master Ballot in your
         capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a
         corporation or otherwise acting in a fiduciary or representative capacity and, if required
         or requested by the Voting Agent, the Debtors or the Court, submit proper evidence to the

                                                  5


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         requesting party to so act on behalf of such Beneficial Owner; and (c) provide your name
         and mailing address if it is different from that set forth on the attached mailing label or if
         no such mailing label is attached to the Master Ballot.

   14.   No fees or commissions or other remuneration will be payable to any Nominee for
         soliciting Beneficial Ballots accepting the Plan. The Debtors will however, upon written
         request, reimburse you for reasonable and customary mailing and handling expenses
         incurred by you in forwarding the Beneficial Ballots and other enclosed materials to your
         customers.

   IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR THE
   VOTING PROCEDURES, PLEASE CONTACT THE VOTING AGENT (A) BY
   WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
   THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
   (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.

   PLEASE NOTE THAT THE VOTING AGENT IS NOT AUTHORIZED TO, AND WILL
   NOT, PROVIDE LEGAL ADVICE.

          If the Voting Agent does not actually receive this Master Ballot on or before
         the Voting Deadline, and if the Voting Deadline is not extended, the Beneficial
                     Owners’ votes transmitted hereby will not be counted.




                                                   6


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                        ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.        Claim Amount for Voting Purposes.

   The undersigned certifies that as of the Voting Record Date, the undersigned (please check the
   applicable box):

       is a Nominee for the Beneficial Owners of the aggregate amount of the Class C3 Secured
        NG PCN Claims listed in Item 2 below and is the registered holder of the Class C3
        Secured NG PCN Claims represented by any such Claims;

       is acting under a power of attorney and/or agency agreement (a copy of which will be
        provided upon request) granted by a Nominee that is the registered holder of the
        aggregate amount of the Class C3 Secured NG PCN Claims listed in Item 2 below; or

       has been granted a proxy (an original of which is annexed hereto) from (a) a Nominee or
        (b) a Beneficial Owner, that is the registered holder of the aggregate amount of the Class
        C3 Secured NG PCN Claims listed in Item 2 below and, accordingly, has full power and
        authority to vote to accept or reject the Plan on behalf of the Beneficial Owners of the
        Class C3 Secured NG PCN Claims described in Item 2 below.

   ITEM 2.        Vote with Respect to the Class C3 Secured NG PCN Claims.

   Number of Beneficial Owners: The undersigned transmits the following votes of Beneficial
   Owners in respect of their Class C3 Secured NG PCN Claims indicated on Exhibit A hereto and
   certifies that the following Beneficial Owners of such Claims, as identified by their respective
   customer account numbers set forth below, are the Beneficial Owners of such Claims as of the
   Voting Record Date and have delivered to the undersigned, as Nominee, properly executed
   Beneficial Ballots casting such votes as indicated and containing instructions for the casting of
   those votes on their behalf.

   To Properly Complete the Following Table: Indicate in the appropriate column below the
   aggregate principal amount voted for each account. Please use additional sheets of paper if
   necessary and, if possible, attach such information to this Master Ballot in the form of the
   following table. PLEASE NOTE: (i) each account of a Beneficial Owner must vote all such
   Beneficial Owner’s Class C3 Secured NG PCN Claims to accept or reject the Plan and may not
   split such vote; and (ii) any Beneficial Ballot executed by the Beneficial Owner that does not
   indicate an acceptance or rejection of the Plan or that indicates both an acceptance and a
   rejection should not be counted as either an acceptance or a rejection of the Plan.

 Your Customer         Principal Amount
                                              ACCEPT THE                        REJECT THE
    Account            Held as of Voting
                                                 PLAN                              PLAN
Number for Each          Record Date
   Beneficial

                                                  7


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     Owner of Class C3
     Secured NG PCN
          Claims

1.                          $                     �                    OR           �

2.                          $                     �                    OR           �

3.                          $                     �                    OR           �

4.                          $                     �                    OR           �

5.                          $                     �                    OR           �

6.                          $                     �                    OR           �

7.                          $                     �                    OR           �

8.                          $                     �                    OR           �

9.                          $                     �                    OR           �

10.                         $                     �                    OR           �

TOTALS:                     $



        ITEM 3.        IMPORTANT INFORMATION REGARDING CONSENSUAL THIRD PARTY RELEASES.

                 The Plan contains Consensual Third Party Releases of claims and Causes of Action
        against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
        Parties.

        ALL HOLDERS OF A CLAIM OR INTEREST THAT (I) VOTE TO ACCEPT THE PLAN
        OR (II) ARE DEEMED TO HAVE ACCEPTED THE PLAN, SHALL BE DEEMED TO
        HAVE GRANTED THE CONSENSUAL THIRD PARTY RELEASES.

        HOLDERS OF A CLAIM OR INTEREST THAT (I) VOTE TO REJECT THE PLAN OR
        (II) ARE ENTITLED TO VOTE AND FAIL TO SUBMIT A BALLOT SHALL NOT BE
        DEEMED TO HAVE GRANTED THE CONSENSUAL THIRD PARTY RELEASES.

        Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

                                                        8


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  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, the each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan, shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,

                                                 9


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  the FE Non-Debtor Released Parties, and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.


   ITEM 4.       CERTIFICATIONS AS TO TRANSCRIPTION OF INFORMATION FROM ITEM 4 OF THE
                 BENEFICIAL BALLOTS AS TO CLASS C3 SECURED NG PCN CLAIMS VOTED
                 THROUGH OTHER BENEFICIAL BALLOTS

           The undersigned certifies that the undersigned has transcribed in the following table the
   information, if any, provided by Beneficial Owners in Item 4 of each of the Beneficial Owner’s
   original Beneficial Ballots, identifying any Class C3 Secured NG PCN Claims for which such
   Beneficial Owners have submitted other Beneficial Ballots (e.g., to other voting nominees) other
   than to the undersigned:


                                                  10


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   Your Customer         TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL BALLOTS:
   Account
   Number for             Account           Name of        CUSIP Number or       Principal Amount
   Each Beneficial        Number            Holder         Description of        of Other Class C3
   Owner Who                                               Other Class C3        Secured NG PCN
   Completed Item                                          Secured NG PCN        Claims Voted
   4 of the                                                Claims Voted
   Beneficial
   Ballots

   1.                                                                            $

   2.                                                                            $

   3.                                                                            $

   4.                                                                            $

   5.                                                                            $

   6.                                                                            $

   7.                                                                            $

   8.                                                                            $

   9.                                                                            $

   10.                                                                           $


   ITEM 5.        CERTIFICATION.

   By signing this Master Ballot, the undersigned certifies that:

           1.      it has received a copy of the Disclosure Statement, the Beneficial Ballots and the
   Solicitation Package and has delivered the same to the Beneficial Owners listed on the Beneficial
   Ballots or to any intermediary nominee, as applicable;

         2.       it has received a completed and signed Beneficial Ballot from each Beneficial
   Owner listed in Item 2 of this Master Ballot or from an intermediary nominee, as applicable;

        3.     as of the Voting Record Date it is the registered holder of the Class C3 Secured
   NG PCN Claims being voted, or an agent therefor;

          4.       it has been authorized by each such Beneficial Owner or intermediary nominee, as
   applicable, to vote on the Plan and to make applicable elections;

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          5.      it has properly disclosed:

                  (i)     the number of Beneficial Owners who completed Beneficial Ballots;

                  (ii)    the respective amounts of the Class C3 Secured NG PCN Claims held as
                  of the Voting Record Date by each Beneficial Owner who completed a Beneficial
                  Ballot;

                  (iii)   each such Beneficial Owner’s respective vote concerning the Plan;

                  (iv) each such Beneficial Owner’s certification as to other Class C3 Secured
                  NG PCN Claims voted; and

                  (v)    the customer account or other identification number for each such
                  Beneficial Owner as of the Voting Record Date;

         6.      each such Beneficial Owner has certified to the undersigned or to an intermediary
   nominee, as applicable, that it is eligible to vote on the Plan; and

           7.      it will maintain Beneficial Ballots and evidence of separate transactions returned
   by Beneficial Owners or by intermediary nominees (whether properly completed or defective)
   for at least one year after the Voting Deadline and disclose all such information to the Court or
   the Debtors, as the case may be, if so ordered.




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   Name of Nominee:
                                                        (Print or Type)

   Participant Number:
  Name of Proxy Holder or Agent for
  Nominee:
                                                                 (Print or Type)

   Social Security or Federal Tax Identification
   Number:


   Signature:
   Name of Signatory:
                           (If other than Nominee)

   Title:
   Address:




   Date Completed:


   No fees, commissions or other remuneration will be payable to any broker, dealer or other person
   for soliciting votes on the Plan. The Debtors will however, upon written request, reimburse you
   for customary mailing and handling expenses incurred by you in forwarding the Beneficial
   Ballots and other enclosed materials to your customers. This Master Ballot is not a letter of
   transmittal and may not be used for any purpose other than to cast votes to accept or reject the
   Plan. Holders should not surrender, at this time, certificates representing their securities. The
   Voting Agent will not accept delivery of any such certificates surrendered together with this
   Master Ballot. Moreover, this Master Ballot shall not constitute or be deemed to be a proof of
   claim or equity interest or an assertion of a claim or equity interest.




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             PLEASE RETURN YOUR MASTER BALLOT PROMPTLY

                             If Submitting Your Vote through the E-Mail

   The Voting Agent will accept Master Ballots from Nominees and their agents through email if
   properly completed and submitted via email at fesballots@primeclerk.com




          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Master Ballot is not received by the Voting Agent on or before the Voting Deadline, and
   such Voting Deadline is not extended by the Debtors as noted above, your vote will not be
   counted.




                                                    14


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                                        Exhibit A

   Please check one box below to indicate the CUSIP/ISIN to which this Master Ballot
   pertains (or clearly indicate such information directly on the Master Ballot or on a
   schedule thereto):

                             Class C3 Secured NG PCN Claims

                4.375% Muni Revenue Bonds Due 1/1/2035      CUSIP 074876HR7 / ISIN
                                                            US074876HR73

                4.375% Muni Revenue Bonds Due 6/1/2033      CUSIP 677525WA1 / ISIN
                                                            US677525WA11

                4.375% Muni Revenue Bonds Due 6/1/2033      CUSIP 67766WXM9 / ISIN
                                                            US67766WXM99

                4.375% Muni Revenue Bonds Due 6/1/2033      CUSIP 67766WXN7 / ISIN
                                                            US67766WXN72




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                                 UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

                                                                       )     Chapter 11
   In re:                                                              )
                                                                       )     Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                               )     (Jointly Administered)
                                                                       )
                                       Debtors.                        )
                                                                       )     Hon. Judge Alan M. Koschik
                                                                       )


          BENEFICIAL BALLOT FOR ACCEPTING OR REJECTING THE FIFTH
       AMENDED JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
         CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                                       BENEFICIAL OWNER OF
                                  CLASS C3 SECURED NG PCN CLAIMS


   THIS BENEFICIAL BALLOT (THE “BENEFICIAL BALLOT”) IS TO BE USED BY
   BENEFICIAL OWNERS2 OF CLASS C3 SECURED NG PCN CLAIMS.

   IN ORDER FOR YOUR VOTE TO BE COUNTED, ALL PRE-VALIDATED
   BENEFICIAL BALLOTS (INCLUDING MASTER BALLOTS (EACH, A “MASTER
   BALLOT”) CAST ON BEHALF OF BENEFICIAL BALLOTS THAT WERE NOT PRE-
   VALIDATED) MUST BE COMPLETED, EXECUTED AND RETURNED SO AS TO BE
   ACTUALLY RECEIVED BY PRIME CLERK LLC (THE “VOTING AGENT”) ON OR
   BEFORE 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) IN ACCORDANCE WITH THE FOLLOWING:

   IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO YOUR NOMINEE:
   YOU MUST RETURN THIS BENEFICIAL BALLOT TO YOUR NOMINEE BY [●],
   2019 IN ACCORDANCE WITH THE ENCLOSED INSTRUCTIONS FROM YOUR
   NOMINEE, AND IN ANY EVENT, IN SUFFICIENT TIME TO PERMIT YOUR

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     A “Beneficial Owner” means a beneficial owner of publicly traded securities whose Claims have not been
   satisfied prior to the Voting Record Date (as defined herein) pursuant to Court order or otherwise, as reflected in the
   records maintained by such owner’s broker, bank or other nominee, or the agent of a broker, bank or other nominee
   (each of the foregoing, a “Nominee”).


                                                                                                                  Ex-13

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   NOMINEE TO DELIVER A MASTER BALLOT INCLUDING YOUR VOTE TO THE
   VOTING AGENT BY THE VOTING DEADLINE. PLEASE CONTACT YOUR
   NOMINEE WITH ANY QUESTIONS REGARDING THE DATE IT NEEDS TO
   RECEIVE YOUR BENEFICIAL BALLOT TO TIMELY SUBMIT THE MASTER
   BALLOT TO THE VOTING AGENT.

   IF YOU RECEIVED A RETURN ENVELOPE ADDRESSED TO THE VOTING
   AGENT:
   YOUR NOMINEE HAS PRE-VALIDATED THIS BENEFICIAL BALLOT.
   THEREFORE, YOU MUST RETURN THIS PRE-VALIDATED BENEFICIAL BALLOT
   DIRECTLY TO THE VOTING AGENT SO IT IS ACTUALLY RECEIVED BY THE
   VOTING DEADLINE.

   DO NOT MAIL OR RETURN BALLOTS DIRECTLY TO THE ABOVE CAPTIONED
   DEBTORS AND DEBTORS IN POSSESSION (THE “DEBTORS”) OR THE UNITED
   STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF OHIO (THE
   “COURT”).

           The Debtors are soliciting votes with respect to the Fifth Amended Joint Plan of
   Reorganization of FirstEnergy Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy
   Code [Docket No. ●] (as the same may be amended, modified, and/or supplemented, including
   all exhibits or supplements thereto, including the Plan Supplement, the “Plan”) from the Holders
   of certain Impaired Claims against the Debtors.3 On [●], 2019, the Court signed an order (the
   “Disclosure Statement Order”) [Docket No. ●] which approved the Disclosure Statement for
   the Fifth Amended Joint Plan of Reorganization FirstEnergy Solutions Corp., et. al., Pursuant to
   Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the same may be amended, modified,
   and/or supplemented, including all exhibits thereto, the “Disclosure Statement”) and which
   establishes certain procedures for the solicitation and tabulation of votes to accept or reject the
   Plan. The Plan is attached as Exhibit B to the Disclosure Statement, which is part of the package
   of materials that accompanies this Ballot (the “Solicitation Package”). The Court’s approval of
   the Disclosure Statement does not indicate approval of the Plan by the Court.

            You are receiving this Beneficial Ballot for Beneficial Owners because you are a
   Beneficial Owner of the Class C3 Secured NG PCN Claims indicated on Exhibit A hereto as of
   May 20, 2019 (the “Voting Record Date”). Accordingly, you have a right to vote to accept or
   reject the Plan.

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.

   3
       All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.

                                                               2


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   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each Voting Class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

     ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION, INJUNCTION
    PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
       VIII.E. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
    CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH
                      RESPECT TO THE THIRD PARTY RELEASES.

                                     VOTING INSTRUCTIONS

   1.     Capitalized terms used in the Ballot or in these instructions but not otherwise defined
          therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
          or the Disclosure Statement Order, as applicable, copies of which also accompany the
          Ballot.

   2.     To ensure that your vote is counted, you must: (a) complete your Beneficial Ballot in
          accordance with these instructions; (b) clearly indicate your decision either to accept or
          reject the Plan in the boxes provided in Item 2 of the Beneficial Ballot; (c) review the
          Plan provisions relating to the Consensual Third Party Releases; (d) review and complete
          Items 4 and 5 in accordance with the instructions therein; and (e) clearly sign and return
          an original of your Beneficial Ballot to the address set forth on the enclosed pre-
          addressed envelope.

   3.     Return of Beneficial Ballots: Your Beneficial Ballot (if pre-validated) and/or the Master
          Ballot incorporating the vote cast on your Beneficial Ballot MUST be returned to the
          Voting Agent so as to be actually received by the Voting Agent on or before the Voting
          Deadline, which is August 2, 2019, at 4:00 p.m. (prevailing Eastern Time). To ensure
          your vote is counted toward confirmation of the Plan, please read the following
          information carefully so that you understand where your Beneficial Ballot must be sent in
          order for it to be received before the Voting Deadline:

          (i)     Pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a return
                  envelope addressed to the Voting Agent, you must return your completed


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                Beneficial Ballot directly to the Voting Agent so that it is actually received by
                the Voting Agent on or before the Voting Deadline.

        (ii)    Not pre-validated Beneficial Ballot: If you received a Beneficial Ballot and a
                return envelope addressed to your Nominee, you must return your completed
                Beneficial Ballot directly to your Nominee so as to be actually received by [●],
                2019 to allow sufficient time to permit your Nominee to deliver a Master Ballot
                including your vote to the Voting Agent by the Voting Deadline.

   4.   If a Master Ballot or pre-validated Beneficial Ballot is received after the Voting Deadline
        and if the Voting Deadline is not extended, it will not be counted. Additionally, the
        following Beneficial Ballots will NOT be counted:

        (i)     Beneficial Ballots sent to any of the Debtors, the Debtors’ agents (other than the
                pre-validated Beneficial Ballots sent to the Voting Agent), any indenture trustee
                or the Debtors’ financial or legal advisors;

        (ii)    Beneficial Ballots sent by facsimile, e-mail or any other electronic means not
                expressly provided for herein;

        (iii)   any Beneficial Ballot that is illegible or contains insufficient information to
                permit the identification of the holder of the Claim;

        (iv)    any Beneficial Ballot cast by an entity that does not hold a Claim in a Class that is
                entitled to vote on the Plan;

        (v)     any unsigned Beneficial Ballot; and/or

        (vi)    any Beneficial Ballot submitted by any entity not entitled to vote pursuant to the
                Disclosure Statement Order.

   5.   Beneficial Ballots that indicate both acceptance and rejection of the Plan or indicate
        neither an acceptance nor rejection of the Plan will not be counted.

   6.   The method of delivery of Beneficial Ballots to the Voting Agent or your Nominee is at
        the election and risk of each holder of a Claim. Except as otherwise provided herein, such
        delivery will be deemed made only when the Voting Agent actually receives the
        originally executed Beneficial Ballot or Master Ballot incorporating the Beneficial Ballot.
        Instead of effecting delivery by first-class mail, it is recommended, though not required,
        that holders use an overnight or hand delivery service. In all cases, holders should allow
        sufficient time to assure timely delivery.

   7.   If multiple Beneficial Ballots are received from the same holder of a Class C3 Secured
        NG PCN Claim with respect to the same Class C3 Secured NG PCN Claim prior to the
        Voting Deadline, the last valid Beneficial Ballot timely received will supersede and
        revoke any earlier received Beneficial Ballots.



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   8.    If you believe you received the wrong Ballot, or if you need additional Ballots, please
         immediately contact the Voting Agent.

   9.    If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions
         must be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

   10.   This Beneficial Ballot does not constitute, and shall not be deemed to be, a proof of claim
         or an assertion or admission of a Claim.

   11.   If you hold Claims in another Class or Classes in which you are entitled to vote, you will
         receive a Ballot for such other Class(es). Each ballot votes only your Claims indicated on
         that ballot. Please complete and return each ballot you receive.

   12.   Please be sure to properly sign and date your Beneficial Ballot. If you are signing a
         Beneficial Ballot in your capacity as a trustee, executor, administrator, guardian, attorney
         in fact, officer of a corporation or otherwise acting in a fiduciary or representative
         capacity, you must indicate such capacity when signing and, if required or requested by
         the Voting Agent, the Debtors or the Court, must submit proper evidence to the
         requesting party to so act on behalf of such holder. In addition, please provide your name
         and mailing address if it is different from that set forth on the attached mailing label or if
         no such mailing label is attached to the Beneficial Ballot.

   IF YOU HAVE ANY QUESTIONS REGARDING THE BENEFICIAL BALLOT OR THE
   PROCEDURES GENERALLY, OR IF YOU NEED ADDITIONAL COPIES OF THE
   BENEFICIAL BALLOT OR OTHER SOLICITATION MATERIALS, PLEASE
   CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY SOLUTIONS
   CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR, NEW YORK,
   NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM. PLEASE NOTE THAT THE VOTING AGENT
   IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE LEGAL ADVICE.

   THIS BENEFICIAL BALLOT IS TO BE USED BY BENEFICIAL OWNERS OF CLASS
   C3 SECURED NG PCN CLAIMS. PLEASE COMPLETE, SIGN AND DATE THIS
   BENEFICIAL BALLOT AND RETURN IT IN THE ENCLOSED ENVELOPE (OR
   OTHERWISE FOLLOW THE INSTRUCTIONS OF YOUR NOMINEE) PROMPTLY.



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                        ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned hereby certifies that as of the Voting Record Date, the undersigned was the
   Beneficial Owner of the Class C3 Secured NG PCN Claims indicated on Exhibit A hereto in the
   following aggregate unpaid principal amount (insert amount in box below, unless otherwise
   completed by your Nominee):

                         Claim Amount:$ ___________________

   ITEM 2.       VOTE.

   The Beneficial Owner of the Class C3 Secured NG PCN Claims, the aggregate amount of which
   is set forth in Item 1, votes to (please check only one):

                ACCEPT the Plan.                     REJECT the Plan.

   PLEASE NOTE: (i) Each Beneficial Owner must vote all such Beneficial Owner’s Class C3
   Secured NG PCN Claims to accept or reject the Plan and may not split such vote; and (ii)
   any Beneficial Ballot executed by a Beneficial Owner that does not indicate an acceptance
   or rejection of the Plan or that indicates both an acceptance and a rejection should not be
   counted as either an acceptance or a rejection of the Plan.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN, YOU WILL BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO
   SUBMIT A BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT
   ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO
   REJECT THE PLAN, YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released

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  Parties, the FE Non-Debtor Released Parties, and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, the each Holders of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties, and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
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  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.




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   ITEM 4.        CERTIFICATIONS AS TO CLASS C3 SECURED NG PCN CLAIMS.

   By completing and returning this Beneficial Ballot, the undersigned Beneficial Owner certifies
   that either (i) it has not submitted any other Beneficial Ballots for other Class C3 Secured NG
   PCN Claims held in other accounts or other record names or (ii) it has provided the information
   specified in the following table for all other Class C3 Secured NG PCN Claims for which it has
   submitted additional Beneficial Ballots, each of which indicates the same vote to accept or reject
   the Plan (please use additional sheets of paper if necessary):

   ONLY COMPLETE THIS SECTION IF YOU HAVE VOTED OTHER CLASS C3 SECURED
   NG PCN CLAIMS ON A BENEFICIAL BALLOT OTHER THAN THIS BENEFICIAL
   BALLOT.

                                    Name of Registered             Principal Amount of Other
   Account Number with other
                                    Holder or Other                Class C3 Secured NG PCN
     Nominee (if applicable)
                                    Nominee (if applicable)        Claims Voted
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $
                                                                   $

   ITEM 5.        CERTIFICATION.

   By signing this Beneficial Ballot, the Beneficial Owner of Class C3 Secured NG PCN Claims
   certifies that:

                         a.      as of the Voting Record Date it is the Beneficial Owner of the
                         Class C3 Secured NG PCN Claims to which this Beneficial Ballot
                         pertains;

                         b.      it has been provided with a copy of the Plan, Disclosure Statement
                         and the Disclosure Statement Order and acknowledges that the vote set
                         forth on this Beneficial Ballot is subject to all the terms and conditions set
                         forth in the Plan, Disclosure Statement, and the Disclosure Statement
                         Order; and

                         c.     it has not submitted any other Ballots relating to the Class C3
                         Secured NG PCN Claims that are inconsistent with the votes as set forth in
                         this Beneficial Ballot or that, as limited by the terms of the Disclosure
                         Statement Order and the instructions attached hereto, if such other ballots
                         were previously submitted, they either have been or are hereby revoked or
                         changed to reflect the vote set forth herein.

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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.

   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code: Telephone
   Number:

   Email Address: Date Completed:

   No fees, commissions or other remuneration will be payable to any broker, dealer or other person
   for soliciting votes on the Plan. This Beneficial Ballot is not a letter of transmittal and may not
   be used for any purpose other than to cast votes to accept or reject the Plan. Holders should not
   surrender, at this time, certificates representing their securities. The Voting Agent will not accept
   delivery of any such certificates surrendered together with this Beneficial Ballot. Moreover, this
   Beneficial Ballot shall not constitute or be deemed to be a proof of claim or equity interest or an
   assertion of a claim or equity interest.

   PLEASE COMPLETE, SIGN AND DATE THIS BENEFICIAL BALLOT AND RETURN
   IT PROMPTLY IN THE ENVELOPE PROVIDED (OR OTHERWISE FOLLOW THE
   INSTRUCTIONS OF YOUR NOMINEE).

   IF THE VOTING AGENT DOES NOT ACTUALLY RECEIVE THE MASTER BALLOT
   INCORPORATING THE VOTE CAST BY THIS BENEFICIAL BALLOT ON OR
   BEFORE THE VOTING DEADLINE (AND IF THE VOTING DEADLINE IS NOT
   EXTENDED), YOUR VOTE TRANSMITTED BY THIS BENEFICIAL BALLOT WILL
   NOT BE COUNTED TOWARD CONFIRMATION.

   IF YOU HAVE QUESTIONS REGARDING THIS BENEFICIAL BALLOT OR THE
   VOTING PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR
   ADDITIONAL COPIES OF THE DISCLOSURE STATEMENT OR OTHER
   ENCLOSED MATERIALS, PLEASE CONTACT THE VOTING AGENT (A) BY
   WRITING TO FIRSTENERGY SOLUTIONS CORP. C/O PRIME CLERK LLC, 830
   THIRD AVENUE, THIRD FLOOR, NEW YORK, NY 10022; (B) BY TELEPHONE AT
   (855) 934-8766; OR (C) BY EMAIL AT FESBALLOTS@PRIMECLERK.COM.



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                                          Exhibit A

   Please check one box below to indicate the CUSIP/ISIN to which this Beneficial Ballot
   pertains (or clearly indicate such information directly on the Beneficial Ballot or on a
   schedule thereto):

                              Class C3 Secured NG PCN Claims

                 4.375% Muni Revenue Bonds Due 1/1/2035        CUSIP 074876HR7 / ISIN
                                                               US074876HR73

                 4.375% Muni Revenue Bonds Due 6/1/2033        CUSIP 677525WA1 / ISIN
                                                               US677525WA11

                 4.375% Muni Revenue Bonds Due 6/1/2033        CUSIP 67766WXM9 / ISIN
                                                               US67766WXM99

                 4.375% Muni Revenue Bonds Due 6/1/2033        CUSIP 67766WXN7 / ISIN
                                                               US67766WXN72




                                             11


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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                        CLASS C6 (NG SINGLE-BOX UNSECURED CLAIMS)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-14

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class C6 NG Single-Box Unsecured Claims
   under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in another
   Class or Classes in which you are entitled to vote, you will receive a Ballot for such other
   Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

      YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
   INDICATED THAT YOU HOLD A CLASS C6 NG SINGLE-BOX UNSECURED CLAIM
                              AS FOLLOWS:
                    DEBTOR: __________NG____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


                                                   2


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.

                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                  Convenience Claim, and follow the instructions therein;

            v.    Review Item 5, the Plan provisions relating to the ability to make an Equity
                  Election, and follow the instructions therein;

           vi.    Review and sign the certifications in Item 6;

           vii.   If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

          viii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019 in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

                                                    3


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            Unique E-Ballot ID#:__________________________________________________

    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.


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      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.

      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.




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                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class C6 NG Single-Box Unsecured
   Claim under the Plan in the amount of __________________________.

   ITEM 2.       VOTE.

   The Holder of the Class C6 NG Single-Box Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
   SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
   BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
   FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
   THE PLAN IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf

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  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
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  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,    dissemination,     implementation,   administration,   Confirmation      or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.       OPTIONAL ELECTION TO BE TREATED AS A CLASS C8 CONVENIENCE CLAIM.

   By checking the box below, regardless of the amount of your Class C6 NG Single-Box
   Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
   and to have such Claim treated as a Class C8 Convenience Claim. Holders of Allowed
   Convenience Claims in Class C8 shall receive a distribution in Cash equal to 35.7% of the
   Allowed Convenience Claim. If you elect to have such Claim treated as a Class C8 Convenience
   Claim, you will be giving up the distribution amount for Class C6 NG Single-Box Unsecured
   Claims calculated on the full amount of your Claim.

                                               
                        The undersigned elects to have its Class C6 NG
                        Single-Box Unsecured Claim identified in Item 1
                         treated as a Class C8 Convenience Claim and
                           acknowledges that any valid Claim will be
                        Allowed in an amount not to exceed $1,000,000.




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   ITEM 5.        OPTIONAL EQUITY ELECTION FOR HOLDERS OF GENERAL UNSECURED CLAIMS.

   Holders of General Unsecured Claims may be eligible to elect to receive New Common Stock,
   rather than Cash, in satisfaction of their Claim (an “Equity Election”) under the Plan. The date
   of record for purposes of making an Equity Election is January 23, 2019 or such later date as
   may be agreed to by the Debtors with the consent of the Requisite Supporting Parties and the
   Committee (the “Equity Election Record Date”). All Holders of General Unsecured Claims
   wishing to make an Equity Election with respect to an eligible Claim are required to certify on
   their Ballots that they (i) were the beneficial holder of such Claim as of the applicable Equity
   Election Record Date and have not sold, transferred, or provided a participation in such Claim, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date or (ii)
   are otherwise a party to the Restructuring Support Agreement and the beneficial holder of such
   Claim and such Claim was subject to the Restructuring Support Agreement as of the applicable
   Equity Election Record Date.

   Any Holder of a General Unsecured Claim who is not party to the restructuring support
   agreement entered into by the Debtors and certain other parties on January 23, 2019 (the
   “Restructuring Support Agreement”) who sells its claim after the Equity Election Record
   Date will not be permitted to make an Equity Election under the Plan. Further, any buyer
   of a General Unsecured Claim, which Claim is not subject to the Restructuring Support
   Agreement as of the Equity Election Record Date will not be entitled to make an Equity
   Election under the Plan and will only be permitted to receive an equivalent cash
   distribution on account of such General Unsecured Claim.

   By checking the box below, you elect to receive New Common Stock rather than Cash in
   satisfaction of your Class C6 NG Single-Box Unsecured Claim identified in Item 1.

                                                 
                          The undersigned elects to receive its distribution
                             on account of its Class C6 NG Single-Box
                           Unsecured Claim identified in Item 1 in New
                                         Common Stock.

   By checking the box below, you acknowledge that you (i) were the beneficial holder of the Class
   C6 NG Single-Box Unsecured Claim identified in Item 1 as of the Equity Election Record Date,
   which was January 23, 2019, or such later date as agreed to by the Debtors with the consent of
   the Requisite Supporting Parties and the Committee, and you have not sold, transferred, or
   provided a participation in the C6 NG Single-Box Unsecured Claim identified in Item 1, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date, or
   (ii) are otherwise a party to the Restructuring Support Agreement and the beneficial holder of the
   C6 NG Single-Box Unsecured Claim identified in Item 1 and the C6 NG Single-Box Unsecured
   Claim identified in Item 1 was subject to the Restructuring Support Agreement as of the
   applicable Equity Election Record Date.




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                                                    
                          The undersigned acknowledges that (i) it was the
                          beneficial holder of the Class C6 NG Single-Box
                            Unsecured Claim identified in Item 1 as of the
                          Equity Election Record Date, which was January
                            23, 2019, or such later date as agreed to by the
                               Debtors with the consent of the Requisite
                            Supporting Parties and the Committee, and it
                                has not sold, transferred or provided a
                                 participation in the C6 NG Single-Box
                          Unsecured Claim identified in Item 1, or directly
                              or implicitly agreed to do so following the
                          applicable Equity Election Record Date, or (ii) it
                               is otherwise a party to the Restructuring
                           Support Agreement and the beneficial holder of
                               the C6 NG Single-Box Unsecured Claim
                            identified in Item 1 and the C6 NG Single-Box
                          Unsecured Claim identified in Item 1 was subject
                            to the Restructuring Support Agreement as of
                             the applicable Equity Election Record Date.

   ITEM 6.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. if the Holder made an Equity Election in Item 5, the acknowledgement made
                     in Item 5 is true, accurate, and complete;

                  c. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  d. it has the full power to vote to accept or reject the Plan; and

                  e. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


                          CLASS C7, D5 (NG-FENOC UNSECURED CLAIMS)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-15

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   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class C7, D5 NG-FENOC Unsecured Claims
   under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in another
   Class or Classes in which you are entitled to vote, you will receive a Ballot for such other
   Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

      YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
    INDICATED THAT YOU HOLD A CLASS C7, D5 NG-FENOC UNSECURED CLAIM
                              AS FOLLOWS:
                    DEBTOR: __________NG, FENOC____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY

                                                   2


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.

                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                  Convenience Claim, and follow the instructions therein;

            v.    Review Item 5, the Plan provisions relating to the ability to make an Equity
                  Election, and follow the instructions therein;

           vi.    Review and sign the certifications in Item 6;

           vii.   If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

          viii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

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            Unique E-Ballot ID#:__________________________________________________

    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, as a Holder of a Claim against multiple
         Debtors, you must vote all of your Claims either to accept or reject the Plan and may not
         vote to accept the Plan as to certain Debtors and reject the Plan as to other Debtors.
         Further, if a Holder has multiple Claims within the same Class, the Debtors may, in their
         discretion, aggregate the Claims of any particular Holder within a Class for the purpose
         of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents

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         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.

      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.




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                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class C7, D5 NG-FENOC
   Unsecured Claim under the Plan in the amount of __________________________.

   ITEM 2.       VOTE.

   The Holder of the Class C7, D5 NG-FENOC Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
   SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
   BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
   FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
   THE PLAN W, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf

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  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to accept the Plan shall be deemed
  to provide a full and complete discharge and release to the Debtor Released Parties, the FE
  Non-Debtor Released Parties and the Other Released Parties and their respective property
  from any and all Causes of Action whatsoever, whether known or unknown, asserted or
  unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter arising, in
  law, equity, or otherwise, whether for or sounding in tort, fraud, contract, violations of
  federal or state securities laws, veil piercing, substantive consolidation or alter-ego theories
  of liability, contribution, indemnification, joint or several liability, or otherwise arising from
  or related in any way to (i) the Debtors, the Reorganized Debtors, their businesses, their
  property, or any interest in the Mansfield Facility Documents; (ii) any Cause of Action
  against the FE Non-Debtor Released Parties or their property arising in connection with
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  any intercompany transactions or other matters arising in the conduct of the Debtors’
  businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation, negotiation,
  dissemination, implementation, administration, Confirmation or Consummation of the
  Plan, the Plan Supplement, any contract, employee pension or benefit plan instrument,
  release, or other agreement or document related to any Debtor, the Chapter 11 Cases or the
  Plan, modified, amended, terminated, or entered into in connection with either the Plan, or
  any agreement between the Debtors and any FE Non-Debtor Released Party, including the
  FE Settlement Agreement; or (v) any other act taken or omitted to be taken in connection
  with the Chapter 11 Cases, including, without limitation, acts or omissions occurring after
  the Effective Date in connection with distributions made consistent with the terms of the
  Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.       OPTIONAL ELECTION TO BE TREATED AS A CLASS C8, D6 CONVENIENCE CLAIM.

   By checking the box below, regardless of the amount of your Class C7, D5 NG-FENOC
   Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
   and to have such Claim treated as a Class C8, D6 Convenience Claim. Holders of Allowed
   Convenience Claims in Class C8 shall receive a distribution in Cash equal to 35.7% of the
   Allowed Convenience Claim. Holders of Allowed Convenience Claims in Class D6 shall receive
   a distribution in Cash equal to 24.0% of the Allowed Convenience Claim. If you elect to have
   such Claim treated as a Class C8, D6 Convenience Claim, you will be giving up the distribution
   amount for Class C7, D5 NG-FENOC Unsecured Claims calculated on the full amount of your
   Claim.

                                                
                         The undersigned elects to have its Class C7, D5
                         NG-FENOC Unsecured Claim identified in Item
                         1 treated as a Class C8, D6 Convenience Claim
                          and acknowledges that any valid Claim will be
                         Allowed in an amount not to exceed $1,000,000.



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   ITEM 5.        OPTIONAL EQUITY ELECTION FOR HOLDERS OF GENERAL UNSECURED CLAIMS.

   Holders of General Unsecured Claims may be eligible to elect to receive New Common Stock,
   rather than Cash, in satisfaction of their Claim (an “Equity Election”) under the Plan. The date
   of record for purposes of making an Equity Election is January 23, 2019 or such later date as
   may be agreed to by the Debtors with the consent of the Requisite Supporting Parties and the
   Committee (the “Equity Election Record Date”). All Holders of General Unsecured Claims
   wishing to make an Equity Election with respect to an eligible Claim are required to certify on
   their Ballots that they (i) were the beneficial holder of such Claim as of the applicable Equity
   Election Record Date and have not sold, transferred, or provided a participation in such Claim, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date or (ii)
   are otherwise a party to the Restructuring Support Agreement and the beneficial holder of such
   Claim and such Claim was subject to the Restructuring Support Agreement as of the applicable
   Equity Election Record Date.

   Any Holder of a General Unsecured Claim who is not party to the restructuring support
   agreement entered into by the Debtors and certain other parties on January 23, 2019 (the
   “Restructuring Support Agreement”) who sells its claim after the Equity Election Record
   Date will not be permitted to make an Equity Election under the Plan. Further, any buyer
   of a General Unsecured Claim, which Claim is not subject to the Restructuring Support
   Agreement as of the Equity Election Record Date will not be entitled to make an Equity
   Election under the Plan and will only be permitted to receive an equivalent cash
   distribution on account of such General Unsecured Claim.

   By checking the box below, you elect to receive New Common Stock rather than Cash in
   satisfaction of your Class C7 NG-FENOC Unsecured Claim identified in Item 1. For the
   avoidance of doubt, Holders of Class C7, D5 NG-FENOC Unsecured Claims shall only be
   entitled to make an Equity Election on account of their Class C7 NG-FENOC Unsecured Claim
   against NG, and shall not be entitled to make an Equity Election on account of their Class D5
   NG-FENOC Unsecured Claim against FENOC.

                                                 
                          The undersigned elects to receive its distribution
                              on account of its Class C7 NG-FENOC
                          Unsecured Claim against NG identified in Item 1
                                     in New Common Stock.

   By checking the box below, you acknowledge that you (i) were the beneficial holder of the Class
   C7 NG-FENOC Unsecured Claim identified in Item 1 as of the Equity Election Record Date,
   which was January 23, 2019, or such later date as agreed to by the Debtors with the consent of
   the Requisite Supporting Parties and the Committee, and that you have not sold, transferred, or
   provided a participation in the Class C7 NG-FENOC Unsecured Claim identified in Item 1, or
   directly or implicitly agreed to do so following the applicable Equity Election Record Date, or
   (ii) are otherwise a party to the Restructuring Support Agreement and the beneficial holder of the
   Class C7 NG-FENOC Unsecured Claim identified in Item 1 and the Class C7 NG-FENOC
   Unsecured Claim identified in Item 1 was subject to the Restructuring Support Agreement as of
   the applicable Equity Election Record Date.

                                                   9


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                                                   
                          The undersigned acknowledges that (i) it was the
                            beneficial holder of the Class C7 NG-FENOC
                           Unsecured Claim identified in Item 1 as of the
                          Equity Election Record Date, which was January
                           23, 2019, or such later date as agreed to by the
                              Debtors with the consent of the Requisite
                          Supporting Parties and the Committee and it has
                          not sold, transferred or provided a participation
                           in the Class C7 NG-FENOC Unsecured Claim
                             identified in Item 1, or directly or implicitly
                           agreed to do so following the applicable Equity
                            Election Record Date, or (ii) it is otherwise a
                           party to the Restructuring Support Agreement
                            and the beneficial holder of the Class C7 NG-
                           FENOC Unsecured Claim identified in Item 1
                          and the Class C7 NG-FENOC Unsecured Claim
                                identified in Item 1 was subject to the
                             Restructuring Support Agreement as of the
                               applicable Equity Election Record Date.

   ITEM 6.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. if the Holder made an Equity Election in Item 5, the acknowledgement made
                     in Item 5 is true, accurate, and complete;

                  c. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  d. it has the full power to vote to accept or reject the Plan; and

                  e. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


                                                        10


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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                     CLASS D4 (FENOC SINGLE-BOX UNSECURED CLAIMS)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-16

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class D4 FENOC Single-Box Unsecured
   Claims under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in
   another Class or Classes in which you are entitled to vote, you will receive a Ballot for such
   other Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

       YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
     INDICATED THAT YOU HOLD A CLASS D4 FENOC SINGLE-BOX UNSECURED
                           CLAIM AS FOLLOWS:
                    DEBTOR: __________ FENOC____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


                                                   2


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.

                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                  Convenience Claim, and follow the instructions therein;

            v.    Review and sign the certifications in Item 5;

           vi.    If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

           vii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

             Unique E-Ballot ID#:__________________________________________________


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    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.
                                                    4


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      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.


                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class D4 FENOC Single-Box
   Unsecured Claim under the Plan in the amount of __________________________.




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   ITEM 2.       VOTE.

   The Holder of the Class D4 FENOC Single-Box Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
   SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
   BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
   FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
   THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, (shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
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  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
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  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.



   ITEM 4.        OPTIONAL ELECTION TO BE TREATED AS A CLASS D6 CONVENIENCE CLAIM.

   By checking the box below, regardless of the amount of your Class D4 FENOC Single-Box
   Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
   and to have such Claim treated as a Class D6 Convenience Claim. Holders of Allowed
   Convenience Claims in Class D6 shall receive a distribution in Cash equal to 24.0% of the
   Allowed Convenience Claim. If you elect to have such Claim treated as a Class D6 Convenience
   Claim, you will be giving up the distribution amount for Class E4 FENOC Single-Box
   Unsecured Claims calculated on the full amount of your Claim.

                                                   
                              The undersigned elects to have its Class D4
                           FENOC Single-Box Unsecured Claim identified
                             in Item 1 treated as a Class D6 Convenience
                            Claim and acknowledges that any valid Claim
                              will be Allowed in an amount not to exceed
                                              $1,000,000.

   ITEM 5.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;


                                                        8


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                  b. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  c. it has the full power to vote to accept or reject the Plan; and

                  d. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,

                                                    9


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   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




                                           10


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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                     CLASS E4 (FGMUC SINGLE-BOX UNSECURED CLAIMS)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-17

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class E4 FGMUC Single-Box Unsecured
   Claims under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in
   another Class or Classes in which you are entitled to vote, you will receive a Ballot for such
   other Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

       YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
     INDICATED THAT YOU HOLD A CLASS E4 FGMUC SINGLE-BOX UNSECURED
                           CLAIM AS FOLLOWS:
                    DEBTOR: __________FGMUC____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


                                                   2


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.

                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review Item 4, the Plan provisions relating to the ability to elect to be treated as a
                  Convenience Claim, and follow the instructions therein;

            v.    Review and sign the certifications in Item 5;

           vi.    If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

           vii.   Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

             Unique E-Ballot ID#:__________________________________________________


                                                    3


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    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.
                                                    4


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      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.

                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class E4 FGMUC Single-Box
   Unsecured Claim under the Plan in the amount of __________________________.




                                                   5


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   ITEM 2.       VOTE.

   The Holder of the Class E4 FGMUC Single-Box Unsecured Claim identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan includes Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
   SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
   BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
   FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
   THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party and Debtor Released Party
  from any and all claims and Causes of Action, including any derivative claims asserted or
  assertable by or on behalf of any of the Debtors, the Reorganized Debtors, or their Estates
  or Affiliates (including any FE Non-Debtor Parties), as applicable, that such Entity would
  have been legally entitled to assert its own right (whether individually or collectively) or on
  behalf of the Holder of any Claim against, or Interest in, a Debtor or other Entity, based on
  or relating to, or in any manner arising from in whole or in part, the Debtors, the Debtors’

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  businesses, the Debtors’ property, the Debtors’ capital structure, the assertion or
  enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court
  restructuring discussions, intercompany transactions between or among the Debtors and/or
  their Affiliates (including any FE Non-Debtor Parties), the purchase, sale, or rescission of
  the purchase or sale of any Security of the Debtors or the Reorganized Debtors, the subject
  matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in
  the Plan, the business or contractual arrangements between any Debtor and Released Party,
  the PCNs, the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11
  Cases and related adversary proceedings, the formulation, preparation, dissemination,
  negotiation, filing, or consummation of the Restructuring Support Agreement, the Process
  Support Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
                                                  7


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  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.        OPTIONAL ELECTION TO BE TREATED AS A CLASS E6 CONVENIENCE CLAIM.

   By checking the box below, regardless of the amount of your Class E4 FGMUC Single-Box
   Unsecured Claim, you elect to have your Claim reduced to an amount not to exceed $1,000,000
   and to have such Claim treated as a Class E6 Convenience Claim. Holders of Allowed
   Convenience Claims in Class E6 shall receive a distribution in Cash equal to 18.0% of the
   Allowed Convenience Claim. If you elect to have such Claim treated as a Class E6 Convenience
   Claim, you will be giving up the distribution amount for Class E4 FGMUC Single-Box
   Unsecured Claims calculated on the full amount of your Claim.

                                                   
                              The undersigned elects to have its Class E4
                           FGMUC Single-Box Unsecured Claim identified
                             in Item 1 treated as a Class E6 Convenience
                            Claim and acknowledges that any valid Claim
                              will be Allowed in an amount not to exceed
                                              $1,000,000.

   ITEM 5.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;


                                                        8


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                  b. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  c. it has the full power to vote to accept or reject the Plan; and

                  d. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,

                                                    9


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   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




                                           10


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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

   The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

   The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
   electronic or online transmission. Ballots submitted by facsimile, email or other means of
   electronic transmission will not be counted.

   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

            CLASS F3 (GENERAL UNSECURED CLAIMS AGAINST FE AIRCRAFT)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-18

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class F3 General Unsecured Claims Against
   FE Aircraft under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims
   in another Class or Classes in which you are entitled to vote, you will receive a Ballot for such
   other Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

       YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
       INDICATED THAT YOU HOLD A CLASS F3 GENERAL UNSECURED CLAIM
                     AGAINST FE AIRCRAFT AS FOLLOWS:
                    DEBTOR: __________FE AIRCRAFT____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 3rd Avenue, 3rd Floor, New York, NY 10022, or (c)
   by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


                                                   2


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.

                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review and sign the certifications in Item 4;

            v.    If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

           vi.    Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal


    The Voting Agent will accept Ballots if properly completed through the E-Balloting Portal. To
    submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
    the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

    IMPORTANT NOTE: You will need the following information to retrieve and submit your
    customized electronic Ballot:

            Unique E-Ballot ID#:__________________________________________________




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    The Voting Agent’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
    electronic or online transmission. Ballots submitted by facsimile, email or other means of
    electronic transmission will not be counted.

    Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
    electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
    receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
    submit a paper Ballot.

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


           If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

    Please complete and execute your ballot and submit it by first class mail in the enclosed postage
    prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.


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      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.

                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class F3 General Unsecured Claim
   Against FE Aircraft under the Plan in the amount of __________________________.




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   ITEM 2.       VOTE.

   The Holder of the Class F3 General Unsecured Claim Against FE Aircraft identified in Item 1
   votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

           The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against Debtor Released Parties, FE Non-Debtor Released Parties and Other Released Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
   SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
   BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
   FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
   THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT TO GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
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  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
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  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  c. it has the full power to vote to accept or reject the Plan; and

                  d. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.


   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):
                                                        8


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   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
   FESBALLOTS@PRIMECLERK.COM.

   THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE LEGAL
   ADVICE. PLEASE DO NOT DIRECT ANY INQUIRIES TO THE COURT.




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                    PLEASE RETURN YOUR BALLOT PROMPTLY

                        If Submitting Your Vote through the E-Balloting Portal

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   submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/FES/, click on
   the “Submit E-Ballot” section of the website, and follow the instructions to submit your Ballot.

   IMPORTANT NOTE: You will need the following information to retrieve and submit your
   customized electronic Ballot:

           Unique E-Ballot ID#:__________________________________________________

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   Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of your
   electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
   receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal should NOT also
   submit a paper Ballot.

   If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
   Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


          If Submitting Your Vote by First Class Mail, Overnight Courier, or Hand Delivery

   Please complete and execute your ballot and submit it by first class mail in the enclosed postage
   prepaid envelope or by sending it to the following address:

                             FirstEnergy Solutions Corp. Ballot Processing
                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                      )
                                      Debtors.                        )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )


                                      BALLOT FOR
                     ACCEPTING OR REJECTING THE FIFTH AMENDED
              JOINT PLAN OF REORGANIZATION OF FIRSTENERGY SOLUTIONS
            CORP., ET AL., PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

               CLASS G4 (GENERAL UNSECURED CLAIMS AGAINST NORTON)

   THIS BALLOT (THE “BALLOT”) MUST BE COMPLETED AND (I) IF CAST
   ELECTRONICALLY, SUBMITTED THROUGH THE BALLOTING PORTAL OF
   PRIME CLERK LLC (THE “VOTING AGENT”), AS PROVIDED FOR HEREIN, OR
   (II) IF CAST IN PAPER FORM, DELIVERED SO AS TO BE ACTUALLY RECEIVED
   BY THE VOTING AGENT AT THE ADDRESS PROVIDED FOR HEREIN, IN EITHER
   CASE BY 4:00 P.M. (PREVAILING EASTERN TIME) ON AUGUST 2, 2019 (THE
   “VOTING DEADLINE”) OR YOUR VOTE WILL NOT BE COUNTED. THEREFORE,
   YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT THE BALLOT IS
   RECEIVED BY THE VOTING AGENT BEFORE THE VOTING DEADLINE.

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) are
   soliciting votes with respect to the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the
   same may be amended, modified, and/or supplemented, including all exhibits or supplements
   thereto, including the Plan Supplement, the “Plan”) from the Holders of certain Impaired Claims
   against the Debtors.2 On [●], 2019, the United States Bankruptcy Court for the Northern District
   of Ohio (the “Court”) signed an order (the “Disclosure Statement Order”) [Docket No. ●]
   which approved the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization

   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     All capitalized terms used but not otherwise defined herein have the meanings set forth in the Plan.


                                                                                                               Ex-19

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   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as the same may be amended, modified, and/or supplemented, including all exhibits thereto,
   the “Disclosure Statement”) and which establishes certain procedures for the solicitation and
   tabulation of votes to accept or reject the Plan. The Plan is attached as Exhibit B to the
   Disclosure Statement, which is part of the package of materials that accompanies this Ballot (the
   “Solicitation Package”). The Court’s approval of the Disclosure Statement does not indicate
   approval of the Plan by the Court.

          This Ballot is being sent to the Holders of Class G4 General Unsecured Claims Against
   Norton under the Plan as of May 20, 2019 (the “Voting Record Date”). If you hold Claims in
   another Class or Classes in which you are entitled to vote, you will receive a Ballot for such
   other Class(es). Please use this Ballot to cast your vote to either accept or reject the Plan.

       YOU ARE RECEIVING THIS BALLOT BECAUSE THE DEBTORS’ RECORDS
       INDICATED THAT YOU HOLD A CLASS G4 GENERAL UNSECURED CLAIM
                       AGAINST NORTON AS FOLLOWS:
                    DEBTOR: __________NORTON____________
                    AMOUNT: _________________________

           Your rights are described in the Plan and the Disclosure Statement, which were
   included in the Solicitation Package. Please read the Plan and Disclosure Statement carefully
   before submitting a Ballot. You may wish to seek legal advice concerning the Plan and the
   classification and treatment of your Claim under the Plan. If you need to obtain additional
   copies of the Plan, the Disclosure Statement, or other Solicitation Materials, you may obtain free
   copies (a) at the dedicated website of the Voting Agent for the Debtors’ chapter 11 cases at
   https://cases.primeclerk.com/fes/, (b) upon request by mail to FirstEnergy Solutions Corp.
   Balloting Center, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or
   (c) by contacting the Voting Agent directly by calling (855) 934-8766 or by emailing
   fesballots@primeclerk.com.

           If the Plan is confirmed by the Court it will be binding on you whether or not you
   vote. The Plan can be confirmed by the Court and thereby made binding on you if it is accepted
   by the Holders of at least two-thirds (2/3) in the amount and more than one-half (1/2) in number
   of claims in each voting class who voted to either accept or reject the Plan, and if the Plan
   otherwise satisfies the applicable requirements of Section 1129(a) of the Bankruptcy Code. If
   the requisite acceptances are not obtained, the Court nonetheless may confirm the Plan if it finds
   that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate
   against, the Class or Classes rejecting the Plan and (b) otherwise satisfies the requirements under
   Section 1129(b) of the Bankruptcy Code, the foregoing, as and to the extent applicable to the
   Debtors’ cases.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
   PROVISIONS, INCLUDING CONSENSUAL THIRD PARTY RELEASES IN ARTICLE
   VIII.E. THUS, YOU SHOULD REVIEW AND CONSIDER THE PLAN CAREFULLY


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   BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH RESPECT TO
   THE THIRD PARTY RELEASES.



                                     VOTING INSTRUCTIONS

      1. Capitalized terms used in the Ballot or in these instructions but not otherwise defined
         therein or herein shall have the meanings ascribed in the Plan, the Disclosure Statement,
         or the Disclosure Statement Order, as applicable, copies of which also accompany the
         Ballot.

      2. The Court may confirm the Plan and thereby bind you by the terms of the Plan. Please
         review the Disclosure Statement for more information.

      3. In order for your vote to count, you must:

             i.   Complete and certify the amount of your Claim in Item 1;

            ii.   Cast ONE vote to accept or reject the Plan by checking the proper box in Item 2;

           iii.   Review Item 3, the Plan provisions relating to Consensual Third Party Releases;

           iv.    Review and sign the certifications in Item 4;

            v.    If you are completing the Ballot on behalf of an entity, indicate your relationship
                  with such entity and the capacity in which you are signing, and provide proof of
                  your authorization to so sign. In addition, please provide your name and mailing
                  address if different from that set forth on the attached mailing label or if no such
                  mailing label is attached to the Ballot; and

           vi.    Return the original, completed Ballot to the Voting Agent on or before the Voting
                  Deadline, which is 4:00 p.m. (prevailing Eastern Time) on August 2, 2019, in one
                  of the two manners described below:


                         If Submitting Your Vote through the E-Balloting Portal

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            Unique E-Ballot ID#:__________________________________________________



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                                         c/o Prime Clerk LLC
                                     830 Third Avenue, 3rd Floor
                                         New York, NY 10022

    If your Ballot is not received by the Voting Agent on or before the Voting Deadline, and such
    Voting Deadline is not extended by the Debtors as noted above, your vote will not be counted.


      4. You must vote all of your Claims within a particular Class either to accept or reject the
         Plan and may not split your vote. Accordingly, a Ballot that partially rejects and partially
         accepts the Plan will not be counted. Further, if a Holder has multiple Claims within the
         same Class, the Debtors may, in their discretion, aggregate the Claims of any particular
         Holder within a Class for the purpose of counting votes.

      5. If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors
         determine otherwise. The method of delivery of Ballots to the Voting Agent is at the
         election and risk of each Holder of a Claim. Except as otherwise provided herein, such
         delivery will be deemed made only when the Voting Agent actually receives the
         originally executed Ballot. In all cases, Holders should allow sufficient time to assure
         timely delivery. No Ballot should be sent to any of the Debtors, the Debtors’ agents
         (other than the Voting Agent), or the Debtors’ financial or legal advisors, and if so
         sent will not be counted.

      6. If multiple Ballots are received from the same person with respect to the same Claims
         prior to the Voting Deadline, the last valid Ballot timely received will supersede and
         revoke any earlier received Ballot.


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      7. The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan. Accordingly, at this time, Holders of Claims should not
         surrender certificates or instruments representing or evidencing their Claims, and neither
         the Debtors nor the Voting Agent will accept delivery of any such certificates or
         instruments surrendered together with a Ballot.

      8. If you wish to have your Claim Allowed in a different amount, classification or treatment
         than the amount, classification or treatment listed on the Beneficial Ballot for purposes of
         voting on the Plan, you must serve on the Debtors and file with the Court a motion for an
         order pursuant to Bankruptcy Rule 3018(a) temporarily allowing such Claim for purposes
         of voting (the “Temporary Allowance Request Motion”) no later than July 5, 2019 at
         4:00 p.m. (prevailing Eastern Time) (the “Temporary Allowance Request Motion
         Deadline”). All objections and responses to Temporary Allowance Request Motions must
         be filed and served on or before July 19, 2019. A claimant may file a reply to any
         objection or response to its motion on or before July 22, 2019. Any order temporarily
         allowing such claims must be entered on or before August 9, 2019 or as otherwise
         ordered by the Court. Temporary Allowance Request Motions must adhere to the
         requirements set forth in the Disclosure Statement Order to be considered by the Court.

      9. This Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim; or (b)
         an assertion or admission of a Claim.

      10. If you hold Claims in more than one Class (other than Multi-Debtor Claims) under the
          Plan or in multiple accounts, you may receive more than one Ballot coded for each
          different Class or account. Each Ballot votes only your Claims indicated on that Ballot.
          Please complete and return each Ballot you received.

      11. The following Ballots shall not be counted in determining the acceptance or rejection of
          the Plan: (a) any Ballot that is illegible or contains insufficient information to permit the
          identification of the Holder of the Claim; (b) any Ballot cast by a party that does not hold
          a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot; (d) any
          Ballot not marked to accept or reject the Plan or any Ballot marked both to accept and
          reject the Plan; and (e) any Ballot submitted by any entity not entitled to vote pursuant to
          the Disclosure Statement Order.

      12. If you believe you have received the wrong Ballot, you should contact the Voting Agent
          immediately at (855) 934-8766.


                            ACCEPTANCE OR REJECTION OF THE PLAN

   ITEM 1.       CLAIM AMOUNT FOR VOTING PURPOSES.

   The undersigned certifies that as of May 20, 2019, it held a Class G4 General Unsecured Claim
   Against Norton under the Plan in the amount of __________________________.




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   ITEM 2.       VOTE.

   The Holder of the Class G4 General Unsecured Claim Against Norton identified in Item 1 votes:

                        to ACCEPT the Plan.                         to REJECT the Plan.

    PLEASE FULLY COMPLETE THIS BALLOT BY CHECKING THE “ACCEPT” OR
   “REJECT” BOX. IF NEITHER THE “ACCEPT” NOR “REJECT” BOX IS CHECKED,
      BUT THE BALLOT IS OTHERWISE COMPLETED, THE BALLOT WILL BE
                 COUNTED AS HAVING ACCEPTED THE PLAN.

   ITEM 3.       IMPORTANT INFORMATION REGARDING THIRD PARTY RELEASES.

            The Plan contains Consensual Third Party Releases of claims and Causes of Action
   against the Debtor Released Parties, FE Non-Debtor Released Parties and Other Released
   Parties.

   IF YOU (I) VOTE TO ACCEPT THE PLAN OR (II) ARE DEEMED TO HAVE
   ACCEPTED THE PLAN YOU WILL BE DEEMED TO CONSENT TO THE RELEASES
   SET FORTH IN ARTICLE VIII.E OF THE PLAN. IF YOU (I) FAIL TO SUBMIT A
   BALLOT BY THE VOTING DEADLINE, (II) SUBMIT THE BALLOT BUT ABSTAIN
   FROM VOTING TO ACCEPT OR REJECT THE PLAN, OR (III) VOTE TO REJECT
   THE PLAN, IN EACH CASE YOU WILL NOT BE DEEMED TO CONSENT TO THE
   RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN.

   IF YOU ELECT TO REJECT THE PLAN, AND THEREFORE, NOT GRANT THE
   CONSENSUAL THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE
   PLAN, YOU WILL FOREGO THE BENEFIT OF RECEIVING THE CONSENSUAL
   THIRD PARTY RELEASES SET FORTH IN ARTICLE VIII.E OF THE PLAN IF YOU
   ARE A RELEASED PARTY THEREUNDER.

  Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
  property, the Debtors’ capital structure, the assertion or enforcement of rights and
  remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
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  intercompany transactions between or among the Debtors and/or their Affiliates (including
  any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
  Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
  transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
  business or contractual arrangements between any Debtor and Released Party, the PCNs,
  the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
  related adversary proceedings, the formulation, preparation, dissemination, negotiation,
  filing, or consummation of the Restructuring Support Agreement, the Process Support
  Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
  Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
  other agreement or document created or entered into in connection with the foregoing,
  including providing any legal opinion requested by any Entity regarding any transaction,
  contract, instrument, document, or other agreement contemplated by the Plan or the
  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
  opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
  property under the Plan or any other related agreement, or upon any other related act or
  omission, transaction, agreement, event, or other occurrence taking place on or before the
  Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
  forth above do not release (i) any obligations of any Entity arising after the Effective Date
  under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
  Agreement and any related obligations under the Plan, or any document, instrument, or
  agreement (including those set forth in the Plan Supplement) executed to implement the
  Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
  obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
  permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
  Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
  Mansfield Trust Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the
  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
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  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

   ITEM 4.        CERTIFICATION

   By signing this Ballot, the Holder certifies that:

                  a. as of the Voting Record Date it is the Holder of the Claim in Item 1 to which
                     this Ballot pertains;

                  b. it has been provided with a copy of the Solicitation Package containing the
                     Plan, the Disclosure Statement (together with its exhibits), the Disclosure
                     Statement Order, the notice regarding the date and time of the hearing at
                     which the Court will consider confirmation of the Plan, and a copy of any
                     letters recommending approval of the Plan, and acknowledges that the vote set
                     forth on this Ballot is subject to all the terms and conditions set forth in the
                     Plan, Disclosure Statement, and the Disclosure Statement Order;

                  c. it has the full power to vote to accept or reject the Plan; and

                  d. it has not submitted any other Ballots relating to the Claim in Item 1 that are
                     inconsistent with the votes as set forth in this Ballot or that, as limited by the
                     terms of the Disclosure Statement Order and the instructions attached hereto,
                     if such other Ballots were previously submitted, they either have been or are
                     hereby revoked or changed to reflect the vote set forth herein.




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   Name of Claim Holder (Print or Type):

   Social Security or Federal Tax I.D. No.
   (Optional):

   Signature:

   Name of Signatory:

   If Authorized Agent of Claimant, Title of
   Agent:

   Street Address:

   City, State, and Zip Code:

   Telephone Number:

   Email Address:

   Date Completed:


   No fees, commissions, or other remuneration will be payable to any broker, dealer, or other
   person for soliciting votes on the Plan. This Ballot is not a letter of transmittal and may not be
   used for any purpose other than to cast votes to accept or reject the Plan. Moreover, this Ballot
   shall not constitute or be deemed to be proof of claim or an assertion of a claim.

   IF YOU HAVE QUESTIONS REGARDING THIS BALLOT OR THE VOTING
   PROCEDURES, OR IF YOU NEED AN ADDITIONAL BALLOT OR ADDITIONAL
   COPIES OF THE DISCLOSURE STATEMENT OR OTHER ENCLOSED MATERIALS,
   PLEASE CONTACT THE VOTING AGENT (A) BY WRITING TO FIRSTENERGY
   SOLUTIONS CORP. C/O PRIME CLERK LLC, 830 THIRD AVENUE, THIRD FLOOR,
   NEW YORK, NY 10022; (B) BY TELEPHONE AT (855) 934-8766; OR (C) BY EMAIL AT
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                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION
                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
                                                         1
   FIRSTENERGY SOLUTIONS CORP., et al.,                               )    (Jointly Administered)
                                                                      )
                                        Debtors.                      )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )

       NOTICE OF NON-VOTING STATUS WITH RESPECT TO UNIMPAIRED CLASSES
                    PRESUMED TO ACCEPT THE DEBTORS’ PLAN

   PLEASE TAKE NOTICE OF THE FOLLOWING:

          1.      APPROVAL OF DISCLOSURE STATEMENT. By order dated May [●],
   2019 [Docket No. ●] (the “Disclosure Statement Order”), the United States Bankruptcy Court for
   the Northern District of Ohio (the “Court”) approved the Disclosure Statement for the Fifth
   Amended Joint Plan of Reorganization FirstEnergy Solutions Corp., et. al., Pursuant to Chapter
   11 of the Bankruptcy Code (as may be amended, modified or supplemented, the “Disclosure
   Statement”) [Docket No. ●] as containing adequate information, and directed the above-
   captioned debtors and debtors in possession (collectively, the “Debtors”) to solicit votes with
   regard to the approval or rejection of the Fifth Amended Joint Plan of Reorganization of
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as modified, amended or supplemented from time to time, the “Plan”). Capitalized terms
   used but not defined herein shall have the meanings ascribed to them in the Plan or Disclosure
   Statement, as the context so requires.

           2.      NOTICE OF NON-VOTING STATUS. You are receiving this notice because,
   pursuant to the terms of Article III of the Plan and the applicable provisions of the Bankruptcy
   Code, your Claim(s) against the Debtors are Unimpaired. Pursuant to Bankruptcy Code
   section 1126(f), you are conclusively presumed to have accepted the Plan and are therefore,
   not entitled to vote on the Plan. Accordingly, this notice is being sent to you for informational
   purposes only.

   1
    The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
   federal tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation,
   LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763;
   FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483),
   case no. 18-50761; FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-
   50764. The Debtors’ address is: 341 White Pond Dr., Akron, OH 44320.


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          3.      CONFIRMATION HEARING. A hearing (the “Confirmation Hearing”) to
   consider the confirmation of the Plan will be held at the John F. Seiberling Federal Building and
   U.S. Courthouse, 260 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308 on August 20,
   2019 at 9:30 a.m. (prevailing Eastern Time) before the Honorable Alan M. Koschik, United
   States Bankruptcy Judge for the Northern District of Ohio. The Confirmation Hearing may be
   adjourned from time to time by the Court or the Plan Proponents without further notice other
   than adjournments announced in open Court or as indicated in any notice of agenda of matters
   scheduled for a particular hearing that is filed with the Court. The Plan may be modified in
   accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the terms of
   the Plan, and other applicable law, without further notice, prior to, or as a result of, the
   Confirmation Hearing.

            4.    SETTLEMENT,            RELEASE,          INJUNCTION        AND      RELATED
    PROVISIONS. The Plan contains certain release, injunction, and exculpation provisions,
    including third party releases, which are subject to approval by the Court and may be found at
    Article VIII of the Plan and Article V.I of the Disclosure Statement.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
         PROVISIONS, AND ARTICLE VIII.E CONTAINS CONSENSUAL THIRD
    PARTY RELEASES. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
    PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER
                  WITH RESPECT TO SUCH THIRD PARTY RELEASES.

          5.     THIRD PARTY RELEASES. The Plan contains Consensual Third Party
   Releases of claims and Causes of Action against the Debtor Released Parties, FE Non-Debtor
   Released Parties and Other Released Parties. All Holders of a Claim or Interest that (i) vote
   to accept the Plan or (ii) are deemed to have accepted the Plan shall be deemed to have
   granted the Consensual Third Party Releases. Holders of Claims that are Unimpaired and
   deemed to accept the Plan are deemed to grant the Consensual Third Party Releases.

   Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

  On and as of the Effective Date, in exchange for good and valuable consideration, including
  the obligations of the Debtors under the Plan and the contributions of the Debtor Released
  Parties, FE Non-Debtor Released Parties and Other Released Parties to facilitate and
  implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
  (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
  unconditionally, irrevocably, and forever released and discharged each Debtor Released
  Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
  and Causes of Action, including any derivative claims asserted or assertable by or on behalf
  of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any
  FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
  assert its own right (whether individually or collectively) or on behalf of the Holder of any
  Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
  manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’


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  property, the Debtors’ capital structure, the assertion or enforcement of rights and remedies
  against the Debtors, the Debtors’ in- or out-of-court restructuring discussions, intercompany
  transactions between or among the Debtors and/or their Affiliates (including any FE Non-
  Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any Security of
  the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events
  giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
  arrangements between any Debtor and Released Party, the PCNs, the FES Notes, any
  interest in the Mansfield Facility Documents, the Chapter 11 Cases and related adversary
  proceedings, the formulation, preparation, dissemination, negotiation, filing, or
  consummation of the Restructuring Support Agreement, the Process Support Agreement,
  the Standstill Agreement, the FE Settlement Agreement, the Disclosure Statement, the Plan,
  or any Restructuring Transaction, contract, instrument, release, or other agreement or
  document created or entered into in connection with the foregoing, including providing any
  legal opinion requested by any Entity regarding any transaction, contract, instrument,
  document, or other agreement contemplated by the Plan or the reliance by any Released
  Party on the Plan or the Confirmation Order in lieu of such legal opinion, the issuance or
  distribution of securities pursuant to the Plan, or the distribution of property under the Plan
  or any other related agreement, or upon any other related act or omission, transaction,
  agreement, event, or other occurrence taking place on or before the Effective Date.
  Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
  not release (i) any obligations of any Entity arising after the Effective Date under the Plan,
  the Confirmation Order, any Restructuring Transaction, the FE Settlement Agreement and
  any related obligations under the Plan, or any document, instrument, or agreement
  (including those set forth in the Plan Supplement) executed to implement the Plan and the
  FE Settlement Agreement, (ii) any Consenting Owner Participant from its obligations to the
  Consenting Owner Trustee, in its individual capacity (and its successors, permitted assigns,
  directors, officers, employees, agents, and servants), under the Mansfield Trust Agreements
  or (iii) the Consenting Owner Trustee from its obligations under the Mansfield Trust
  Agreements with respect to periods after the Effective Date.

  For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
  Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
  deemed to provide a full and complete discharge and release to the Debtor Released Parties,
  the FE Non-Debtor Released Parties and the Other Released Parties and their respective
  property from any and all Causes of Action whatsoever, whether known or unknown,
  asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
  arising, in law, equity, or otherwise, whether for or sounding in tort, fraud, contract,
  violations of federal or state securities laws, veil piercing, substantive consolidation or alter-
  ego theories of liability, contribution, indemnification, joint or several liability, or otherwise
  arising from or related in any way to (i) the Debtors, the Reorganized Debtors, their
  businesses, their property, or any interest in the Mansfield Facility Documents; (ii) any
  Cause of Action against the FE Non-Debtor Released Parties or their property arising in
  connection with any intercompany transactions or other matters arising in the conduct of
  the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the formulation, preparation,
  negotiation,     dissemination,     implementation,       administration,    Confirmation       or
  Consummation of the Plan, the Plan Supplement, any contract, employee pension or benefit
  plan instrument, release, or other agreement or document related to any Debtor, the


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  Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into in connection
  with either the Plan, or any agreement between the Debtors and any FE Non-Debtor
  Released Party, including the FE Settlement Agreement; or (v) any other act taken or
  omitted to be taken in connection with the Chapter 11 Cases, including, without limitation,
  acts or omissions occurring after the Effective Date in connection with distributions made
  consistent with the terms of the Plan.

  Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
  section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
  Party Release, which includes by reference each of the related provisions and definitions
  contained in the Plan.

  For the avoidance of doubt and notwithstanding anything else in the Plan, any
  Confirmation Order, or any implementing or supplementing plan documents, (i) no
  Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of the
  Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio Department of
  Natural Resources, and Pennsylvania Department of Environmental Protection have agreed
  not to vote on the Plan and will not be subject to the releases in Article VIII.E of the Plan
  provided, however, if any agency of the United States or any agency of any state actually
  votes to accept the Plan, such agency shall be deemed to provide the releases in Article
  VIII.E of the Plan on the Effective Date for such agency and only for such agency.

            6.     RESPONSES AND OBJECTIONS TO CONFIRMATION. Responses and
   objections, if any, to confirmation of the Plan must (i) be in writing, (ii) state the name and
   address of the objecting or responding party and the amount and nature of the claim or interest of
   such party, (iii) state with particularity the basis and nature of any objection or response and
   include, where appropriate, proposed language to be incorporated into the Plan to resolve any
   such objection or response, (iv) be filed together with proof of service, with the Clerk of Court,
   United States Bankruptcy Court for the Northern District of Ohio, Eastern Division, John F.
   Seiberling Federal Building and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street,
   Akron, Ohio 44308 and served so that they are received by the following parties: (i) counsel for
   the Debtors; (ii) the Office of the United States Trustee; and (iii) all other parties in interest that
   have filed a notice of appearance in accordance with Federal Rules of Bankruptcy Procedure
   Rule 2002 in the Debtors’ chapter 11 cases on or before on or before 4:00 p.m. (prevailing
   Eastern Time) on August 2, 2019. Request for notice information regarding these parties
   should be directed to the Debtors’ claims and noticing agent, Prime Clerk LLC, 830 Third
   Avenue, 3rd Floor, New York, NY 10022.
           IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED AND
   SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY MAY BE
   BARRED FROM OBJECTING TO THE ADEQUACY OF THE PLAN AND MAY NOT
   BE HEARD AT THE HEARING.

          7.     ADDITIONAL INFORMATION. Copies of the Disclosure Statement and Plan
   may be obtained (i) from Prime Clerk LLC (a) at www.primeclerk.com/FES, by clicking on the
   “Docket” link, (b) upon request by mail to FirstEnergy Solutions Corp. Ballot Processing, c/o
   Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or (c) upon request by
   calling the FES restructuring hotline at (855) 934-8766 or emailing at


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   fesballots@primeclerk.com or (ii) for a fee via PACER at https://ecf.ohnb.uscourts.gov/ (a
   PACER login and password are required to access documents on the Court’s website and can be
   obtained through the PACER Service Center at www.pacer.psc.uscourts.gov). A copy of the
   Disclosure Statement and the Plan is also on file with the Office of the Clerk of Court, United
   States Bankruptcy Court for the Northern District of Ohio, John F. Seiberling Federal Building
   and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308 and may be
   examined by any party in interest during normal business hours.

                          If you have any questions related to this notice,
            please call the Debtors’ restructuring hotline at (855) 934-8766 or email at
                                    fesballots@primeclerk.com.
                 Please note that Prime Clerk LLC is not authorized to provide,
                                 and will not provide, legal advice.




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   Dated: [___], 2019             Respectfully submitted,

                                  /s/ Draft____________________________________
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                                  lbeckerman@akingump.com
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                                  Counsel for Debtors
                                  and Debtors in Possession




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION
                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
                                                         1
   FIRSTENERGY SOLUTIONS CORP., et al.,                               )    (Jointly Administered)
                                                                      )
                                        Debtors.                      )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )

                  NOTICE OF NON-VOTING STATUS WITH RESPECT TO
             IMPAIRED CLASSES PRESUMED TO REJECT THE DEBTORS’ PLAN

   PLEASE TAKE NOTICE OF THE FOLLOWING:

          1.      APPROVAL OF DISCLOSURE STATEMENT. By order dated May [●],
   2019 [Docket No. ●] (the “Disclosure Statement Order”), the United States Bankruptcy Court for
   the Northern District of Ohio (the “Court”) approved the Disclosure Statement for the Fifth
   Amended Joint Plan of Reorganization FirstEnergy Solutions Corp., et. al., Pursuant to Chapter
   11 of the Bankruptcy Code (as may be amended, modified or supplemented, the “Disclosure
   Statement”) [Docket No. ●] as containing adequate information, and directed the above-
   captioned debtors and debtors in possession (collectively, the “Debtors”) to solicit votes with
   regard to the approval or rejection of the Fifth Amended Joint Plan of Reorganization of
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as modified, amended or supplemented from time to time, the “Plan”). Capitalized terms
   used but not defined herein shall have the meanings ascribed to them in the Plan or Disclosure
   Statement, as the context so requires.

          2.      NOTICE OF NON-VOTING STATUS. You are receiving this notice because,
   pursuant to the terms of Article III of the Plan and the applicable provisions of the Bankruptcy
   Code, your Claim(s) against the Debtors are Impaired and you will receive no distribution on
   account of such Claim(s) under the Plan. Accordingly, pursuant to Bankruptcy Code section
   1126(g), you are deemed to have rejected the Plan and are therefore, not entitled to vote on the
   Plan. Accordingly, this notice is being sent to you for informational purposes only.


   1
    The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
   federal tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation,
   LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763;
   FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483),
   case no. 18-50761; FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-
   50764. The Debtors’ address is: 341 White Pond Dr., Akron, OH 44320.


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           3.     CONFIRMATION HEARING. A hearing (the “Confirmation Hearing”) to
   consider the confirmation of the Plan will be held at the Court, John F. Seiberling Federal
   Building and U.S. Courthouse, 260 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308
   on August 20, 2019 at 9:30 a.m. (prevailing Eastern Time) before the Honorable Alan M.
   Koschik, United States Bankruptcy Judge for the Northern District of Ohio. The Confirmation
   Hearing may be adjourned from time to time by the Court or the Plan Proponents without further
   notice other than adjournments announced in open Court or as indicated in any notice of agenda
   of matters scheduled for a particular hearing that is filed with the Court. The Plan may be
   modified in accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
   the terms of the Plan, and other applicable law, without further notice, prior to, or as a result of,
   the Confirmation Hearing.

           4.      SETTLEMENT,           RELEASE,          INJUNCTION        AND      RELATED
   PROVISIONS. The Plan contains certain release, injunction, and exculpation provisions,
   including third party releases, which are subject to approval by the Court and may be found at
   Article VIII of the Plan and Article V.I of the Disclosure Statement.


   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
         PROVISIONS, AND ARTICLE VIII.E CONTAINS CONSENSUAL THIRD
    PARTY RELEASES. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
    PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER
                  WITH RESPECT TO SUCH THIRD PARTY RELEASES.

           5.      RESPONSES AND OBJECTIONS TO CONFIRMATION. Responses and
   objections, if any, to confirmation of the Plan must (i) be in writing, (ii) state the name and
   address of the objecting or responding party and the amount and nature of the claim or interest of
   such party, (iii) state with particularity the basis and nature of any objection or response and
   include, where appropriate, proposed language to be incorporated into the Plan to resolve any
   such objection or response, (iv) be filed together with proof of service, with the Clerk of Court,
   United States Bankruptcy Court for the Northern District of Ohio, Eastern Division, John F.
   Seiberling Federal Building and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street,
   Akron, Ohio 44308 and served so that they are received by the following parties: (i) counsel for
   the Debtors; (ii) the Office of the United States Trustee; and (iii) all other parties in interest that
   have filed a notice of appearance in accordance with Federal Rules of Bankruptcy Procedure
   Rule 2002 in the Debtors’ chapter 11 cases on or before on or before 4:00 p.m. (prevailing
   Eastern Time) on August 2, 2019. Request for notice information regarding these parties
   should be directed to the Debtors’ claims and noticing agent, Prime Clerk LLC, 830 Third
   Avenue, 3rd Floor, New York, NY 10022.
           IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED AND
   SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY MAY BE
   BARRED FROM OBJECTING TO THE ADEQUACY OF THE PLAN AND MAY NOT
   BE HEARD AT THE HEARING.

         6.      ADDITIONAL INFORMATION. Copies of the Disclosure Statement and Plan
   may be obtained (i) from Prime Clerk LLC (a) at www.primeclerk.com/FES, by clicking on the


                                                                                                   Ex-21

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   “Docket” link, (b) upon request by mail to FirstEnergy Solutions Corp. Ballot Processing, c/o
   Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or (c) upon request by
   calling the FES restructuring hotline at (855) 934-8766 or emailing at
   fesballots@primeclerk.com or (ii) for a fee via PACER at https://ecf.ohnb.uscourts.gov/ (a
   PACER login and password are required to access documents on the Court’s website and can be
   obtained through the PACER Service Center at www.pacer.psc.uscourts.gov). A copy of the
   Disclosure Statement and the Plan is also on file with the Office of the Clerk of Court, United
   States Bankruptcy Court for the Northern District of Ohio, John F. Seiberling Federal Building
   and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308 and may be
   examined by any party in interest during normal business hours.

                          If you have any questions related to this notice,
            please call the Debtors’ restructuring hotline at (855) 934-8766 or email at
                                    fesballots@primeclerk.com.

                 Please note that Prime Clerk LLC is not authorized to provide,
                                and will not provide, legal advice.




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   Dated: [__], 2019              Respectfully submitted,

                                  /s/
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                                  Kate M. Bradley (0074206)
                                  Bridget A. Franklin (0083987)
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                                  - and -

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                                  Counsel for Debtors
                                  and Debtors in Possession




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION
                                                                      )    Chapter 11
   In re:                                                             )
                                                                      )    Case No. 18-50757 (AMK)
                                                         1
   FIRSTENERGY SOLUTIONS CORP., et al.,                               )    (Jointly Administered)
                                                                      )
                                        Debtors.                      )
                                                                      )    Hon. Judge Alan M. Koschik
                                                                      )

            NOTICE OF FILING OF EXHIBITS TO FIFTH AMENDED JOINT PLAN OF
              REORGANIZATION OF FIRSTENERGY SOLUTIONS CORP., ET. AL.,
                  PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

            PLEASE TAKE NOTICE that the Debtors submit this plan supplement (the “Plan

   Supplement”) for the Fifth Amended Joint Plan of Reorganization of FirstEnergy Solutions

   Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (the “Plan”)2 filed

   in these chapter 11 cases on May 17, 2019.

            PLEASE TAKE FURTHER NOTICE that the Plan Supplement includes the following

   documents, as may be modified, amended, or supplemented from time to time by the Debtors in

   accordance with the Plan:

            •       Exhibit A – New Organizational Documents

            •       Exhibit B – List of Assumed Executory Contracts and Unexpired Leases

            •       Exhibit C – List of Rejected Executory Contracts and Unexpired Leases

            •       Exhibit D – List of Assigned Executory Contracts

   1
     The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
   federal tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation,
   LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763;
   FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483),
   case no. 18-50761; FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-
   50764. The Debtors’ address is: 341 White Pond Dr., Akron, OH 44320.
   2
     Capitalized terms used but not defined herein shall have the meanings set forth in the Plan.


                                                                                                               Ex-22

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          •      Exhibit E – List of Retained Causes of Action

          •      Exhibit F – Management Incentive Plan

          •      Exhibit G – Identities of the New Board Members and Management for the
                             Reorganized Debtors

          •      Exhibit H – Plan Administrator Agreement

          •      Exhibit I – Reorganized Debtor Stockholders’ Agreement

          •      Exhibit J – Transition Working Group Management Agreement

          •      Exhibit K – New Management Employment Contracts

          •      Exhibit L – Form of Mansfield Unit 1 Transfer Agreement



          PLEASE TAKE FURTHER NOTICE that the Debtors reserve all rights to amend,

   modify, or supplement the Plan Supplement and any of the documents contained therein, in

   accordance with the terms of the Plan. To the extent material amendments or modifications are

   made to any of the Plan Supplement documents, the Debtors will file a blackline with the

   Bankruptcy Court prior to the Confirmation Hearing marked to reflect the same.

          PLEASE TAKE FURTHER NOTICE that the documents contained in the Plan

   Supplement are integral to, part of, and incorporated by reference into the Plan.      These

   documents have not yet been approved by the Bankruptcy Court. If the Plan is approved, the

   documents contained in the Plan Supplement will be approved by the Bankruptcy Court pursuant

   to the Confirmation Order.

          PLEASE TAKE FURTHER NOTICE that the hearing to consider confirmation of the

   Plan is currently scheduled for August 20, 2019, at 9:30 a.m. (Eastern Time) before the

   Honorable Alan M. Koschik, United States Bankruptcy Judge, at the John F. Seiberling Federal

   Building and U.S. Courthouse, 260 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308.




                                                                                          Ex-22

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          PLEASE TAKE FURTHER NOTICE that any party wishing to obtain copies of the

   Plan, the Plan Supplement documents referred to on the attached list, or the Disclosure Statement

   related to the Plan may download copies from the Debtors’ claims and noticing agent, Prime

   Clerk LLC at https://cases.primeclerk.com/FES.




                                                                                             Ex-22

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   Dated: [___], 2019                 Respectfully submitted,

                                      /s/ Draft____________________________________
                                      BROUSE MCDOWELL LPA
                                      Marc B. Merklin (0018195)
                                      Kate M. Bradley (0074206)
                                      Bridget A. Franklin (0083987)
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                                      Telephone: (330) 535-5711
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                                      - and -

                                      AKIN GUMP STRAUSS HAUER & FELD LLP
                                      Ira Dizengoff (admitted pro hac vice)
                                      Lisa Beckerman (admitted pro hac vice)
                                      Brad Kahn (admitted pro hac vice)
                                      One Bryant Park
                                      New York, New York 10036
                                      Telephone: (212) 872-1000
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                                      - and -

                                      Scott Alberino (admitted pro hac vice)
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                                      Counsel for Debtors
                                      and Debtors in Possession




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                                 UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION


                                                                      )     Chapter 11
   In re:                                                             )
                                                                      )     Case No. 18-50757 (AMK)
                                                         1
   FIRSTENERGY SOLUTIONS CORP., et al.,                               )     (Jointly Administered)
                                                                      )
                                        Debtors.                      )
                                                                      )     Hon. Judge Alan M. Koschik
                                                                      )


                           NOTICE OF (I) APPROVAL OF DISCLOSURE
                       STATEMENT, (II) DEADLINE FOR VOTING ON PLAN,
                 (III) HEARING TO CONSIDER CONFIRMATION OF PLAN, AND
           (IV) DEADLINE FOR FILING OBJECTIONS TO CONFIRMATION OF PLAN



   PLEASE TAKE NOTICE OF THE FOLLOWING:

          1.      APPROVAL OF DISCLOSURE STATEMENT. By order dated May [●],
   2019 [Docket No. ●] (the “Disclosure Statement Order”), the United States Bankruptcy Court for
   the Northern District of Ohio (the “Court”) approved the Disclosure Statement for the Fifth
   Amended Joint Plan of Reorganization of FirstEnergy Solutions Corp., et. al., Pursuant to
   Chapter 11 of the Bankruptcy Code (as may be amended, modified or supplemented, the
   “Disclosure Statement”) [Docket No. ●] as containing adequate information, and directed the
   above-captioned debtors and debtors in possession (collectively, the “Debtors”) to solicit votes
   with regard to the approval or rejection of the Fifth Amended Joint Plan of Reorganization of
   FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
   ●] (as modified, amended or supplemented from time to time, the “Plan”). Capitalized terms
   used but not defined herein shall have the meanings ascribed to them in the Plan or Disclosure
   Statement, as the context so requires.




       1
        The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
   federal tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation,
   LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763;
   FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483),
   case no. 18-50761; FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-
   50764. The Debtors’ address is: 341 White Pond Dr., Akron, OH 44320.


                                                                                                                Ex-23

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           2.       KEY DATES AND DEADLINES.

                                         Event                                               Proposed Date2
   Equity Election Record Date                                                             January 23, 20193
   Voting Record Date                                                                      May 20, 2019
   Security Position Report Deadline                                                       May 24, 2019
   Solicitation Deadline                                                                   Ten (10) business
                                                                                           days after entry of
                                                                                           the Order
   Deadline to Publish Confirmation Hearing Notice                                         Ten (10) business
                                                                                           days after entry of
                                                                                           the Order
   Deadline for Objections to Claims for Voting Purposes                                   June 21, 2019
   Deadline for Filing Temporary Allowance Request Motions             July 5, 2019 at
                                                                       4:00 p.m.
   Deadline for Objections/Responses to Temporary Allowance Request July 19, 2019
    Motions
   Deadline for Replies to Objections/Responses to Temporary Allowance July 22, 2019
    Request Motions
   Deadline to File Plan Supplement                                    July 23, 2019
   Deadline for Entry of Order Granting Temporary Allowance Request August 9, 2019
    Motions
   Deadline for Objections/Responses to Confirmation of the Plan    August 2, 2019 at
                                                                    4:00 p.m.
   Voting Deadline                                                  August 2, 2019 at
                                                                    4:00 p.m.
   Voting Certification Deadline                                    August 13, 2019
   Deadline for Replies to Objections/Responses to Confirmation of Plan                    August 16, 2019
   Confirmation Hearing                                                                    August 20, 2019 at
                                                                                           9:30 a.m.


          3.    RECORD DATE FOR VOTING PURPOSES. Only creditors who held
   Claims on May 20, 2019 (the “Voting Record Date”) are entitled to vote on the Plan.



    2
      Unless otherwise specified, the proposed deadlines listed herein will be 11:59 p.m. on the date listed. All times
    noted are in the prevailing Eastern Time zone.
    3
      Or such later date as agreed to by the Debtors with the consent of the Requisite Supporting Parties (as such term
    is defined in the Restructuring Support Agreement) and the Committee.


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          4.      VOTING DEADLINE. All votes to accept or reject the Plan must be actually
   received by the Debtors’ voting agent, Prime Clerk LLC (“Prime Clerk”) by no later than 4:00
   p.m. (prevailing Eastern Time) on August 2, 2019 (the “Voting Deadline”). Any failure to
   follow the voting instructions included with your Ballot may disqualify your Ballot and your
   vote. Ballots received by facsimile or e-mail, or any other means other than by submission via
   Prime Clerk’s e-balloting portal, mail, hand delivery or overnight courier, will not be counted.

           5.     ENTITLEMENT TO VOTE ON PLAN. Holders of Claims in the following
   classes are entitled to vote to accept or reject the Plan: A3, A4, A5, A6, A7, A8, B4, B5, B6,
   B7, B8, B9, C3, C4, C5, C6, C7, C8, D3, D4, D5, D6, E3, E4, E5, E6, F3 and G3 (collectively,
   the “Voting Classes”).

                  The following holders are not entitled to vote on the Plan: (i) holders of Claims
   and Interests in the following classes: A1, A2, A9, A10, B1, B2, B3, B10, B11, C1, C2, C9,
   C10, D1, D2, D7, D8, E1, E2, E7, E8, F1, F2, F4, F5, G1, G2, G4 and G5 (collectively, the
   “Non-Voting Classes”), (ii) holders of Claims that have been disallowed or expunged as of the
   Voting Record Date, (iii) holders of Claims scheduled by the Debtors as contingent,
   unliquidated, or disputed when a proof of claim was not filed by the General Bar Date or deemed
   timely filed by order of the Bankruptcy Court at least five (5) business days prior to the Voting
   Deadline, and (iv) holders of Claims that are subject to an objection that remains unresolved as
   of July 26, 2019.

           6.      TEMPORARY ALLOWANCE REQUEST MOTION FOR VOTING
  PURPOSES. If you elect to challenge the disallowance, classification or treatment of your Claim
  for voting purposes (including, without limitation, the treatment of the claim for voting purposes),
  you must file with the Court a motion (a “Temporary Allowance Request Motion”) pursuant to
  Bankruptcy Rule 3018(a) requesting such relief as you may assert is proper, including the
  temporary allowance or reclassification of your claim solely for voting purposes. Your Ballot
  will not be counted, unless temporarily allowed by an order entered on or before August 9, 2019
  or as otherwise ordered by the Court. All Temporary Allowance Request Motions must be filed
  and served no later than 4:00 p.m. (prevailing Eastern Time) on July 5, 2019 (the “Temporary
  Allowance Request Motion Deadline”). All objections and responses to Temporary Allowance
  Request Motions must be filed and served on or before July 19, 2019. A claimant may file a
  reply to any objection or response to its motion on or before July 22, 2019. Any order
  temporarily allowing such claims must be entered on or before August 9, 2019 or as otherwise
  ordered by the Court. Temporary Allowance Request Motions must: (i) be made in writing; (ii)
  comply with the Bankruptcy Code, the Bankruptcy Rules and the Local Rules; (iii) identify the
  proof of claim or Scheduled Claim in question; (iv) set forth the name of the claimant(s) pursuing
  the Temporary Allowance Request Motion; (v) set forth the name(s) of the Debtor(s) against
  which the Claim(s) is/are asserted; (vi) state with particularity the legal and factual bases relied
  upon for the relief requested by the Temporary Allowance Request Motion; and (vii) be filed and
  served pursuant to automatic electronic service provided by the Court’s ECF system, in each case
  so as to be received by the Notice Parties (with a copy to the chambers of the Honorable Alan M.
  Koschik, United States Bankruptcy Judge) no later than the Temporary Allowance Request
  Motion Deadline. Temporary Allowance Request Motions that do not comply with the foregoing
  may not be considered by the Court and may be deemed denied except as otherwise ordered by



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  the Court. Any claimant who timely files and serves a Temporary Allowance Request Motion
  which has not been resolved by July 19, 2019, and who has not otherwise received a Solicitation
  Package shall be provided with a Ballot and shall be allowed to cast a provisional vote to accept
  or reject the Plan on or before the Voting Deadline, pending a determination of such motion by
  the Court. Creditors may contact Prime Clerk at (855) 934-8766 to receive an appropriate ballot
  for any claim for which a proof of claim has been timely filed and a Temporary Allowance
  Request Motion has been granted.

           7.      CONFIRMATION HEARING. A hearing (the “Confirmation Hearing”) to
   consider the confirmation of the Plan will be held at the John F. Seiberling Federal Building and
   U.S. Courthouse, 260 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308 on August 20,
   2019 at 9:30 a.m. (prevailing Eastern Time) before the Honorable Alan M. Koschik, United
   States Bankruptcy Judge for the Northern District of Ohio. The Confirmation Hearing may be
   adjourned from time to time by the Debtors without further notice other than adjournments
   announced in open Court or as indicated in any notice of agenda of matters scheduled for a
   particular hearing that is filed with the Court. The Plan may be modified in accordance with the
   Bankruptcy Code, the Bankruptcy Rules, the terms of the Plan and the Restructuring Support
   Agreement, and other applicable law, without further notice, prior to, or as a result of, the
   Confirmation Hearing.

           8.      INJUNCTIONS, RELEASES, AND EXCULPATION. The Plan contains
   certain release, injunction, and exculpation provisions, including third party releases, which are
   subject to approval by the Court and may be found at Article VIII of the Plan and Article V.I of
   the Disclosure Statement.

   ARTICLE VIII OF THE PLAN CONTAINS RELEASE, INJUNCTION AND EXCULPATION
     PROVISIONS, AND ARTICLE VIII.E CONTAINS CONSENSUAL THIRD PARTY
     RELEASES. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
    CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER WITH
                     RESPECT TO SUCH THIRD PARTY RELEASES.

          9.         THIRD PARTY RELEASES. The Plan contains Consensual Third Party
   Releases of claims and Causes of Action against the Debtor Released Parties, FE Non-Debtor
   Released Parties and Other Released Parties.


   Article VIII.E of the Plan provides for the following Consensual Third Party Releases:

   On and as of the Effective Date, in exchange for good and valuable consideration, including
   the obligations of the Debtors under the Plan and the contributions of the Debtor Released
   Parties, the FE Non-Debtor Released Parties and Other Released Parties to facilitate and
   implement the Plan, each Holder of a Claim or Interest that (i) votes to accept the Plan or
   (ii) is deemed to have accepted the Plan, shall be deemed to have conclusively, absolutely,
   unconditionally, irrevocably, and forever released and discharged each Debtor Released
   Party, FE Non-Debtor Released Party and Other Released Party from any and all claims
   and Causes of Action, including any derivative claims asserted or assertable by or on behalf
   of any of the Debtors, the Reorganized Debtors, or their Estates or Affiliates (including any


                                                                                              Ex-23

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   FE Non-Debtor Parties), as applicable, that such Entity would have been legally entitled to
   assert its own right (whether individually or collectively) or on behalf of the Holder of any
   Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
   manner arising from in whole or in part, the Debtors, the Debtors’ businesses, the Debtors’
   property, the Debtors’ capital structure, the assertion or enforcement of rights and
   remedies against the Debtors, the Debtors’ in- or out-of-court restructuring discussions,
   intercompany transactions between or among the Debtors and/or their Affiliates (including
   any FE Non-Debtor Parties), the purchase, sale, or rescission of the purchase or sale of any
   Security of the Debtors or the Reorganized Debtors, the subject matter of, or the
   transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
   business or contractual arrangements between any Debtor and Released Party, the PCNs,
   the FES Notes, any interest in the Mansfield Facility Documents, the Chapter 11 Cases and
   related adversary proceedings, the formulation, preparation, dissemination, negotiation,
   filing, or consummation of the Restructuring Support Agreement, the Process Support
   Agreement, the Standstill Agreement, the FE Settlement Agreement, the Disclosure
   Statement, the Plan, or any Restructuring Transaction, contract, instrument, release, or
   other agreement or document created or entered into in connection with the foregoing,
   including providing any legal opinion requested by any Entity regarding any transaction,
   contract, instrument, document, or other agreement contemplated by the Plan or the
   reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
   opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution
   of property under the Plan or any other related agreement, or upon any other related act or
   omission, transaction, agreement, event, or other occurrence taking place on or before the
   Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set
   forth above do not release (i) any obligations of any Entity arising after the Effective Date
   under the Plan, the Confirmation Order, any Restructuring Transaction, the FE Settlement
   Agreement and any related obligations under the Plan, or any document, instrument, or
   agreement (including those set forth in the Plan Supplement) executed to implement the
   Plan and the FE Settlement Agreement, (ii) any Consenting Owner Participant from its
   obligations to the Consenting Owner Trustee, in its individual capacity (and its successors,
   permitted assigns, directors, officers, employees, agents, and servants), under the Mansfield
   Trust Agreements or (iii) the Consenting Owner Trustee from its obligations under the
   Mansfield Trust Agreements with respect to periods after the Effective Date.

   For the avoidance of doubt, on and as of the Effective Date, each Holder of a Claim or
   Interest that (i) votes to accept the Plan or (ii) is deemed to have accepted the Plan shall be
   deemed to provide a full and complete discharge and release to the Debtor Released
   Parties, the FE Non-Debtor Released Parties and the Other Released Parties and their
   respective property from any and all Causes of Action whatsoever, whether known or
   unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or
   hereinafter arising, in law, equity, or otherwise, whether for or sounding in tort, fraud,
   contract, violations of federal or state securities laws, veil piercing, substantive
   consolidation or alter-ego theories of liability, contribution, indemnification, joint or
   several liability, or otherwise arising from or related in any way to (i) the Debtors, the
   Reorganized Debtors, their businesses, their property, or any interest in the Mansfield
   Facility Documents; (ii) any Cause of Action against the FE Non-Debtor Released Parties
   or their property arising in connection with any intercompany transactions or other


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   matters arising in the conduct of the Debtors’ businesses; (iii) the Chapter 11 Cases; (iv) the
   formulation, preparation, negotiation, dissemination, implementation, administration,
   Confirmation or Consummation of the Plan, the Plan Supplement, any contract, employee
   pension or benefit plan instrument, release, or other agreement or document related to any
   Debtor, the Chapter 11 Cases or the Plan, modified, amended, terminated, or entered into
   in connection with either the Plan, or any agreement between the Debtors and any FE Non-
   Debtor Released Party, including the FE Settlement Agreement; or (v) any other act taken
   or omitted to be taken in connection with the Chapter 11 Cases, including, without
   limitation, acts or omissions occurring after the Effective Date in connection with
   distributions made consistent with the terms of the Plan.

   Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval under
   section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Consensual Third
   Party Release, which includes by reference each of the related provisions and definitions
   contained in the Plan.

   For the avoidance of doubt and notwithstanding anything else in the Plan, any
   Confirmation Order, or any implementing or supplementing plan documents, (i) no
   Governmental Units shall be deemed to accept the Plan for purposes of Article VIII.E of
   the Plan and (ii) the United States, Ohio Environmental Protection Agency, Ohio
   Department of Natural Resources, and Pennsylvania Department of Environmental
   Protection have agreed not to vote on the Plan and will not be subject to the releases in
   Article VIII.E of the Plan provided, however, if any agency of the United States or any
   agency of any state actually votes to accept the Plan, such agency shall be deemed to
   provide the releases in Article VIII.E of the Plan on the Effective Date for such agency and
   only for such agency.

           10.     RESPONSES AND OBJECTIONS TO CONFIRMATION. Responses and
   objections, if any, to confirmation of the Plan must (i) be in writing, (ii) state the name and
   address of the objecting or responding party and the amount and nature of the claim or interest of
   such party, (iii) state with particularity the basis and nature of any objection or response and
   include, where appropriate, proposed language to be incorporated into the Plan to resolve any
   such objection or response, (iv) be filed together with proof of service, with the Clerk of Court,
   United States Bankruptcy Court for the Northern District of Ohio, Eastern Division, John F.
   Seiberling Federal Building and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street,
   Akron, Ohio 44308 and served so that they are received by the following parties: (i) counsel for
   the Debtors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036
   (Attn: Brad M. Kahn, bkahn@akingump.com, Tel: 212-872-1000; Fax: 212-872-1002) and 2001
   K Street, NW, Washington, DC 20006 (Attn: Scott Alberino, salberino@akingump.com and
   Kate Doorley, kdoorley@akingump.com, Tel: 202-887-4000, Fax: 202-887-4288); (ii) the Office
   of the United States Trustee, Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue
   East, Suite 441, Cleveland, OH 44014 (Attn; Tiiara Patton, tiiara.patton@usdoj.gov); and (iii) all
   other parties in interest that have filed a notice of appearance in accordance with Federal Rules
   of Bankruptcy Procedure Rule 2002 in the Debtors’ chapter 11 cases on or before on or before
   4:00 p.m. (prevailing Eastern Time) on August 2, 2019. Request for notice information
   regarding these parties should be directed to the Debtors’ claims and noticing agent, Prime Clerk
   LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022.


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        IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED AND
   SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY MAY BE
   BARRED FROM OBJECTING TO THE ADEQUACY OF THE PLAN AND MAY NOT
   BE HEARD AT THE HEARING.

            11.     ADDITIONAL INFORMATION. Copies of the Disclosure Statement and Plan
   may be obtained (i) from Prime Clerk LLC (a) at www.primeclerk.com/FES, by clicking on the
   “Docket” link, (b) upon request by mail to FirstEnergy Solutions Corp. Ballot Processing, c/o
   Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or (c) upon request by
   calling the FES restructuring hotline at (855) 934-8766 or email at fesballots@primeclerk.com
   or (ii) for a fee via PACER at https://ecf.ohnb.uscourts.gov/ (a PACER login and password are
   required to access documents on the Court’s website and can be obtained through the PACER
   Service Center at www.pacer.psc.uscourts.gov). A copy of the Disclosure Statement and the
   Plan is also on file with the Office of the Clerk of Court, United States Bankruptcy Court for the
   Northern District of Ohio, Eastern Division, John F. Seiberling Federal Building and U.S.
   Courthouse, 455 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308 and may be
   examined by any party in interest during normal business hours.

                           If you have any questions related to this notice,
             please call the Debtors’ restructuring hotline at (855) 934-8766 or email at
                                     fesballots@primeclerk.com.

                  Please note that Prime Clerk LLC is not authorized to provide,
                                 and will not provide, legal advice.




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   Dated: [___], 2019                 Respectfully submitted,

                                      /s/
                                      BROUSE MCDOWELL LPA
                                      Marc B. Merklin (0018195)
                                      Kate M. Bradley (0074206)
                                      Bridget A. Franklin (0083987)
                                      388 South Main Street, Suite 500
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                                      kbradley@brouse.com
                                      bfranklin@brouse.com

                                      - and -

                                      AKIN GUMP STRAUSS HAUER & FELD LLP
                                      Ira Dizengoff (admitted pro hac vice)
                                      Lisa Beckerman (admitted pro hac vice)
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                                      - and -

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                                      Counsel for Debtors
                                      and Debtors in Possession




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                                      List of Publications

   Akron Beacon Journal
   Akron Legal News
   Crain's Cleveland Business
   Dayton Daily News
   Herald-Star
   Intelligencer Journal/Lancaster New Era
   Martins Ferry Times Leader
   Perry County Tribune
   Pittsburgh Business Times
   Pittsburgh Post-Gazette
   Port Clinton News Herald
   Reading Eagle
   The Beacon
   The Blade
   The Cincinnati Enquirer
   The Columbus Dispatch
   The Doylestown Intelligencer/Bucks County
   Courier Times/Burlington County Times
   The Morning Call
   The Morning Journal
   The New York Times
   The News-Herald
   The Patriot News
   The Plain Dealer
   The Repository
   The Times (The Beaver County Times)
   The Times-Tribune
   The Toledo Journal
   The Vindicator
   Tribune Review
   USA Today
   Wall Street Journal




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                                 UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

                                                                       )    Chapter 11
   In re:                                                              )
                                                                       )    Case No. 18-50757 (AMK)
   FIRSTENERGY SOLUTIONS CORP., et al.,1                               )    (Jointly Administered)
                                                                       )
                                       Debtors.                        )
                                                                       )    Hon. Judge Alan M. Koschik
                                                                       )


                                            Bondholder Election Notice

          The United States Bankruptcy Court for the Northern District of Ohio (the “Court”)
   confirmed the Fifth Amended Joint Plan of Reorganization of FirstEnergy Solutions Corp., et al.,
   Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. ●] (as the same may be amended,
   modified, and/or supplemented, including all exhibits or supplements thereto, including the Plan
   Supplement, the “Plan”)2 by its order entered on [●], 2019 [Docket No. ●].

           Under the Plan, Holders of Unsecured Bondholder Claims in Classes A3, A4, B5, B6,
   C4, C5, and E3 have the option to elect to receive, in lieu of New Common Stock, their pro rata
   share (based on the Allowed principal amount of such Claims) of Cash equal to the aggregate
   value of New Common Stock distributed to Holders of Allowed General Unsecured Claims who
   have an election to receive New Common Stock and make such an election; provided that to the
   extent the Unsecured Bondholder Cash Pool is insufficient to provide each Electing Bondholder
   its allocable recovery of Unsecured Creditor Distributable Value in accordance with the Plan,
   Electing Bondholders shall receive the remainder of their distribution in New Common Stock in
   accordance with the Plan. For the avoidance of doubt, the maximum amount of Cash contributed
   to the Unsecured Bondholder Cash Pool shall be the amount of Cash that is equal to the
   aggregate value of New Common Stock distributed to Holders of Allowed General Unsecured
   Claims who have made an election to receive New Common Stock.

           You have received this Bondholder Election Notice (this “Notice”) because the Debtors’
   records indicate that you are the beneficial holder of an Unsecured Bondholder Claim and
   entitled to make an election to receive Cash on account of your Unsecured Bondholder Claims. If



   1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.
   2
     Capitalized terms used in this Notice but not otherwise defined herein shall have the meanings ascribed in the Plan.


                                                                                                                 Ex-25

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   you elect to receive Cash, you much do so on account of all of your Unsecured Bondholder
   Claims against all applicable Debtors.

           If you want to make the election to receive Cash pursuant to the Plan provisions
   described above, you must direct the record holder of your Unsecured Bondholder Claim,
   (the “Nominee”) to tender your PCNs, FES Notes and/or Mansfield Certificates following
   the instructions provided to you by your Nominee as soon as possible but in no event later
   than five (5) days prior to the Effective Date (as defined in the Plan). As part of the election
   process, following such a direction to your Nominee, the related PCNs, FES Notes or Mansfield
   Certificates held through DTC will be frozen from trading as described below. All forms
   required by your Nominee must be returned to the applicable Nominee in sufficient time to allow
   such Nominee to process and deliver the underlying PCNs, FES Notes or Mansfield Certificates
   through the DTC Automated Tender Offer Program (“ATOP”).

           By giving the instruction to your Nominee to submit the underlying PCNs, FES Notes or
   Mansfield Certificates through ATOP, you are (i) authorizing your Nominee to exercise an
   election to receive Cash in lieu of New Common Stock in accordance with the terms set forth
   above; and (ii) certifying that you understand that, once submitted, the underlying PCNs, FES
   Notes or Mansfield Certificates will be frozen from trading until the Effective Date.

          If you do not want to make the election to receive Cash pursuant to the Plan
   provisions described above, you do not need to take any action.

          If you have any questions, please contact Prime Clerk at 855-934-8766 or via email
   at fesballots@primeclerk.com.




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   Dated: May [__], 2019              Respectfully submitted,

                                      /s/ Draft____________________________________
                                      BROUSE MCDOWELL LPA
                                      Marc B. Merklin (0018195)
                                      Kate M. Bradley (0074206)
                                      Bridget A. Franklin (0083987)
                                      388 South Main Street, Suite 500
                                      Akron, OH 44311-4407
                                      Telephone: (330) 535-5711
                                      Facsimile: (330) 253-8601
                                      mmerklin@brouse.com
                                      kbradley@brouse.com
                                      bfranklin@brouse.com

                                      - and -

                                      AKIN GUMP STRAUSS HAUER & FELD LLP
                                      Ira Dizengoff (admitted pro hac vice)
                                      Lisa Beckerman (admitted pro hac vice)
                                      Brad Kahn (admitted pro hac vice)
                                      One Bryant Park
                                      New York, New York 10036
                                      Telephone: (212) 872-1000
                                      Facsimile: (212) 872-1002
                                      idizengoff@akingump.com
                                      lbeckerman@akingump.com
                                      bkahn@akingump.com

                                      - and -

                                      Scott Alberino (admitted pro hac vice)
                                      Kate Doorley (admitted pro hac vice)
                                      2001 K Street, N.W.,
                                      Washington, D.C. 20006
                                      Telephone: (202) 887-4000
                                      Facsimile: (202) 887-4288
                                      salberino@akingump.com
                                      kdoorley@akingump.com

                                      Counsel for Debtors
                                      and Debtors in Possession




                                            3


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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                    )     Chapter 11
  In re:                                                            )
                                                                    )     Case No. 18-50757 (AMK)
                                                        1
  FIRSTENERGY SOLUTIONS CORP., et al.,                              )     (Jointly Administered)
                                                                    )
                                     Debtors.                       )
                                                                    )     Hon. Judge Alan M. Koschik
                                                                    )

           NOTICE TO RETAIL CUSTOMERS REGARDING PROPOSED PLAN OF
               REORGANIZATION, ASSUMPTION AND ASSIGNMENT OF
             ELECTRIC SERVICE CONTRACTS, AND RELATED DEADLINES


      PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.        You are receiving this notice because you may be a retail electricity
  customer of FirstEnergy Solutions Corp. (“FES” or “FirstEnergy Solutions”).
  FirstEnergy Solutions is a Debtor in the above captioned chapter 11 cases (collectively,
  with its subsidiaries and affiliates that commenced chapter 11 cases, the “Debtors”). 2
  Please read this notice carefully as your rights may be affected by the transactions
  described herein.

          2.        CONTACTS FOR QUESTIONS. If you have questions concerning this
  notice, please contact your sales representative (for Large Commercial and Industrial customers)
  or call the FirstEnergy Solutions customer service center at 1-888-254-6359. Residential
  customers with questions about their rights as a consumer of electricity under state law and
  regulations may contact their state regulator or residential consumer representative.

         3.          APPROVAL OF DISCLOSURE STATEMENT. By order dated May [•],
  2019 [Docket No. •] (the "Disclosure Statement Order"), the United States Bankruptcy Court for
  the Northern District of Ohio (the "Court") approved the Disclosure Statement for the Fifth
  Amended Joint Plan of Reorganization of FirstEnergy Solutions Corp., et. al., Pursuant to
  Chapter 11 of the Bankruptcy Code (as may be amended, modified or supplemented, the
  "Disclosure Statement") [Docket No. •] as containing adequate information, and directed the
  Debtors to solicit votes with regard to the approval or rejection of the Fifth Amended Joint Plan
  of Reorganization of FirstEnergy Solutions Corp., et. al., Pursuant to Chapter 11 of the

  1
    The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
  federal tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation,
  LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763;
  FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483),
  case no. 18-50761; FirstEnergy Solutions Corp. (0186); and Norton Energy Storage LLC(6928), case no. 18-50764.
  The Debtors’ address is: 341 White Pond Dr., Akron, OH 44320.

                                                            1
                                                                                                                Ex-26

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  Bankruptcy Code [Docket No. •] (as modified, amended or supplemented from time to time, the
  “Plan”). Capitalized terms used but not defined herein shall have the meanings ascribed to them
  in the Plan or Disclosure Statement, as the context so requires.

         4.         TREATMENT OF ELECTRIC SERVICE CONTRACTS. Under the
  Plan, FES will assume all of its retail customer contracts (collectively, the “Customer
  Contracts”) and assign them to a newly created entity that will own and operate FES’s
  competitive retail electricity business after effective date under the Plan (“New FES”). This
  means that FES will be replaced as the supplier under your current contract with FES upon the
  assignment of your contract by FES to New FES. However, your current contract will not
  otherwise be amended or changed in any way and your service will continue on its current
  terms and conditions. You do not need to take any action for your service to continue in this
  manner.

          Please be assured that there will be no interruption of service under your
  electricity contract as a result of the Plan. You will not need to take any action to switch
  to New FES. New FES will provide your electricity service on the same rates, terms and
  conditions as your current customer contract with FirstEnergy Solutions. Other than the
  change in your supplier, your electricity service will NOT be affected by the assignment of
  your contract to New FES. You may have related rights as a consumer of electricity
  under state law and regulations (as those rights may be impacted by FirstEnergy
  Solutions’ chapter 11 case).

         If you do not object to the assignment of your Customer Contract to New FES, on
  the same rates, terms and conditions that you have already agreed to with FirstEnergy
  Solutions, you do not need to take any action for your service to be transferred. As stated
  above, only the provider of your service will change and you will see the new supplier’s
  name and/or logo on your electric bills going forward after assumption and assignment.
  Your service will continue on the same rates terms and conditions in your current electric
  service contract. Be aware that if you do not file an objection to the assumption and
  assignment of your Customer Contract by August 2, 2019 at 4:00 pm (prevailing Eastern
  Time), you will not be able to object to the assumption and assignment later in these Chapter 11
  cases.

          5.          OBJECTION TO ASSUMPTION AND ASSIGNMENT OF YOUR
  CUSTOMER CONTRACT OR TO CONFIRMATION OF THE PLAN. If you wish to
  object to the FES’s assumption and assignment of your Customer Contract to New FES or to
  confirmation of the Plan, your objection must (i) be in writing, (ii) state the name and address
  of the objecting or responding party and the amount and nature of the claim or interest of such
  party, (iii) state with particularity the basis and nature of any objection or response and include,
  where appropriate, proposed language to be incorporated into the Plan to resolve any such
  objection or response, (iv) be filed together with proof of service, with the Clerk of Court,
  United States Bankruptcy Court for the Northern District of Ohio, Eastern Division, John F.
  Seiberling Federal Building and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street,
  Akron, Ohio 44308 and served so that they are received by the following parties: (a) counsel for
  the Debtors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-
  6745 (Attn: Brad Kahn, Esq. and Zachary Wittenberg, Esq.) (bkahn@akingump.com and
  zwittenberg@akingump.com) and 2001 K Street, N.W., Washington, DC 20006 (Attn: Scott L.
                                                    2
                                                                                                   Ex-26

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  Alberino,     Esq.    and    Kate   Doorley,      Esq.)   (salberino@akingump.com     and
  kdoorley@akingump.com); (c) local counsel for the Debtors, Brouse McDowell LPA, 388
  South Main St., Suite 500, Akron, OH 44311 (Attn: Kate Bradley, Esq. and Bridget A.
  Franklin, Esq.) (kbradley@brouse.com and bfranklin@brouse.com); (d) the Office of the
  United States Trustee, Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue East,
  Suite 441, Cleveland, OH 4414 (Attn: Tiiara Patton, Esq.) (tiiara.patton@usdoj.gov) on or
  before on or before 4:00 p.m. (prevailing Eastern Time) on August 2, 2019. The Debtors
  will then provide a copy of your objection to (x) counsel to the Ad Hoc Noteholder Group,
  Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036
  (Attn: Amy Caton, Esq.) (acaton@kramerlevin.com); (y) counsel to the Mansfield
  Certificateholders’ Group, Latham &Watkins LLP, 885 Third Avenue, New York, NY 10022
  (Attn: Andrew M. Parlen, Esq.) (Andrew.Parlen@lw.com); and (z) counsel to the Committee,
  Milbank, Tweed, Hadley & McCloy LLP, 55 Hudson Yards, New York, NY 10001 (Attn: Evan
  Fleck, Esq.) (efleck@milbank.com).

          6.          CONFIRMATION HEARING. A hearing (the "Confirmation Hearing") to
  consider the confirmation of the Plan will be held at the Court, John F. Seiberling Federal
  Building and U.S. Courthouse, 260 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308
  on August 20, 2019 at 9:30 a.m. (prevailing Eastern Time) before the Honorable Alan M.
  Koschik, United States Bankruptcy Judge for the Northern District of Ohio. The Confirmation
  Hearing may be adjourned from time to time by the Debtors without further notice other than
  adjournments announced in open Court or as indicated in any notice of agenda of matters
  scheduled for a particular hearing that is filed with the Court. The Plan may be modified in
  accordance with the Bankruptcy Code, the Bankruptcy Rules, the terms of the Plan and the
  Restructuring Support Agreement, and other applicable law, without further notice, prior to, or
  as a result of, the Confirmation Hearing.

          7.        ADDITIONAL INFORMATION. Copies of the Disclosure Statement and
  Plan may be obtained (i) from Prime Clerk LLC (a) at www.primeclerk.com/FES, by clicking
  on the “Docket” link, (b) upon request by mail to FirstEnergy Solutions Corp. Ballot
  Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022, or (c)
  upon request by calling the FES restructuring hotline at (855) 934-8766 or email at
  fesballots@primeclerk.com or (ii) for a fee via PACER at https://ecf.ohnb.uscourts.gov/ (a
  PACER login and password are required to access documents on the Court’s website and can
  be obtained through the PACER Service Center at www.pacer.psc.uscourts.gov). A copy of the
  Disclosure Statement and the Plan is also on file with the Office of the Clerk of Court, United
  States Bankruptcy Court for the Northern District of Ohio, John F. Seiberling Federal Building
  and U.S. Courthouse, 455 U.S. Courthouse, 2 South Main Street, Akron, Ohio 44308 and may
  be examined by any party in interest during normal business hours.

                           If you have any questions related to this notice,
             please call the Debtors' restructuring hotline at (855) 934-8766 or email at
                                   fesballots@primeclerk.com.

                   Please note that Prime Clerk LLC is not authorized to provide,
                                 and will not provide, legal advice.

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                                                                                              Ex-26

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  Dated: [__], 2019                         Respectfully submitted,


                                            /s/
                                            BROUSE MCDOWELL LPA
                                            Marc B. Merklin (0018195)
                                            Kate M. Bradley (0074206)
                                            Bridget A. Franklin (0083987)
                                            388 South Main Street, Suite 500
                                            Akron, OH 44311-4407
                                            Telephone: (330) 535-5711
                                            Facsimile: (330) 253-8601
                                            mmerklin@brouse.com
                                            kbradley@brouse.com
                                            bfranklin@brouse.com

                                            - and -

                                            AKIN GUMP STRAUSS HAUER & FELD LLP
                                            Ira Dizengoff (admitted pro hac vice)
                                            Lisa Beckerman (admitted pro hac vice)
                                            Brad Kahn (admitted pro hac vice)
                                            One Bryant Park
                                            New York, New York 10036
                                            Telephone: (212) 872-1000
                                            Facsimile: (212) 872-1002
                                            idizengoff@akingump.com
                                            lbeckerman@akingump.com
                                            bkahn@akingump.com

                                            - and -

                                            Scott Alberino (admitted pro hac vice)
                                            Kate Doorley (admitted pro hac vice)
                                            2001 K Street, N.W.,
                                            Washington, D.C. 20006
                                            Telephone: (202) 887-4000
                                            Facsimile: (202) 887-4288
                                            salberino@akingump.com
                                            kdoorley@akingump.com

                                            Counsel for Debtors and Debtors in Possession




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                                                                                        Ex-26

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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
   In re:                                                            )
                                                                     )     Case No. 18-50757
   FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                     )
                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )

            NOTICE OF (A) POST-PETITION CONTRACTS AND UNEXPIRED LEASES
             TO BE ASSIGNED BY THE DEBTORS PURSUANT TO THE PLAN AND
                 (B) RELATED PROCEDURES IN CONNECTION THEREWITH

           You are receiving this Notice of (A) Post-Petition Contracts and Unexpired Leases to
   Be Assigned By the Debtors Pursuant to the Plan and (B) Related Procedures in Connection
   Therewith (the “Notice of Assignment”) because you are a counterparty to an executory
   contract or unexpired lease with FirstEnergy Solutions Corp. (“FES”), and/or certain
   affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases
   (collectively, the “Debtors”) which was entered in on or after April 1, 2018. Please read
   this notice carefully as your rights may be affected by the transactions described herein.

          PLEASE TAKE NOTICE that on May 20 2019, the Debtors filed solicitation versions
   of the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (the
   “Disclosure Statement”) and the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (the
   “Plan”) in the United States Bankruptcy Court for the Northern District of Ohio (the “Court”). A
   hearing was held on May 20, 2019, whereby the Court approved the Disclosure Statement and
   the Court entered such order on [●] [Docket No. ●].

          PLEASE TAKE FURTHER NOTICE that the hearing to confirm the Plan (the
   “Confirmation Hearing”) will commence before the Honorable Alan M. Koschik, United States
   Bankruptcy Judge, United States Bankruptcy Court, Northern District of Ohio, 260 U.S.
   Courthouse, 2 South Main Street, Akron, Ohio 44308 on August 20, 2019 at 9:30 a.m. (Eastern
   Time).


   1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.

                                                           1


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           PLEASE TAKE FURTHER NOTICE that pursuant to the Plan, the Debtors have
   established procedures for the assignment of certain post-petition contracts and unexpired leases
   (collectively, the “Contracts”) which will be assigned from FES to New Holdco or New FES
   (each as defined in the Plan). The Debtors file this notice identifying the Contracts which will be
   assigned in connection with confirmation of the Plan (the “Assigned Contracts”) as set forth on
   Exhibit 1 attached hereto.

           PLEASE TAKE FURTHER NOTICE that any objections to the assignment of any
   Assigned Contract identified in this notice must be (i) in writing, (ii) comply with the
   Bankruptcy Rules, (iii) filed with the Bankruptcy Court and (iv) be served, so as to be actually
   received by (a) counsel for the Debtors, Akin Gump Strauss Hauer & Feld LLP, One Bryant
   Park, New York, NY 10036 (Attn: Lisa G. Beckerman, lbeckerman@akingump.com and Brad
   M. Kahn, bkahn@akingump.com, Tel: 212-872-1000; Fax: 212-872-1002) and 2001 K Street,
   NW, Washington, DC 20006 (Attn: Scott Alberino, salberino@akingump.com and Kate Doorley,
   kdoorley@akingump.com, Tel: 202-887-4000, Fax: 202-887-4288); (b) the Office of the United
   States Trustee, Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue East, Suite 441,
   Cleveland, OH 44014 (Attn: Tiiara Patton, tiiara.patton@usdoj.gov); and (c) all other parties in
   interest that have filed a notice of appearance in accordance with Federal Rules of Bankruptcy
   Procedure Rule 2002 in the Debtors’ chapter 11 cases on or before on or before August 2, 2019
   at 4:00 p.m. (Eastern Time) (the “Assignment Objection Deadline”). Any such objections must
   set forth the proposed objection to the assignment of the Assigned Contracts (and must state,
   with specificity, the legal and factual basis thereof).

           PLEASE TAKE FURTHER NOTICE all objections to the proposed assignment of the
   Debtors’ rights, title and interest in, to and under the Assigned Contracts, including objections to
   the proposed form of adequate assurance, shall be heard at the Confirmation Hearing or at such
   future hearing as may be scheduled by the Debtors.

           PLEASE TAKE FURTHER NOTICE that each non-Debtor party to any Assigned
   Contract that does not timely file an objection by the Assignment Objection Deadline shall be
   forever barred from asserting any objection with regard to the assignment set forth on Exhibit 1
   and, as of the Effective Date of the Plan, the counterparty to the Assigned Contract will no longer
   be FES but will be New Holdco or New FES, as applicable, and FES will be relieved of all
   obligations under the Assigned Contract.




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   Date: [___], 2019                    Respectfully submitted,

                                        /s/
                                        BROUSE MCDOWELL LPA
                                        Marc B. Merklin (0018195)
                                        Kate M. Bradley (0074206)
                                        Bridget A. Franklin (0083987)
                                        388 South Main Street, Suite 500
                                        Akron, OH 44311-4407
                                        Telephone: (330) 535-5711
                                        Facsimile: (330) 253-8601
                                        mmerklin@brouse.com
                                        kbradley@brouse.com
                                        bfranklin@brouse.com

                                            - and -

                                        AKIN GUMP STRAUSS HAUER & FELD LLP
                                        Ira Dizengoff (admitted pro hac vice)
                                        Lisa Beckerman (admitted pro hac vice)
                                        David H. Botter (admitted pro hac vice)
                                        Brad Kahn (admitted pro hac vice)
                                        One Bryant Park
                                        New York, New York 10036
                                        Telephone: (212) 872-1000
                                        Facsimile: (212) 872-1002
                                        idizengoff@akingump.com
                                        lbeckerman@akingump.com
                                        bkahn@akingump.com

                                                 - and -

                                        Scott Alberino (admitted pro hac vice)
                                        Kate Doorley (admitted pro hac vice)
                                        2001 K Street, N.W.
                                        Washington, D.C. 20006
                                        Telephone: (202) 887-4000
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                                        salberino@akingump.com
                                        kdoorley@akingump.com

                                        Counsel for Debtors and Debtors in Possession




                                             3


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                                      Exhibit 1

                                  Assigned Contracts




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    Counterparty Name       Contract Description    Purchase Order #   Assigned Entity




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
   In re:                                                            )
                                                                     )     Case No. 18-50757
   FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                     )
                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )

            NOTICE OF (A) EXECUTORY CONTRACTS AND UNEXPIRED LEASES
             TO BE ASSUMED OR ASSUMED AND ASSIGNED BY THE DEBTORS
               PURSUANT TO THE PLAN, (B) CURE AMOUNTS, IF ANY, AND
               (C) RELATED PROCEDURES IN CONNECTION THEREWITH

           You are receiving this Notice of (A) Executory Contracts and Unexpired Leases to Be
   Assumed or Assumed and Assigned By the Debtors Pursuant to the Plan, (B) Cure Amounts,
   if any, and, (C) Related Procedures in Connection Therewith (the “Notice of Assumption and
   Assignment”) because you are a counterparty to an executory contract or unexpired lease
   with FirstEnergy Solutions Corp. (“FES”), and/or certain affiliates, as debtors and debtors
   in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”). Please
   read this notice carefully as your rights may be affected by the transactions described
   herein.

          PLEASE TAKE NOTICE that on May 20 2019, the Debtors filed solicitation versions
   of the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (the
   “Disclosure Statement”) and the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (the
   “Plan”) in the United States Bankruptcy Court for the Northern District of Ohio (the “Court”). A
   hearing was held on May 20, 2019, whereby the Court approved the Disclosure Statement and
   the Court entered such order on [●] [Docket No. ●].

          PLEASE TAKE FURTHER NOTICE that the hearing to confirm the Plan (the
   “Confirmation Hearing”) will commence before the Honorable Alan M. Koschik, United States
   Bankruptcy Judge, United States Bankruptcy Court, Northern District of Ohio, 260 U.S.


   1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.




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   Courthouse, 2 South Main Street, Akron, Ohio 44308 on August 20, 2019 at 9:30 a.m. (Eastern
   Time).

           PLEASE TAKE FURTHER NOTICE that pursuant to the Plan, the Debtors have
   established procedures for the assumption or the assumption and assignment of certain executory
   contracts and unexpired leases from FES to New Holdco or New FES (as defined in the Plan)
   (collectively, the “Contracts”). The Debtors file this notice identifying (i) the Contracts which
   will be assumed by the Debtor counterparty to the Contract or assumed and assigned by FES to
   New Holdco or New FES in connection with confirmation of the Plan (the “Assumed
   Contracts”) and (ii) the proposed amounts, if any, the Debtors believe are owed to the
   counterparty of the Assumed Contracts to cure any default or arrears existing under the Assumed
   Contract (the “Cure Costs”), both as set forth on Exhibit 1 attached hereto.

            PLEASE TAKE FURTHER NOTICE that section 365(b)(1) of the Bankruptcy Code
   requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly cure, any
   defaults under executory contracts and unexpired leases at the time of assumption. Accordingly,
   the Debtors have conducted a thorough review of their books and records and have determined
   the amounts required to cure defaults, if any, under the executory contract(s), which amounts are
   listed in Exhibit 1. Please note that if no amount is stated for a particular Contract, the Debtors
   believe that there is no cure amount outstanding for such Contract.

           PLEASE TAKE FURTHER NOTICE that any objections to the assumption and
   assignment of any Assumed Contract identified in this notice must be (i) in writing, (ii) comply
   with the Bankruptcy Rules, (iii) filed with the Bankruptcy Court and (iv) be served, so as to be
   actually received by (a) counsel for the Debtors, Akin Gump Strauss Hauer & Feld LLP, One
   Bryant Park, New York, NY 10036 (Attn: Lisa G. Beckerman, lbeckerman@akingump.com and
   Brad M. Kahn, bkahn@akingump.com, Tel: 212-872-1000; Fax: 212-872-1002) and 2001 K
   Street, NW, Washington, DC 20006 (Attn: Scott Alberino, salberino@akingump.com and Kate
   Doorley, kdoorley@akingump.com, Tel: 202-887-4000, Fax: 202-887-4288); (b) the Office of
   the United States Trustee, Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue East,
   Suite 441, Cleveland, OH 44014 (Attn: Tiiara Patton, tiiara.patton@usdoj.gov); and (c) all other
   parties in interest that have filed a notice of appearance in accordance with Federal Rules of
   Bankruptcy Procedure Rule 2002 in the Debtors’ chapter 11 cases on or before on or before
   August 2, 2019 at 4:00 p.m. (Eastern Time) (the “Assumption and Assignment Objection
   Deadline”). Any such objections must set forth the proposed objection to the assumption and
   assignment of the Assumed Contracts (and must state, with specificity, the legal and factual basis
   thereof) and, if applicable, the proposed Cure Costs (and must state, with specificity, what Cure
   Costs are required with appropriate documentation in support thereof). Other than the Cure
   Costs listed on Exhibit 1, the Debtors are not aware of any amounts due and owing under the
   Assumed Contracts listed therein.

            PLEASE TAKE FURTHER NOTICE that if a counterparty to an Assumed Contract
   files a timely objection asserting a higher Cure Cost than the Cure Cost set forth in this Notice of
   Assumption and Assignment, and the parties are unable to consensually resolve the dispute prior
   to the Confirmation Hearing, the amount to be paid or reserve with respect to such objection
   shall be determined at the Confirmation Hearing. All other objections to the proposed




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   assumption and assignment of the Debtors’ rights, title and interest in, to and under the Assumed
   Contracts, including objections to the proposed form of adequate assurance, shall be heard at the
   Confirmation Hearing or at such future hearing as may be scheduled by the Debtors.

           PLEASE TAKE FURTHER NOTICE that each non-Debtor party to any Assumed
   Contract that does not timely file an objection by the Assumption and Assignment Objection
   Deadline shall be forever barred from asserting any objection with regard to the assumption,
   assumption and assignment, and/or the Cure Costs set forth on Exhibit 1. The Cure Costs set
   forth in the Notice of Assumption and Assignment shall be controlling, notwithstanding anything
   to the contrary in any Assumed Contract or any other document, and the counterparty to the
   Assumed Contract shall be deemed to have consented to the Cure Costs and shall be forever
   barred from asserting any other claims related to such Assumed Contract against the Debtors or
   assigned party, or the property of any of them to the extent such counterparty does not file a
   timely objection to the Cure Costs set forth above. As of the Effective Date of the Plan, with
   respect to the Assumed Contracts being assumed and assigned by FES, the contract counterparty
   will no longer be FES but will be New Holdco or New FES, as applicable, and FES will be
   relieved of all obligations under the Assumed Contract.




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   Date: [___], 2019                   Respectfully submitted,


                                       /s/
                                       BROUSE MCDOWELL LPA
                                       Marc B. Merklin (0018195)
                                       Kate M. Bradley (0074206)
                                       Bridget A. Franklin (0083987)
                                       388 South Main Street, Suite 500
                                       Akron, OH 44311-4407
                                       Telephone: (330) 535-5711
                                       Facsimile: (330) 253-8601
                                       mmerklin@brouse.com
                                       kbradley@brouse.com
                                       bfranklin@brouse.com

                                        - and -

                                       AKIN GUMP STRAUSS HAUER & FELD LLP
                                       Ira Dizengoff (admitted pro hac vice)
                                       Lisa Beckerman (admitted pro hac vice)
                                       David H. Botter (admitted pro hac vice)
                                       Brad Kahn (admitted pro hac vice)
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                                       idizengoff@akingump.com
                                       lbeckerman@akingump.com
                                       bkahn@akingump.com

                                            - and -

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                                       Counsel for Debtors and Debtors in Possession




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                                      Exhibit 1

                            Assumed and Assigned Contracts




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Counterparty   Counterparty    Description     Purchase     Cure         Assigned?      New
   Name         Debtors(s)     of Contract     Order #    Amount ($'s)     (Y/N)     Counterparty




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                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

                                                                     )     Chapter 11
   In re:                                                            )
                                                                     )     Case No. 18-50757
   FIRSTENERGY SOLUTIONS CORP., et al.,1                             )     (Jointly Administered)
                                                                     )

                                      Debtors.                       )
                                                                     )     Hon. Judge Alan M. Koschik
                                                                     )

                NOTICE OF (A) CONTRACTS AND UNEXPIRED LEASES TO BE
                REJECTED BY THE DEBTORS PURSUANT TO THE PLAN AND
                 (B) RELATED PROCEDURES IN CONNECTION THEREWITH

          You are receiving this Notice of (A) Contracts and Unexpired Leases to Be Rejected By
   the Debtors Pursuant to the Plan and (B) Related Procedures in Connection Therewith (the
   “Notice of Assignment”) because you are a counterparty to an executory contract or
   unexpired lease with FirstEnergy Solutions Corp. (“FES”), and/or certain affiliates, as
   debtors and debtors in possession in the above-captioned chapter 11 cases (collectively, the
   “Debtors”). Please read this notice carefully as your rights may be affected by the
   transactions described herein.

          PLEASE TAKE NOTICE that on May 20 2019, the Debtors filed solicitation versions
   of the Disclosure Statement for the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (the
   “Disclosure Statement”) and the Fifth Amended Joint Plan of Reorganization of FirstEnergy
   Solutions Corp., et al., Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2675] (the
   “Plan”) in the United States Bankruptcy Court for the Northern District of Ohio (the “Court”). A
   hearing was held on May 20, 2019, whereby the Court approved the Disclosure Statement and
   the Court entered such order on [●] [Docket No. ●].

          PLEASE TAKE FURTHER NOTICE that the hearing to confirm the Plan (the
   “Confirmation Hearing”) will commence before the Honorable Alan M. Koschik, United States
   Bankruptcy Judge, United States Bankruptcy Court, Northern District of Ohio, 260 U.S.
   Courthouse, 2 South Main Street, Akron, Ohio 44308 on August 20, 2019 at 9:30 a.m. (Eastern
   Time).

   1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
   number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
   18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
   Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
   FirstEnergy Solutions Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-50764. The Debtors’
   address is: 341 White Pond Dr., Akron, OH 44320.

                                                           1


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           PLEASE TAKE FURTHER NOTICE that pursuant to the Plan, the Debtors have
   established procedures for the rejection of certain contracts and unexpired leases (collectively,
   the “Contracts”). The Debtors file this notice identifying the Contracts which will be rejected in
   connection with confirmation of the Plan (the “Rejected Contracts”) as set forth on Exhibit 1
   attached hereto.

           PLEASE TAKE FURTHER NOTICE that any objections to the rejection of any
   Rejected Contract identified in this notice must be (i) in writing, (ii) comply with the Bankruptcy
   Rules, (iii) filed with the Bankruptcy Court and (iv) be served, so as to be actually received by
   (a) counsel for the Debtors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York,
   NY 10036 (Attn: Lisa G. Beckerman, lbeckerman@akingump.com and Brad M. Kahn,
   bkahn@akingump.com, Tel: 212-872-1000; Fax: 212-872-1002) and 2001 K Street, NW,
   Washington, DC 20006 (Attn: Scott Alberino, salberino@akingump.com and Kate Doorley,
   kdoorley@akingump.com, Tel: 202-887-4000, Fax: 202-887-4288); (b) the Office of the United
   States Trustee, Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue East, Suite 441,
   Cleveland, OH 44014 (Attn: Tiiara Patton, tiiara.patton@usdoj.gov); and (c) all other parties in
   interest that have filed a notice of appearance in accordance with Federal Rules of Bankruptcy
   Procedure Rule 2002 in the Debtors’ chapter 11 cases on or before on or before August 2, 2019
   at 4:00 p.m. (Eastern Time) (the “Rejection Objection Deadline”). Any such objections must
   set forth the proposed objection to the rejection of the Rejected Contracts (and must state, with
   specificity, the legal and factual basis thereof).

           PLEASE TAKE FURTHER NOTICE that unless otherwise provided by an order of the
   Bankruptcy Court, all Proofs of Claim with respect to Claims arising from the rejection of the
   Rejected Contracts pursuant to the Plan or Confirmation Order, if any, must be filed within 30
   days after the later of: (1) the date of entry of an order of the Bankruptcy Court (including the
   Confirmation Order) approving such rejection; and (2) the effective date of such rejection. Any
   Claims arising from the rejection of any Rejected Contract not filed within such time will
   be automatically disallowed, forever barred from assertion, and shall not be enforceable
   against the Debtors or the Reorganized Debtors, the Estates, or their property without the
   need for any objection by the Reorganized Debtors or further notice to, or action, order, or
   approval of the Bankruptcy Court, and any Claim arising out of the rejection of the
   Rejected Contract shall be deemed fully satisfied, released, and discharged,
   notwithstanding anything in the Schedules or a Proof of Claim to the contrary. All Allowed
   Claims arising from the rejection of the Rejected Contracts shall be classified as General
   Unsecured Claims against the applicable Debtor and shall be treated in accordance with the Plan,
   unless a different security or priority is otherwise asserted in such Proof of Claim and Allowed in
   accordance with the Plan.

          PLEASE TAKE FURTHER NOTICE all objections to the proposed rejection of the
   Debtors’ rights, title and interest in, to and under the Rejected Contracts shall be heard at the
   Confirmation Hearing or at such future hearing as may be scheduled by the Debtors.




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          PLEASE TAKE FURTHER NOTICE that each non-Debtor party to any Rejected
   Contract that does not timely file an objection by the Rejection Objection Deadline shall be
   forever barred from asserting any objection with regard to the rejections set forth on Exhibit 1.

   Date: [___], 2019                           Respectfully submitted,

                                               /s/
                                               BROUSE MCDOWELL LPA
                                               Marc B. Merklin (0018195)
                                               Kate M. Bradley (0074206)
                                               Bridget A. Franklin (0083987)
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                                                 - and -

                                               AKIN GUMP STRAUSS HAUER & FELD LLP
                                               Ira Dizengoff (admitted pro hac vice)
                                               Lisa Beckerman (admitted pro hac vice)
                                               David H. Botter (admitted pro hac vice)
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                                                      - and -

                                               Scott Alberino (admitted pro hac vice)
                                               Kate Doorley (admitted pro hac vice)
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                                               Counsel for Debtors and Debtors in Possession

                                                  3


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                                      Exhibit 1

                                  Rejected Contracts




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   Counterparty Name   Debtor Counterparty     Contract Description   Purchase Order #




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